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   1                        UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
   2                              TAMPA DIVISION

   3    UNITED STATES OF AMERICA,         Case No.8:12-CR-45-T-35AEP

   4               Plaintiff,

   5     VS.                              Tampa, Florida

   6    SAMI OSMAKAC,                     June 4, 2014

   7               Defendant.             8:30 a.m.

   8    __________________________/

   9                                   VOLUME 7
                        TRANSCRIPT OF JURY TRIAL PROCEEDINGS
  10                     BEFORE THE HONORABLE MARY S. SCRIVEN
                            UNITED STATES DISTRICT JUDGE
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   1                           P R O C E E D I N G S

   2                               June 4, 2014

   3                                   ******

   4               THE COURT:    Good morning.

   5               Please call the case.

   6               THE CLERK:    In the matter of United States of America

   7    versus Sami Osmakac, Case Number 8:12-Criminal-45.          This matter

   8    is again in session.

   9               THE COURT:    All right.

  10               There was a request for additional Daubert analysis

  11    of Mr. Kohlmann; is that right.

  12               MR. PETER TRAGOS:     Yes, Your Honor.

  13               THE COURT:    Is he present?

  14               MR. MCGOVERN:     Yes, Your Honor.    Good morning, Your

  15    Honor, Mr. Kohlmann is present.

  16               THE COURT:    Please have him come forward.

  17               MR. MCGOVERN:     May I inquire, Your Honor, before the

  18    witness is brought in?

  19               THE COURT:    Yes, sir.

  20               MR. MCGOVERN:     If the defense could specifically

  21    state on the record the issues that they would like to address,

  22    I might be able to tailor that.

  23               THE COURT:    My understanding was his knowledge

  24    concerning the black flag and any testimony he intends to offer

  25    with respect to that; is that right?        Is there something else?



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   1               MR. PETER TRAGOS:     Yes, Your Honor, also the video,

   2    multiple videos, I guess, that the Government is planning onto

   3    playing, and the background information of the people they

   4    intend to put before the jury anything above what the Defendant

   5    has actually mentioned in the transcript.

   6               THE COURT:    I didn't hear any witness who was going

   7    to authenticate any video having been on Mr. Osmakac's computer

   8    other than Peggy, and I can't remember her last name, who was

   9    going to testify concerning the jpeg image of Abdul Abraham or

  10    Abdul Abrim, one or the other.

  11               Is there anyone else who is here to authenticate any

  12    video forensic analysis of a computer of Mr. Osmakac's for

  13    which there would be a foundational basis for Mr. Kohlmann's

  14    testimony?

  15               MR. MCGOVERN:     Your Honor, upon reflection --

  16               THE COURT:    On your feet, Mr. McGovern, please.

  17               Yes, sir.

  18               MR. MCGOVERN:     I'm sorry.

  19               Your Honor, upon reflection after reviewing the

  20    Court's order in Daubert and examining our case in chief, the

  21    Government has decided not to call any forensic analysis from

  22    the FBI to authenticate the jpeg or admit any computer evidence

  23    at this time in our case in chief.

  24               The videos to which the Defendant -- defense refers,

  25    I believe, are in -- of some point in time, Your Honor, when



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   1    the Defendant was meeting with the CHS.        The Defendant played a

   2    video from Awlaki which was recorded on the Government's

   3    recording, and a transcript of that was prepared and has been

   4    admitted into evidence.

   5                We would call Evan Kohlmann to describe what that

   6    video is, who is speaking, what the content of that video is.

   7                THE COURT:   Which exhibit is that?

   8                Did I hear Ms. Sweeney say the document is not in

   9    evidence?

  10                MR. MCGOVERN:    Yes, you did, Your Honor.

  11    Specifically, the transcript is Government's Exhibit 114.4-B.

  12    The audio CD is Government's Exhibit 114.4-A.

  13                THE COURT:   And so through whom do you intend now to

  14    seek to introduce this exhibit?

  15                MR. MCGOVERN:    Your Honor, this Exhibit 114.1-A, 2-A

  16    and 3-A were all part of the same stipulation between the

  17    defense and the Government regarding CHS transcripts, most of

  18    which were played and admitted into evidence yesterday.

  19                THE COURT:   And the Awlaki video is on one of those,

  20    114.4-B?

  21                MR. MCGOVERN:    No, Your Honor.    114.4-B is a

  22    transcript of a recording that was picked up by the

  23    interception of that conversation through the CHS.

  24                THE COURT:   In the background of that is the audio

  25    playing?



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   1               MR. MCGOVERN:     Yes.

   2               THE COURT:    Has someone transcribed the audio?

   3               MR. MCGOVERN:     Yes.

   4               THE COURT:    And the defense has agreed to admission

   5    of the audio in the background of the conversation of the CHS

   6    and the Defendant?     That's part of the stipulation?

   7               MR. PETER TRAGOS:     Judge, we object in a similar

   8    fashion to -- this is not -- this transcript is not a

   9    conversation between the CHS and the Defendant which is what

  10    was stipulated to, is the tapes of their recordings because the

  11    CHS's testimony was coming in to explain the Defendant's

  12    responses.   This would just be hearsay of somebody else that

  13    wasn't even there or it might be our contention, also, that

  14    this was just played as background so that they couldn't be

  15    picked up if there was a recording device and --

  16               THE COURT:    Well, this is a bunch of ifs.       We now

  17    know the transcripts, we have them.        What happened; did

  18    Mr. Osmakac say, listen, CHS, I want to let you hear the Shaykh

  19    Awlaki, listen to what he's telling us and then he proceeds to

  20    play it or is it just like the NPR audio that just plays over

  21    it in an effort to drown out the sound, and do we know who,

  22    among the two of them, turned it on?

  23               MR. MCGOVERN:     Your Honor, the transcript bears out

  24    and indicates that the Defendant wanted the CHS to listen to

  25    this particular --



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   1               THE COURT:    Show me the page and line of the audio.

   2               MR. MCGOVERN:     114.1, Your Honor.

   3               THE COURT:    114.1 at what page?     114.1-B, it's a one

   4    page --

   5               MR. MCGOVERN:     Yes, it's 114.1-B, it's one page.

   6               THE COURT:    And so where is the audio transcribed?

   7               MR. MCGOVERN:     The audio is transcribed in 114.4-B, a

   8    continuation of that same recording.

   9               THE COURT:    So show me where on 114.1-B the Defendant

  10    asks the CHS to listen to the tape.

  11               MR. MCGOVERN:     114.1-B, the third line down

  12    indicating the Defendant, SO: "You should go in as a guest.           I

  13    can show you some websites and then you can make like -- oh,

  14    that means guest, you -- like I don't use it.         Do you know what

  15    I mean?"

  16               The CHS: "Hold on a second."

  17               THE DEFENDANT:     "And then you can read while I clean

  18    up.   You have a customer."     And then the recording begins with

  19    the Awlaki video.

  20               THE COURT:    On what page; 114.4-B?

  21               MR. MCGOVERN:     Yes.

  22               THE COURT:    And do we know whether this is the CHS

  23    listening to this or whether this is Mr. Osmakac listening to

  24    this?

  25               MR. MCGOVERN:     This is the CHS listening to the



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   1    laptop that is playing the video.

   2                THE COURT:    And is it the CHS's laptop?

   3                MR. MCGOVERN:    I'm sorry?

   4                THE COURT:    Is it the CHS's laptop?

   5                MR. MCGOVERN:    Yes, Your Honor.

   6                THE COURT:    And where's Mr. Osmakac during the

   7    playing?

   8                MR. MCGOVERN:    The transcript indicates that he was

   9    going to pick up and clean up around the CHS's store while the

  10    video played.

  11                THE COURT:    Counsel.

  12                Mr. Tragos.

  13                MR. PETER TRAGOS:     Yes, Your Honor, a couple things.

  14    Right before the Defendant says, "You should go in as guest, I

  15    can show you how," the CHS says, "No, I want to put 20 minutes,

  16    let it relax and then we'll take care of it."          That's sounds to

  17    me like just as much as Mr. Osmakac saying you can go on this

  18    website, the CHS wants to watch this video maybe, but there's

  19    nobody -- the Government hasn't called anybody to explain these

  20    statements.    They also haven't called anybody to say that they

  21    were actually listening while this was playing in the

  22    background.

  23                And the Defendant says, "You can read while I clean

  24    everything up," in addition to, "I'll show you a website," not

  25    I will play a video for you to watch because I agree with



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   1    everything this guy says in the video.

   2                THE COURT:    On page two of four, it says, CHS and SO

   3    are talking at the same time as al-Awlaki.         What are they

   4    saying?

   5                MR. MCGOVERN:    Your Honor, I have to pull that

   6    transcript up.

   7                (Brief pause.)

   8                Sorry, Your Honor, which document were you referring

   9    to?

  10                THE COURT:    114.4-B on page two of four, during the

  11    playing of the audio by apparently the CHS, the notes of the

  12    Government indicate CHS and SO are talking at the same time as

  13    al-Awlaki.    And what are they saying?

  14                MR. MCGOVERN:    Your Honor, if it hasn't been

  15    transcribed, then I'm not able to tell you that.

  16                THE COURT:    So there is no other transcript that

  17    would be a transcript of what they're saying?

  18                MR. MCGOVERN:    Not to my knowledge, Your Honor, no,

  19    other than the following pages on page three.          You can see that

  20    they're trying to pick up parts of the conversations, but it's

  21    unintelligible.     Part of it says the CHS and the SO are

  22    whispering.    It's very hard to hear what to saying with the

  23    broadcast of the Awlaki speech.       The Awlaki voice is too loud.

  24    It does indicate the two voices of those two individuals are

  25    being picked up while the video is being played.



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   1                THE COURT:    Well, the Defendant is in the background

   2    taking care of customers it sounds like, and then he's telling

   3    somebody, "That is a good gift for your children," I assume, in

   4    reference to something they are trying to purchase.

   5                MR. MCGOVERN:    Yes, Your Honor, and that would be

   6    consistent with what the Defendant said in 114.1-B, that and

   7    then "You can read while I clean up everything."

   8                THE COURT:    Well, this is -- there's no indication

   9    here that the Defendant adopted this Awlaki video.          It looks

  10    like the CHS played this of his own accord.         And it appears

  11    apparently that he played it on his own computer, not the

  12    Defendant's.    So, I'm not sure how this becomes an adopted

  13    statement of the Defendant because we also don't know where the

  14    Defendant was during most of the playing of it from this video

  15    or this transcript.

  16                MR. MCGOVERN:    Your Honor, clearly in 114.1, it is

  17    the Defendant that is instructing the CHS to go in as a guest,

  18    log into the website and listen to this particular lecture.

  19                (Brief pause.)

  20                THE COURT:    You indicated that the defense had

  21    stipulated to the admission of this document.          I don't hear

  22    that to be the case.

  23                MR. MCGOVERN:    Well, Your Honor, that would be news

  24    to the Government.     The agreement was that the CHS tapes,

  25    generally all those recordings were going to be admitted.            And



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   1    then they selected -- the Government selected the recordings

   2    that they were going to use and the defense selected the

   3    recordings they were going to use.

   4                THE COURT:    And you all shared them and no one

   5    objected?

   6                MR. MCGOVERN:    If there's an objection to this

   7    particular part of the recording, then that would be news to

   8    us.

   9                THE COURT:    Counsel.

  10                MR. PETER TRAGOS:     Yes, Judge.    The clips were

  11    stipulated to between the CHS and the Defendant, but as the

  12    Government had objections to some of our clips, some of which

  13    were kept out and the one about, "I'm going to control him" was

  14    let in by the Court, we have an objection to this part, the

  15    Awlaki hearsay, relevance and predicate to -- that the

  16    Defendant even knew he picked this video as he may have

  17    directed him to a website, and the CHS could have picked

  18    whatever video he wanted to listen to.        The Defendant directed

  19    him to read on the website.

  20                So we don't have a problem with 114.1-B coming in and

  21    the discussions between the CHS and Mr. Osmakac.          We just have

  22    a problem with the transcript -- the videos coming in that may

  23    have been playing in the background.        None of the other videos

  24    or radio recordings that were playing while the UCE and the

  25    Defendant were in the car were transcribed and entered in



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   1    evidence either.

   2                THE COURT:    Were they transcribed, all these other

   3    NPR videos and background preacher videos and music videos and

   4    audios that were being played in the car; were any of those

   5    transcribed?

   6                MR. MCGOVERN:    No, Your Honor, not to my knowledge.

   7                THE COURT:    Why not?

   8                MR. MCGOVERN:    I'm not able to answer that question,

   9    Your Honor.

  10                THE COURT:    Well, ask somebody who is.

  11                MR. MCGOVERN:    Your Honor, for the purposes of

  12    preparing the case in chief, you know, transcribing, the

  13    overhears of the Christmas songs and NPR video were not deemed

  14    to be useful for the Court or the jury.         You know, they clearly

  15    can hear that on the audio as played, but it's more of a

  16    distraction.    The focus is on what the two parties are

  17    communicating about.      I would add, Your Honor, if I can --

  18                THE COURT:    Where in the larger transcript does this

  19    fall?

  20                MR. MCGOVERN:    Where in the martyr transcript?

  21                THE COURT:    Larger transcript, 114-B?

  22                MR. MCGOVERN:    Is the placing of the audio?

  23                THE COURT:    Yes, sir.

  24                MR. MCGOVERN:    While that's being pulled out, Your

  25    Honor, I would just add for the Court to consider that this is



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   1    not the first time that this particular video which is called

   2    Martyr of Dawah is referenced by the Defendant.          He has spoken

   3    about this particular video and spoken about Awlaki throughout

   4    his conversations with the UCE, specifically, Your Honor,

   5    Government's Exhibit 118, page 45.

   6                THE COURT:    What is the answer to my other question?

   7                MR. MCGOVERN:    I'm sorry, page 53.

   8                MR. GEORGE TRAGOS:     I missed the argument.      What does

   9    that represent?

  10                THE COURT:    I'm listening.

  11                MR. MCGOVERN:    Yes, Your Honor.     This is an example

  12    of a reference to the Martyr of Dawa individual where the

  13    Defendant talks about the paragraph starting "'Cause that's why

  14    America loves to go to war with people", and a reference to

  15    Umar Farouk Abdulmutallab.       You know, that information comes

  16    from the Awlaki video and Evan Kohlmann will be able to relate

  17    that particular statement to the video.

  18                THE COURT:    When you're saying that is a reference to

  19    the video, you mean that is a quote from the video?

  20                MR. MCGOVERN:    Your Honor, I don't know if it's a

  21    direct quote, but the context of that statement has been linked

  22    to the Martyr of Dawa by Anwar al-Awlaki.

  23                THE COURT:    What part of that?

  24                MR. MCGOVERN:    Umar Farouk Abdulmutallab, the brother

  25    that comes from Yemen, the Somalia brother.



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   1                THE COURT:    You mean his name is mentioned in the

   2    audio?   I don't understand what you are saying.

   3                MR. MCGOVERN:    A continuation of --

   4                THE COURT:    Go back to where we were, please.       So you

   5    mean by a link to the video that this person's name, Umar

   6    Farouk Abdulmutallab is mentioned in the al-Awlaki video?

   7                MR. MCGOVERN:    Yes, Your Honor, that is my

   8    understanding.     Also, if we --

   9                THE COURT:    The only place in the world his name is

  10    mentioned?

  11                MR. MCGOVERN:    No, Your Honor, of course not.

  12                THE COURT:    So how does that link him to the video?

  13                MR. MCGOVERN:    If we could continue down on the

  14    conversation.

  15                THE COURT:    All right.

  16                MR. MCGOVERN:    For the record, Mutallab is also known

  17    as the Christmas tree -- Christmas Day bomber.          The reference

  18    that this Defendant attempted to blow up a plane on Christmas

  19    Day, but his equipment malfunctioned.        And when it says

  20    $40 billion wasted, all Homeland Security garbage, you know,

  21    that connection is directly from the Awlaki video.

  22                THE COURT:    Show me where it is in the Awlaki video

  23    transcript.

  24                MR. MCGOVERN:    Pull that up, the fifth line down,

  25    Your Honor.    Again, it talks about his brother, Umar Farouk



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   1    Abdulmutallab has succeeded in breaking through the security

   2    system that has cost the U. S. Government alone over

   3    $30 billion since 911.

   4                The import of this conversation and what Evan

   5    Kohlmann would testify to is similarities between the reference

   6    to the individual, his attempt to conduct a terrorist act and

   7    the failure of that act, but that it wasn't a failure because

   8    it cost the United States Government billions of dollars in

   9    reacting to it by upgrading their security.

  10                (Brief pause.)

  11                If I may, Your Honor?

  12                THE COURT:    No, sir, one second.

  13                (Brief pause.)

  14                What does it mean when it says clip one, start file 2

  15    at 20125 and then clip one in file two at 20150?

  16                MR. MCGOVERN:    Your Honor, the clips were prepared

  17    from individual interceptions, so within one interception there

  18    might be multiple clips that were marked as relevant either for

  19    the defense or for the Government.

  20                Within the clip, the Government and the defense

  21    attempted to even further narrow down that which would be

  22    played for the jury in Court.       While the complete transcript

  23    would go to the jury, if there were notes about starting and

  24    stopping, that was to aid the Government in knowing when to

  25    start and when to stop a particular recording.



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   1                THE COURT:    The video -- I'm sorry, the audio

   2    transcript says that the confidential human source and the

   3    Defendant are talking about -- well, first of all, the clip,

   4    the way you have it played -- have it set up to just play the

   5    intro of this conversation, "You should go on some website," et

   6    cetera, then deletes all the intervening discussion which

   7    shows, it appears, the confidential human source and an

   8    unidentified female talking and doing other things.

   9                Mr. Osmakac is off the scene, it appears, entirely,

  10    and then the transcript says the sound of what could be a talk

  11    show on an Arabic channel, the speakers are discussing the

  12    achievements and activities of al-Awlaki, his killing and the

  13    relationship of Yemen with the United States.          And then there's

  14    a talk show host, apparently speaking in English, and then some

  15    participant speaking in Arabic, and then the speaker on the

  16    program speaks more about al-Awlaki, the jihad and Islam, and

  17    so forth, and then the recorded message of al-Awlaki is played.

  18                So, is this a TV show that -- or a radio show that

  19    the confidential human source has turned to or is this a

  20    website he's gone on at the behest of the Defendant?

  21                MR. MCGOVERN:    Your Honor, this is a website he's

  22    gone at the behest of the Defendant.        Furthermore, Your Honor,

  23    the Government believes that Evan Kohlmann will testify that

  24    what is listed in the transcript, the persons who wrote the

  25    transcripts from the recordings wrote down it appeared to be a



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   1    talk show, but Evan Kohlmann would testify that this is

   2    al-Awlaki speaking on the video that he made entitled Martyr of

   3    Dawa.

   4                THE COURT:    Well, that doesn't mean that the video

   5    wasn't played on the talk show.

   6                MR. MCGOVERN:    Your Honor, I believe that Evan

   7    Kohlmann has listened to that and that would be his testimony.

   8                THE COURT:    Well, I'm looking at your transcript.        Is

   9    it inaccurate?     Your transcript says the talk show was on in

  10    the background and the talk show host made an introduction in

  11    English and then there was an overplay of the al-Awlaki video

  12    or there's a transcription of it.        So, was there a TV show on

  13    or wasn't there a TV show on in the room at the time?

  14                MR. MCGOVERN:    Your Honor, it would not be a TV show.

  15    And my understanding, and I believe this would be Evan

  16    Kohlmann's testimony --

  17                THE COURT:    So the al-Awlaki video is introduced by a

  18    talk show host in English?

  19                MR. MCGOVERN:    Yes, Your Honor.     He would be able to

  20    testify that -- how the website works in terms of going to the

  21    website, selecting a video and al-Awlaki being introduced.

  22                THE COURT:    Is he going to present that in evidence

  23    in this case?

  24                MR. MCGOVERN:    Your Honor, we do have a copy of the

  25    original and parts of that we would ask to be played as it



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   1    mirrors the transcript of --

   2                THE COURT:    The original what?

   3                MR. MCGOVERN:    The original video of Awlaki.       The

   4    original video entitled Martyr of Dawa.

   5                I would just add, Your Honor, that on Government's

   6    Exhibit 121.1, page six, that the Defendant acknowledges

   7    listening to a lecture by Anwar al-Awlaki.         And I would add,

   8    Your Honor, that in the martyrdom video that the Defendant

   9    references Anwar al-Awlaki.       In fact, he's doing this to avenge

  10    Anwar al-Awlaki's death.      Anwar al-Awlaki is a principal figure

  11    in the Defendant's life.      It clearly is something that

  12    motivates him.

  13                THE COURT:    Is this his only lecture?

  14                MR. MCGOVERN:    Oh, no, Your Honor.     It's the only

  15    lecture that the Government can tie -- that we have proof that

  16    he listened to and the only one we're bringing up consistent

  17    with the Court's Daubert ruling without going to the, you know,

  18    bypassing the computer evidence.

  19                THE COURT:    Can you play this segment beginning on

  20    clip one, start file two at 20125 which is 49 of the big

  21    transcript going through and up to parts of the al-Awlaki video

  22    and I'll tell you where I've had enough starting at page 49 of

  23    the big transcript so I can see this entire exchange in

  24    context.

  25                MS. SWEENEY:    Your Honor, I need just a moment to



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   1    calculate that.     I'm sorry.

   2                THE COURT:    This is Exhibit 114-B, the full

   3    transcript being played from page 49 through the point of the

   4    Court's direction of completion.

   5                (Brief pause.)

   6                The big transcript has not been admitted in evidence;

   7    just the pieces or has the big one also been introduced?

   8                MR. GEORGE TRAGOS:      The pieces haven't either.

   9                MR. MCGOVERN:    No, it has not been, Your Honor.

  10                THE COURT:    All right.

  11                Let me hear it.

  12                Where is the transcript?

  13                MS. SWEENEY:    Your Honor, I'm sorry, I'm still not

  14    sure if we're there.      May I just unplug from the sound for a

  15    moment until I get to the correct portion?

  16                THE COURT:    That's fine.

  17                MS. SWEENEY:    Okay.    Your Honor, we're on page 48 of

  18    the transcript, about halfway down where the CHS has said,

  19    "It's stuck, take the plug, take the power," so this is

  20    slightly before where the Court wanted to begin, but we're

  21    within 30 seconds to a minute of what the Court would like to

  22    hear.   So I'm just going to play from there.

  23                THE COURT:    Where are we?

  24                MS. SWEENEY:    I'm sorry, page 48 of 114-B, about

  25    halfway down the page.      The CHS has just said, "It's stuck,



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   1    take the plug, take the power."

   2                THE COURT:    I don't see that on this page.

   3                MS. SWEENEY:    Your Honor, may I consult --

   4                THE COURT:    That's on page 49 of my transcript.

   5                MS. SWEENEY:    I'm sorry, Your Honor, it somehow

   6    appears the Government's copy is slightly different than that

   7    copy that you and defense have.        We will work with the ones

   8    that you and the defense have, but yes, you're correct, 49 of

   9    your copy.

  10                THE COURT:    There's a transcript?

  11                MR. MCGOVERN:    No transcript, Your Honor.

  12                THE COURT:    All right.

  13                (Tape played for the Court.)

  14                Can you fast forward to 217?

  15                MR. MCGOVERN:    I'm sorry, Your Honor?

  16                THE COURT:    Can you fast forward to 217.

  17                (Tape continuing.)

  18                How much longer is the transcript on this video?

  19                MR. MCGOVERN:    I'm sorry, Your Honor?

  20                THE COURT:    I don't hear that, I don't see that.

  21    Where is he speaking?

  22                MR. MCGOVERN:    Apparently that follows what's on the

  23    transcript.    That's not -- was not transcribed, that portion?

  24                THE COURT:    Why wasn't it transcribed?

  25                MR. MCGOVERN:    Your Honor, I can't answer that.



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   1                THE COURT:    So it's not even an accurate

   2    transcription of what's on there?        No?

   3                MR. MCGOVERN:    Your Honor, I can't explain why

   4    certain parts of it were transcribed and certain parts were not

   5    transcribed.

   6                THE COURT:    Well, who can?

   7                MR. MCGOVERN:    Your Honor, I don't have an

   8    explanation as to why that part was not transcribed.

   9                THE COURT:    Well, I don't either which calls into

  10    question the validity of this 114-B transcript.          I don't know

  11    why it's not complete.      We know it's not complete and we know

  12    the Government's picking and choosing what it wants to

  13    transcribe and submit to the Court as a compilation of what's

  14    said in the background.      If the Government wants to play the

  15    background, it has to transcribe the background accurately.

  16    And it hasn't done that.

  17                So the document is not admissible as something that

  18    the Defendant ascribed to.       If you want Mr. Kohlmann to talk

  19    about the people the Defendant has identified by name and

  20    explain who those people are, in some general terms, that do

  21    not include accusations against them but include facts, then

  22    the Court will consider it in his Daubert hearing, but he's not

  23    going to say the Defendant turned this computer on and listened

  24    to it.   I don't know where the Defendant is.        I don't even know

  25    how much time transpires.      I don't know what this program is.



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   1                The Government hasn't even sought to identify -- the

   2    Government had the confidential human source in its control.

   3    At some point, it could have asked him what this was, could

   4    have called him to testify to tell us what it is and they

   5    didn't do that either.

   6                So, I just can't, in the context of the invalidity of

   7    this evidence, allow it to be introduced.

   8                MR. MCGOVERN:    Your Honor, what the recording does

   9    pick up, you know, I would ask that the Court permit us to play

  10    that part.

  11                THE COURT:    I don't know what it picks up.       I know

  12    what you say it picks up and when we tested it, you were wrong.

  13                MR. MCGOVERN:    And Evan Kohlmann has listened to the

  14    entire recording and he would testify as to --

  15                THE COURT:    I don't know what Evan Kohlmann looked

  16    at.   I don't know what he listen to.       The defense can't cross

  17    him on it 'cause the defense doesn't have it.

  18                MR. MCGOVERN:    Your Honor, the recording --

  19                THE COURT:    I've ruled.

  20                Call your witness if you want to Daubert him on this

  21    black flag business.

  22                MR. MCGOVERN:    The Government calls Evan Kohlmann.

  23                Before the witness is brought in, Your Honor, is that

  24    the extent of the Defendant's request at this time?

  25                MR. PETER TRAGOS:     Just one second, please.



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   1                THE COURT:    It's as to the black flag and as to any

   2    information he has about some Shaykh that can be attributed to

   3    the Defendant that's not from either 114-B, and that can't be

   4    authenticated by the Government as coming from his computer or

   5    his mouth, and I'm told there's nothing from a forensic

   6    standpoint the Government intends to introduce.          So if there's

   7    a name from the Defendant's mouth or statement from the

   8    Defendant that this witness is prepared to testify about, those

   9    are the categories the Court is aware of.

  10                Any others, Mr. Tragos?

  11                MR. PETER TRAGOS:     There's one more, Your Honor, that

  12    we may not have mentioned before, it's a definition of the word

  13    "takfiri."

  14                THE COURT:    Yes, that did not come up in the --

  15                MR. PETER TRAGOS:     Transcripts.

  16                THE COURT:    Well, it didn't come up in the Daubert

  17    hearing or a source of the transcripts.         Are you going to have

  18    him define takfiri?

  19                MR. MCGOVERN:    No, Your Honor.

  20                THE COURT:    All right.

  21                MR. PETER TRAGOS:     Just to be clear, 'cause there's

  22    different definitions of those words, so he's not going to

  23    define anything about takfiri?

  24                THE COURT:    That's my understanding.

  25                MR. PETER TRAGOS:     Thank you, Your Honor.



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   1                MR. MCGOVERN:    In an abundance of caution, Your

   2    Honor, and I would notify the Court that the Government also

   3    intends to have -- ask Evan Kohlmann about the two German

   4    brothers that the Court knows about and that we have discussed

   5    before.    Evan Kohlmann would be able to identify the paragraphs

   6    spoken about the German brothers by the Defendant --

   7                THE COURT:    Are they in his report?

   8                MR. MCGOVERN:    I'm sorry?

   9                THE COURT:    Are the -- are those people referenced in

  10    Mr. Kohlmann's report?

  11                MR. MCGOVERN:    Yes, Your Honor.     Page 30 of the

  12    report, Your Honor.

  13                THE COURT:    Was that mentioned at the first Daubert

  14    hearing?

  15                MR. MCGOVERN:    Yes, Your Honor.

  16                THE COURT:    All right.

  17                MR. PETER TRAGOS:     I don't believe it was, Your

  18    Honor.

  19                (Brief pause.)

  20                THE COURT:    Please call your witness.

  21    Thereupon,

  22                               EVAN F. KOHLMANN,

  23    after having been duly sworn to tell the truth, the whole truth

  24    and nothing but the truth, was examined and testified as

  25    follows:



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   1                THE WITNESS:    Yes, I do.

   2                THE CLERK:    Please be seated in the witness stand.

   3                Please state your full name and spell your last name

   4    for the record.

   5                THE WITNESS:    Yes, my name is Evan F. Kohlmann,

   6    K-O-H-L-M-A-N-N.

   7                THE COURT:    Mr. Kohlmann, you're under oath, you must

   8    give truthful answers to any questions asked.          If you give

   9    false answers, you face penalties of perjury, false statement

  10    and obstruction.

  11                Do you understand that?

  12                THE WITNESS:    Yes, Your Honor, thank you.

  13                THE COURT:    The Government has shown you the Court's

  14    prior order that constrains your testimony; is that right?

  15                THE WITNESS:    Yes, Your Honor.

  16                THE COURT:    There is some inquiry that you further

  17    constrain your testimony or to determine your qualification to

  18    offer certain opinions and so we need to have a short hearing

  19    with respect to that.

  20                Counsel, you may proceed.

  21                MR. MCGOVERN:    Your Honor does the Court adopt the

  22    previous testimony in the other Daubert hearing to incorporate

  23    that in this hearing?

  24                THE COURT:    Yes.

  25                MR. MCGOVERN:    Thank you.



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   1                         PROFFER DIRECT EXAMINATION

   2    BY MR. MCGOVERN:

   3    Q.    Mr. Kohlmann, I'd like to start with the term "black

   4    flag."   Are you familiar with that term?

   5    A.    Yes.

   6    Q.    And in your experience and expertise, what does that refer

   7    to?

   8    A.    There is a hadith which is part of the Sunnah of Islam,

   9    part of the belief system of Islam that talks about black flags

  10    from Khorasan.     Khorasan is a synonym for Afghanistan.        And the

  11    hadith relates a story whereby there will be an army of Muslims

  12    that will arise in Khorasan, in Afghanistan and that will lead

  13    the way to liberate the Islamic empire carrying black flags.

  14          As a result, a number of Islamic political movements,

  15    particularly armed political movements, have adopted this ria,

  16    this banner as their symbol of or their symbol because of the

  17    fact that it represents the idea of an army, an Islamic army

  18    marching to take control of the Islamic world, again, under the

  19    black flags, under the ria, the banners.

  20    Q.    Sir, how are you familiar with that?

  21    A.    It's a well known hadith within the belief system of

  22    Islam.   I've come across it ever since I first started studying

  23    Islam at Georgetown University.

  24    Q.    During the time that you've collected videos, you told us

  25    you do research and collect videos, do research, you know, have



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   1    you ever read or done research concerning the issue of black

   2    flags and what they're about, what they stand for?

   3    A.    Yes.   The first time I did research on this subject, it

   4    was I think the year 2000.

   5    Q.    Are there any groups that associate themselves with the

   6    flag?

   7    A.    Yes.   There are a number of armed Islamic movements that

   8    associate themselves with that particular flag.          The groups

   9    that would associate themselves with that flag would include

  10    everything from groups like Jabhatal-Nusra, Al-Qaeda in

  11    Afghanistan, the Taliban and Jabhatal-Nusra in Syria.

  12    Q.    Sir, did you review the discovery in this case?

  13    A.    Yes, I have.

  14    Q.    In Government's Exhibit 111, page six, there's a reference

  15    to a shahada flag.     Are you familiar with that term?

  16    A.    Yes.

  17                 THE COURT:   Who makes reference to it, for the

  18    record?

  19                 MR. MCGOVERN:   I'm sorry, Your Honor?

  20                 THE COURT:   Who makes reference to it?

  21                 MR. MCGOVERN:   It's the Defendant making reference to

  22    it?

  23                 THE COURT:   All right.

  24    BY MR. MCGOVERN:

  25    Q.    I'll direct your attention to the screen in front of you,



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   1    page six of Government's Exhibit 111.

   2    A.    Yes.

   3    Q.    In the middle of it, SO, indicating the Defendant, "You

   4    have the la ilahillallah, no "gob-a-gob" flags, right, the one

   5    with the white letters."

   6          Do you know what he is referring to?

   7    A.    Yes.

   8    Q.    What is he referring to?

   9    A.    Well, ilahillallah is the Shahada, it's the testimony of

  10    Islam.   This is the Shahada flag, the black one with the white

  11    letters is the Ria flag.      It's the black banners with the

  12    Shahada written on it.      It's the exact same banner or flag that

  13    I've just described.

  14    Q.    The manner in which black flags are used and associated

  15    with the groups you mentioned, are there different types of

  16    flags, black flags meaning some with lettering, some without or

  17    others with --

  18    A.    Yeah, I mean, I've seen videos in which you have some

  19    individuals simply carrying a blank black flag.          Some carry a

  20    flag with the Shahada written on it, but usually it's one

  21    connotation or the other.      Specifically, it's a black flag,

  22    either plain black flag or a black flag with the Shahada

  23    ilahillallah written on it.

  24    Q.    What is the most commonplace that one might see that flag?

  25    A.    Again, the flag is used by a variety of Islamic political



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   1    movements, although because of the connotation of what the

   2    black flag means, it tends to be used more specifically by

   3    armed Islamic movements or by movements that are promoting the

   4    use of violence or weapons.

   5    Q.    More specifically, have you had occasion in your

   6    experience to view radical Islamic videos?

   7    A.    Yes.

   8    Q.    Have you had experience in viewing martyrdom videos?

   9    A.    Yes.

  10    Q.    Have you ever seen the Shahada flag in those videos?

  11    A.    Quite frequently, yes.

  12    Q.    Sir, the first time you testified before the Court, you

  13    spoke about the Inspire Magazine.

  14    A.    Yes.

  15    Q.    How are you familiar with Inspire Magazine?

  16    A.    I'm familiar with Inspire Magazine because of the fact

  17    that I personally downloaded it and accessed the magazine from

  18    the official release points of the creators of the magazine,

  19    Al-Qaeda in the Arabian Peninsula.        I have reviewed all copies

  20    of Inspire Magazine that have been published to date.           I have

  21    directly contacted the editors of Inspire Magazine.           I have

  22    discussed Inspire Magazine with other experts.

  23          I have written about Inspire Magazine, and I have

  24    testified about Inspire Magazine, both in Federal Court as well

  25    as before Congress.



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   1    Q.     Who publishes Inspire Magazine?

   2    A.     Inspire Magazine is an official publication of Al-Qaeda in

   3    the Arabian Peninsula, HUAP.

   4    Q.     How is the magazine distributed.

   5    A.     The magazine is distributed by being posted online via

   6    several different web forums that are run on behalf of

   7    Al-Qaeda.    Those particular web forums have sections in which

   8    only authenticated couriers from terrorist organizations can

   9    post messages.

  10           So in those sections is where you would find the latest

  11    video from Al-Qaeda or in some cases the latest copy of Inspire

  12    Magazine as it's posted directly by the organization.           When

  13    it's first posted, it is often in encrypted format, and you

  14    have to unencrypt it and the unencrypted password is contained

  15    with the release.

  16    Q.     So you told us that you reviewed the discovery in this

  17    case.    Specifically, have you had an opportunity to review

  18    Government's Exhibits 161-A, 161-B, 162-A and 162-B, otherwise

  19    identified as calls between the Defendant and an individual

  20    identified as Russell Dennison?

  21    A.     Yes, I have reviewed those.

  22    Q.     In those calls, is the Inspire Magazine referenced?

  23    A.     There does appear to be references to Inspire Magazine,

  24    yes.

  25    Q.     In those calls, there's a reference to number two and



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   1    number four.     Do you have an understanding of what is meant by

   2    that?

   3    A.    Yes.    I believe the reference is to Inspire Magazine,

   4    issue number two, which was released in October of 2010, and

   5    refers to Inspire Magazine, number four, which was released in

   6    January of 2011.

   7    Q.    And the specific article that the two individuals in the

   8    conversation talk about, are you familiar with that article?

   9    A.    I believe actually there's two articles that are

  10    referenced, but I'm familiar with both of them, yes.

  11    Q.    Have you read them?

  12    A.    Yes.

  13    Q.    And just going back to the distribution of the magazine,

  14    once it's released, how quickly is it available to the general

  15    public?

  16    A.    Usually within a few hours.       There have been a couple of

  17    instances where unknown parties attempted to disrupt the

  18    distribution of the magazine, but typically speaking, even if

  19    there's a disruption, it wouldn't last more than a few days.

  20                 MR. MCGOVERN:   May I have a moment, Your Honor?

  21                 For the record, Your Honor, the defense and the

  22    Government have spoken.      For purposes of this Daubert hearing,

  23    the Government is not being asked to go through foundations for

  24    the term "hijrah" that would be discussed by Evan Kohlmann, the

  25    website identified as unjustmedia.com.



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   1    BY MR. MCGOVERN:

   2    Q.    Are you familiar with the person identified as Aafia

   3    Siddiqui.

   4    A.    Aafia Siddiqui.

   5    Q.    Would you please spell that correctly for the record?

   6    A.    Of course, Aafia, A-A-F-I-A, Siddiqui is S-I-D-D-I-Q-U-I.

   7    Q.    How are you familiar with the person identified as Aafia

   8    Siddiqui?

   9    A.    I'm familiar with Dr. Aafia Siddiqui because of the fact

  10    that I've conducted original research on her case.          I've

  11    reviewed Court documents filed in her case.         I have conducted

  12    outside research on individuals who knew her or were familiar

  13    with her, and I researched her background and her history and

  14    her family, both in the Boston area as well as back in

  15    Pakistan.

  16    Q.    You referenced her case.      What does that mean?

  17    A.    Dr. Aafia Siddiqui was charged and, in fact, convicted of

  18    a variety of offenses relating to an incident that occurred in

  19    I believe a U. S. base in Afghanistan several years ago.

  20    Q.    In your review of the discovery in this case, do you

  21    recall the Defendant speaking about Aafia Siddiqui?

  22    A.    I do, yes.

  23    Q.    On how many occasions?

  24    A.    I can recall one occasion, but there may have been more.

  25    Q.    Is it your understanding that the Defendant's -- strike



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   1    that.

   2          In the manner in which Aafia Siddiqui is referenced by the

   3    Defendant in the discovery, is that accurate?

   4                THE COURT:    I don't understand that question.

   5                MR. MCGOVERN:    Very well, Your Honor, I'll rephrase

   6    that.

   7    BY MR. MCGOVERN:

   8    Q.    In the discovery, the Defendant, when speaking about Aafia

   9    Siddiqui, describes her as someone who has been raped and

  10    otherwise abused; is that accurate?

  11    A.    No, it's not accurate.

  12                THE COURT:    What's the foundational basis for your

  13    knowledge?

  14                THE WITNESS:    Your Honor, I've read statements of

  15    those who were responsible for organizing the custody of Aafia

  16    Siddiqui.    Her trial has already taken place, so there's been

  17    open testimony about her treatment.        As far as all the evidence

  18    that I can see, there is no evidence to back up her claim that

  19    she was tortured while in U. S. custody.

  20                THE COURT:    Have you done anything to independently

  21    verify the testimony of those individuals?

  22                THE WITNESS:    No, Your Honor, it's not possible.

  23                THE COURT:    Has there been a Court ruling on the

  24    truth or falsity of her accusations?

  25                THE WITNESS:    Well, she was convicted, Your Honor.        I



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   1    don't believe those accusations were treated as credible by the

   2    jury.

   3                 THE COURT:   But was there a trial on whether or not

   4    she was raped or abused while in prison?

   5                 THE WITNESS:    I'm not familiar with one, Your Honor.

   6                 THE COURT:   So how would there have been a

   7    determination by a jury as to that fact?

   8                 THE WITNESS:    Your Honor, I'm just speaking in the

   9    context of her case.      But I only know the information that's

  10    publicly available.

  11                 MR. MCGOVERN:    With your permission, Your Honor, the

  12    Government will not ask Evan Kohlmann during the trial whether

  13    or not the Defendant's statements are accurate.

  14                 THE COURT:   So why are you asking him now at the

  15    Daubert hearing?

  16                 MR. MCGOVERN:    It was an oversight, Your Honor.

  17                 THE COURT:   All right.

  18                 MR. MCGOVERN:    May I have a moment?

  19                 THE COURT:   Please.

  20                 (Brief pause.)

  21    BY MR. MCGOVERN:

  22    Q.    Mr. Kohlmann, in the discovery, there's a reference by the

  23    Defendant to two German brothers.        Do you recall that?

  24    A.    Yes.

  25    Q.    Can you identify them?



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   1    A.    Yes.   There are two brothers, they go by the Choukas or

   2    nicknames, Abu Ibrahim and --

   3    Q.    Let's take one at a time and please spell them.

   4    A.    Sure, of course.      Abu Ibrahim is A-B-U    I-B-R-A-H-I-M.

   5    Abu Ibrahim's real name is Yassin Chouka, Y-A-S-S-I-N

   6    C-H-O-U-K-A.    The other brother is Abu Adam, A-B-U        A-D-A-M.

   7    And his real name is Mounir Chouka, M-O-U-N-I-R          C-H-O-U-K-A.

   8    Q.    Are you familiar with those two individuals?

   9                 THE COURT:   I'm sorry, his name is spelled M-O-N-I-R

  10    in parts of your report and M-O-U-N-I-R.         Which is it?

  11                 THE WITNESS:    I'm sorry, it's spelled, Your Honor,

  12    M-O-U-N-I-R or M-U-N-I-R?

  13                 THE COURT:   It's spelled M-O-N-I-R in reference to

  14    documents that you quote, and then it's spelled M-O-U-N-I-R in

  15    your written report.

  16                 THE WITNESS:    Your Honor.   The name has two alternate

  17    spellings.

  18                 THE COURT:   All right.

  19    BY MR. MCGOVERN:

  20    Q.    How are you familiar with these individuals?

  21    A.    Both of these individuals have been designated by the

  22    United Nations as suspected terrorists and they've also

  23    currently --

  24                 MR. PETER TRAGOS:    Object to the suspected nature of

  25    anything they're doing, Your Honor.



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   1                THE COURT:    I'll let him tell me what his

   2    understanding is.     Whether he'll testify to it is a different

   3    story.

   4                THE WITNESS:    The German Government provided the

   5    United Nations with evidence that these two individuals were

   6    involved in terrorist activities inside of Germany.           Subsequent

   7    to their departure from Germany, they went to Yemen, where they

   8    met up with Anwar al-Awlaki.

   9                Following their meeting with Anwar al-Awlaki, they

  10    traveled on to the Afghan Pakistani border where they joined a

  11    group known as the German Taliban mujahideen.          This was a

  12    sub-unit of another group known as the Islamic Movement of

  13    Uzbekistan which is an ally of Al-Qaeda.

  14                When these two brothers -- while these two brothers

  15    were in Afghanistan, were being publicly sought by the German

  16    Government, they began releasing videos, both through Al-Qaeda

  17    as well as through the IMU in which they explained what they

  18    were doing in Afghanistan, what the German Taliban Mujahideen

  19    was and what their goals were.

  20    BY MR. MCGOVERN:

  21    Q.    Why were they in Afghanistan?

  22    A.    They announced that the reason they had come to

  23    Afghanistan was to participate in a jihad against infidels, to

  24    fight against U. S. backed forces and their allies and to

  25    encourage other individuals, particularly those living in the



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   1    west, to follow in their footsteps and either travel to a front

   2    line and participate in armed combat or else to wage jihad back

   3    at home.

   4    Q.    How do you know that?

   5    A.    Because they explicitly stated this in the videos and the

   6    audio messages that they released.

   7    Q.    Approximately how many videos or audios have they

   8    released?

   9    A.    I'm familiar with at least four different recordings

  10    featuring the brothers, at least one of the brothers.

  11    Q.    Over a period of how long?

  12    A.    Approximately two years.

  13    Q.    In your view of the discovery, were there references to

  14    the German brothers in the transcripts?

  15    A.    I believe so, yes.

  16                THE COURT:    And what were the references?

  17                THE WITNESS:    Your Honor, there was specific

  18    references to two brothers from Germany who had migrated to

  19    Afghanistan to join the Mujahideen.        That description really

  20    only fits two individuals who were publicly known who are

  21    Yassin and Mounir Chouka.      The Defendant also discussed the

  22    specific speech that Mounir Chouka have given and began

  23    actually citing parts of the speech specifically.

  24                THE COURT:    Is there any reference in the discovery

  25    that you are aware of that discloses the Defendant's knowledge



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   1    of any of the other facts that you cited concerning those

   2    individuals, like to German -- the Germans placing them on a

   3    suspect or terror list or they're going to different places to

   4    cause jihad?

   5                THE WITNESS:    Your Honor, the Defendant describes

   6    these individuals as they are recovering the bodies of fallen

   7    fighters who have been killed in the drone strike in Waziristan

   8    and they're collecting the pieces and he appears to cite the

   9    exact language that they use when they suggest that the West

  10    should be annihilated and that attacks should be launched

  11    against western targets including sabotage --

  12                THE COURT:    That wasn't my question.      My question

  13    was, is there any reference in the discovery that you have read

  14    that shows that the Defendant was aware of the -- of Germany

  15    placing these individuals on some terror list?

  16                THE WITNESS:    I can't recall that, Your Honor.       I

  17    don't recall specific references to that, Your Honor.

  18    BY MR. MCGOVERN:

  19    Q.    I'd like to direct your attention to Government's Exhibit

  20    118-B, pages 15 and 16.

  21          Sir, in this transcript, the Defendant makes reference to,

  22    at the bottom of the page, "To the planes fly, to the planes in

  23    the sky, they," and following on, continuing on page 16, "Fly

  24    above the throne of Allah or below the throne of Allah."

  25          Are you familiar with that reference?



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   1    A.    Yes.

   2    Q.    How are you familiar with that reference?

   3    A.    This is a direct, almost a direct quotation from the video

   4    that I previously referenced featuring Mounir Chouka in which

   5    Mounir Chouka describes how a Shaykh described exactly this,

   6    about whether drones flying above the throne of Allah or below

   7    the throne of Allah and whether or not that's significant.

   8    Q.    In your experience and expertise, have you ever seen that

   9    quote attributed to anyone else?

  10    A.    No, I have never seen this in any other piece of

  11    propaganda.

  12    Q.    I'd like to direct your attention to Government's Exhibit

  13    118-B, page 41.     118-B, page 41.

  14          Looking at that page, starts with the Defendant talking at

  15    the top, where it starts "kuffar."        Do you recognize that?

  16    A.    Yes, I do.

  17    Q.    What is the Defendant talking about?

  18    A.    The Defendant appears to be referring to those Muslim

  19    brothers from Germany and Afghanistan, i.e., Mounir and Yassin

  20    Chouka and he appears to be quoting directly from the video,

  21    "On to Success", which is the video I referenced earlier about,

  22    "not one drop of mercy for them," that's a direct quote, and

  23    then this subsequent line when they talk about the drone

  24    attacks and gathering the pieces.

  25          The numbers are not exactly correct, but the other details



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   1    are basically spot directly from On to Success.

   2    Q.    In the paragraph in the middle where the Defendant starts

   3    so --

   4                THE COURT:    I'm sorry.    If this was all discussed in

   5    the first Daubert hearing, why are we discussing it again?

   6                MR. MCGOVERN:    Your Honor, I'm just trying to be as

   7    complete as possible for the defense.

   8                THE COURT:    Let me hear the cross.

   9                MR. PETER TRAGOS:     In its entirety, Your Honor, or

  10    just the German brothers?

  11                THE COURT:    Well, I don't know what entirety means.

  12    The only thing we've discussed so far is the German brothers.

  13                MR. PETER TRAGOS:     And the black flag.

  14                THE COURT:    And the black flag.

  15                MR. PETER TRAGOS:     Yes, Your Honor.

  16                          PROFFER CROSS-EXAMINATION

  17    BY MR. PETER TRAGOS:

  18    Q.    Mr. Kohlmann, you've reviewed all the transcripts in this

  19    case, correct?

  20    A.    I believe so.    I've reviewed all the transcripts that were

  21    provided to me.     I don't know if there were transcripts that

  22    were not provided to me.

  23    Q.    When did you do that?

  24    A.    Over the space of approximately two or three months.           I

  25    don't remember exactly.      Within the last year, but I don't



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   1    remember exactly when.

   2    Q.    So you don't remember a date-ish that you got the

   3    transcripts from the Government?

   4    A.    Not offhand.    I'm sure I have that written down somewhere,

   5    but I couldn't remember that offhand.

   6    Q.    Do you know if they have been revised since you read them?

   7    A.    I believe one of them may have been revised, but I'm not a

   8    hundred percent sure of exactly what was revised in them.

   9    Q.    Did you receive revised transcripts from the Government or

  10    final transcripts from the Government?

  11    A.    No, I have not.

  12    Q.    Okay.

  13                THE COURT:    Well, how do you know it was revised?

  14                THE WITNESS:    I saw one transcript, Your Honor,

  15    that -- in the last 24 hours that had slight differences from

  16    the version that I saw, but I haven't gotten fully revised

  17    transcripts that were sent to me.

  18    BY MR. PETER TRAGOS:

  19    Q.    Do you remember in the transcripts --

  20                THE COURT:    I'm sorry.    It says, "Did you receive

  21    revised transcripts from the Government?"         And you say, "No, I

  22    have not."

  23                THE WITNESS:    Maybe I should clarify, Your Honor.

  24    I've seen one piece of the one transcript, but I have not

  25    gotten the full collection of finalized transcripts.           That was



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   1    never provided to me.

   2                THE COURT:    Which transcript did you see a piece of

   3    that had been modified?

   4                THE WITNESS:    I believe it's this one.

   5                THE COURT:    This one being 118-B?

   6                THE WITNESS:    That's correct, yes.

   7                THE COURT:    In the last 24 hours, you saw a different

   8    version of it than the first version you saw?

   9                THE WITNESS:    Uh, I believe that instead of saying

  10    "PH," instead of saying PH for phonetic, it said "Rahimullah,"

  11    which means "May Allah have mercy on him," and I believe there

  12    was also one small change to -- I had noticed that Abu Adam was

  13    written wrong, so I suggested that they change the spelling,

  14    and I believe the spelling was changed.

  15                THE COURT:    Counsel.

  16    BY MR. PETER TRAGOS:

  17    Q.    On one of the transcripts, do you remember the first time

  18    and you may not remember this was the first time, but the first

  19    time that the black flag was actually mentioned?

  20    A.    I couldn't recall off the top of my head, no, I'm sorry.

  21                MR. PETER TRAGOS:     Your Honor, can I show him

  22    Government's Exhibit 111-B?

  23                THE COURT:    Yes.

  24    BY MR. PETER TRAGOS:

  25    Q.    Page six.    I'm sorry, page five, the bottom, bottom of the



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   1    page.   Mr. Osmakac says, "The black flag," and then the next

   2    page, you remember this part of the transcript?

   3    A.    Yes.

   4    Q.    Okay.    And is that Mr. Osmakac asking what is it for?

   5    A.    That is, yes.

   6    Q.    So all the things that you testified about what the black

   7    flag is and what it means, Mr. Osmakac never actually explains

   8    all that, does he?

   9    A.    I don't believe so.     No, not that I saw in the transcript,

  10    no.

  11    Q.    Okay.    So you don't know what he knows about the black

  12    flag?

  13    A.    No.    I do know something because in a later reference -- I

  14    don't know how he learned it, but in a later reference, he

  15    talks about the Ria flag being the predicator for chopping

  16    people's heads off.

  17    Q.    But he doesn't know what this black flag means, does he,

  18    right here?

  19    A.    No, he says, "black flag."      In the later reference, he

  20    says, "The black flags will come and then people's heads will

  21    start getting chopped off."

  22    Q.    Why do you think he's asking what it's for?

  23    A.    I don't know.    I don't know what the sequence is.        I'm

  24    just saying I do know that in a later conversation or in

  25    another conversation, he clearly references the idea of black



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   1    flags being a predicator for violence.        But I don't know what

   2    the order is and I couldn't just -- I only know what I see.

   3    Q.    And you don't know where in the transcript he says that?

   4    A.    I reviewed it yesterday, but I couldn't tell you the exact

   5    page number offhand.

   6    Q.    And it's not in your report?

   7    A.    I don't recall whether -- I don't think it's my report,

   8    no.

   9    Q.    Okay.   The black flag with white letters on it; there was

  10    no black flag with white letters on it in this case, was there?

  11    A.    I'm not familiar with one, no.

  12    Q.    Okay.   You reviewed the -- did you review the physical

  13    evidence in this case?

  14    A.    Not all of it, no.

  15    Q.    You get pictures of any of it?

  16    A.    I don't recall getting photos of physical evidence, no.

  17    Q.    Did you get a picture of the black flag that we're talking

  18    about?

  19    A.    I've seen the video in which there's a black flag in it.

  20    Q.    You haven't actually seen the black flag except from the

  21    video?

  22    A.    I don't believe so, no.

  23                MR. PETER TRAGOS:     I believe, also, Your Honor,

  24    Inspire Magazine was inquired about.

  25                THE COURT:    Yes, sir.



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   1    BY MR. PETER TRAGOS:

   2    Q.    You testified about the authenticated courier and

   3    encryption; is that correct?

   4    A.    That's correct.

   5    Q.    How do you know about that stuff?

   6    A.    Because of the fact that Al-Qaeda leaders have

   7    specifically explained -- that senior Al-Qaeda leaders have

   8    specifically explained and endorsed the system, including Ayman

   9    Al-Zawahiri, including other senior -- but there's no question

  10    about it.    It's a very well established system in which these

  11    individuals have online couriers, they release the information.

  12    The information is also --

  13                THE COURT:    You already answered the question.

  14                THE WITNESS:    Sorry, Your Honor.

  15                THE COURT:    Please spell the name of the individual

  16    you just mentioned.      Spell the name of the individual you just

  17    mentioned.

  18                THE WITNESS:    Which individual; sorry?

  19                THE COURT:    You just mentioned him, I don't know his

  20    name.   Someone who came up with this encryption process.

  21                THE WITNESS:    Oh, excuse me, Your Honor, sorry, it's

  22    Ayman Al-Zawahiri, A-Y-M-A-N       A-L-Z-A-W-A-H-I-R-I.     Although I

  23    should clarify, Your Honor, he didn't come up with the system,

  24    he just endorsed it.      He said this is legitimate.

  25



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   1    BY MR. PETER TRAGOS:

   2    Q.    Have you ever been through that, going through the

   3    encryption, or unencrypting the documents?

   4    A.    Yeah, I unencrypt everything.

   5    Q.    No, I'm sorry, the Inspire Magazines?

   6    A.    I unencript everything.

   7    Q.    Okay.   So you've actually done it?

   8    A.    They provide you the unencryption password.         The only

   9    reason there's an unencryption password is to prevent people

  10    who are, quote, unquote, not supposed to read it from getting

  11    it.

  12          But if you have access to an Al-Qaeda messaging forum, all

  13    right, if you have -- it's a password protected system, then

  14    presumably you're supposed to have access to it.          So they give

  15    you the unencryption password.       There's no sophistication

  16    involved in it.     They give you the file, they give you the

  17    password and you just extract it.

  18    Q.    Do you know how many people subscribe to these websites

  19    with the passwords in the Inspire Magazine?

  20    A.    I can give you an approximate number.        On a given day,

  21    usually several hundred people access these forums.           It can be

  22    challenging sometimes to get logins and passwords, but several

  23    of the people that operate these forums have made it their

  24    mission to once the propaganda is posted on there, to then

  25    repost it in other locations where people who don't have logins



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   1    and passwords or know about encryption or things like that can

   2    easily get access to it.

   3    Q.    Of the several hundred, do you know how many, about, are

   4    law enforcement or people such as yourself that work for

   5    Governments?

   6    A.    A very small number.

   7    Q.    Okay.   Is it possible to just get one article of an

   8    Inspire Magazine on the website?

   9    A.    Only if someone actually physically retyped the whole

  10    article out by hand, because it's not possible to extract pages

  11    or copy content out.      There's file protections on Inspire

  12    Magazine that prevent you from being able to easily copy and

  13    paste.

  14          You have to actually retype the whole thing out by hand.

  15    So if someone actually took it and retyped it all out by hand,

  16    it's possible.     And there's certain people that may have done

  17    that, but it's a challenge.

  18    Q.    But it wouldn't look like the article would in the

  19    magazine?

  20    A.    Well, it entirely depends on how someone presents it.

  21    Q.    So it is possible to get an article that looks like you

  22    just pulled one article out of the magazine?

  23    A.    Yeah, I mean, you can excerpt if -- you have to retype it.

  24    Again, it depends how it's presented whether or not it's

  25    clearly part of Inspire or not.



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   1    Q.    I was asking if it looked like a WORD document, if they

   2    typed it or if they made it look like an actual article from

   3    the Inspire Magazine, with the pictures and the page numbers

   4    and everything on it?

   5    A.    You're asking if people have done that?

   6    Q.    If it's possible to get an article like that, just a

   7    singular article as opposed to the entire issue of the

   8    magazine?

   9    A.    It's possible, but it's a challenge.

  10    Q.    Okay.   Back to the black flag really quick.        Did you watch

  11    the martyrdom video in this case?

  12    A.    Yes, I did.

  13    Q.    Was there a black flag in it?

  14    A.    I believe there was in the background.

  15    Q.    Okay.   And did you see any white letters on that black

  16    flag?

  17    A.    Not that I can recall.      No.

  18    Q.    Okay.   Next we'll talk about the German brothers.

  19          Have you ever met either of these brothers?

  20    A.    Mounir and Yassin Chouka, no.

  21    Q.    You ever interviewed them?

  22    A.    No.

  23    Q.    Have you ever spoken to them?

  24    A.    No.

  25    Q.    Do you know if they quote other Muslim leaders or



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   1    extremists in their videos?

   2    A.    Do they quote them; yes, they do.

   3    Q.    Do they quote the Quran ever?

   4    A.    Certainly.

   5    Q.    Okay.   How do you know -- if they started making videos

   6    after they traveled here and there, how do you know about those

   7    travels?

   8    A.    Because of the fact that those travels have been

   9    publicized by the German Government in official Court

  10    documents.

  11    Q.    So they're accused of doing those travels?

  12    A.    No, there's objective evidence that they traveled there.

  13    There's passport records and stuff like that.          There's exit

  14    records.    They know where they went, it's not a mystery.

  15    Q.    It's been proven that they've made the travels and the

  16    jihad and things that you said they did?

  17    A.    They're dead.    They were killed in Afghanistan.        They're

  18    dead.

  19    Q.    I didn't ask if they were dead.       Is there proof of every

  20    one of those moves that you mentioned, they moved from here to

  21    there?

  22    A.    Yeah.

  23    Q.    Have you seen and reviewed the physical proof?

  24    A.    Yeah.   I mean, again, there's been United Nations

  25    documents filed, there's German Court documents filed.           There's



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   1    no question about that these individuals traveled to Yemen and

   2    then traveled on to Afghanistan and died there.

   3    Q.    You know there could be Court documents filed that are not

   4    confirmed or proven, correct?

   5    A.    Again, it's one thing to make an accusation that someone

   6    is a member of an organization, but proving that someone

   7    actually traveled somewhere, there are objective travel

   8    records, there are passport records, there are --

   9                THE COURT:    Mr. Kohlmann, you're not going to be

  10    allowed to testify who would travel where unless you have their

  11    passports and you have a document establishing authenticity of

  12    those passports.     Those are accusations.      I haven't seen those

  13    Government records.      They're not in evidence.      So all we know

  14    is that you know that they're these two brothers, you know that

  15    one of them has made a video, you know that in that video

  16    Mounir Chamere -- or Chouka --

  17                THE WITNESS:    Chouka, yeah, yes, Your Honor.

  18                THE COURT:    -- has made certain statements that you

  19    believe are almost identical to statements that Mr. Osmakac has

  20    made.   And you can discuss the similarities between his video

  21    and Mr. Osmakac's video in the course of this trial.

  22                But the notion that these people have done things or

  23    been places or killed people or died in Afghanistan, in the

  24    absence of evidence on this record, you're not going to be

  25    allowed to testify to that because it's all based upon evidence



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   1    that this Court is not aware of.

   2                 THE WITNESS:   But Your Honor, I believe their deaths

   3    were announced by the group that they fight with in

   4    Afghanistan.

   5                 THE COURT:   And that would be abject hearsay.

   6                 THE WITNESS:   Okay.

   7                 THE COURT:   Anything else?

   8                 MR. PETER TRAGOS:    Yes.    One last question, Your

   9    Honor.

  10    BY MR. PETER TRAGOS:

  11    Q.    The two articles -- how many articles did the Defendant

  12    have in this case or did he reference, I'm sorry?

  13    A.    You mean from Inspire Magazine?

  14    Q.    Yes.

  15    A.    Oh, sorry, two.

  16    Q.    Okay.    Do you know how he got those two articles?

  17    A.    I can only surmise from having read what he described with

  18    Mr. Dennison in the audio recording.

  19    Q.    So you don't know how he got those two articles?

  20    A.    I know one way he got it, but I don't know all the ways he

  21    got it.

  22                 MR. PETER TRAGOS:    Okay.    I have nothing further,

  23    Your Honor.

  24                 THE COURT:   All right.

  25                 This witness will be allowed to testify about what



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   1    black flag means in the context of the statements of the

   2    Defendant.    And he'll be allowed to talk about the similarities

   3    between the Defendant's references to Mounir Chouka's video and

   4    this Defendant's video in reference to the Defendant having

   5    referenced Abu Ibrahim and Abu Adam and he'll be able to tell

   6    us what their two names are and he'll be able to tell us that

   7    those individuals are associated with one another, that's who

   8    he understands the German brothers to be.         And he'll be allowed

   9    to go through the similarities between Mounir Chouka's video

  10    and the Defendant's video in order to show the Defendant is

  11    connecting himself with Mounir Choucka.

  12                I don't know yet whether the discussions between Mr.

  13    Dennison and the Defendant will be coming into evidence 'cause

  14    I don't know where we stand with Mr. Haag or his substitute.

  15                Where are we with that?

  16                MS. SWEENEY:    Your Honor, Mr. Haag is present and he

  17    will be the first witness that the Government calls this

  18    morning once the jury is here.

  19                THE COURT:    And he has now reviewed the original

  20    source material and can testify that this is subject to being

  21    introduced as some sort of authentic document of the FBI from

  22    the recordings through the process he previously described?

  23                MS. SWEENEY:    Yes, Your Honor.     I mean, there are

  24    some -- the disk.     The disk that the phone call originally

  25    writes to, the big disk that you and he referred to when you



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   1    were speaking with each other, that disk, it can no longer be

   2    played from directly.      The FBI doesn't use the system that

   3    played from that disk any more.        And I'm just saying what I

   4    believe Mr. Haag will testify or Agent Haag will testify to.

   5                That disk can be hooked into a computer in Miami,

   6    that can pull information off it.        So you have to -- in order

   7    to listen to the call, you have to pull it off of the big disk

   8    and on to a little disc.      But Agent Haag did that himself.        He

   9    used the big disk, produced a small disc with these calls on

  10    them and reviewed those and they match what's in the

  11    Government's Exhibit.

  12                THE COURT:    All right.

  13                And so if there can be some connection between Mr.

  14    Osmakac and Mr. Dennison and those transcripts and they come

  15    into evidence, then the witness can testify as to the Inspire

  16    Magazine.

  17                Now with regard to that magazine, how many articles

  18    are referenced in the conversations?

  19                MR. MCGOVERN:    Two, Your Honor.

  20                THE COURT:    Two specific articles?

  21                MR. MCGOVERN:    Yes, Your Honor.

  22                THE COURT:    And the witness knows which articles

  23    those are?

  24                MR. MCGOVERN:    Yes, Your Honor.

  25                THE COURT:    And he can testify then about those two



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   1    articles and no others.

   2                MR. PETER TRAGOS:     What about Inspire, generally,

   3    Your Honor?

   4                THE COURT:    He can mention Inspire as what it is,

   5    explain to the jury what the magazine does, and then he can

   6    explain what the articles that the Defendant saw are in

   7    reference to.

   8                MR. PETER TRAGOS:     Including their encryption and

   9    connection to Al-Qaeda and leaders that say how they're put

  10    out?

  11                THE COURT:    No.

  12                MR. PETER TRAGOS:     Thank you, Your Honor.

  13                MR. MCGOVERN:    Your Honor, will the Government --

  14    will the Government be able to generally identify Inspire and

  15    the purpose of the magazine or what it proposes to do, or the

  16    general content of it?      You know, even when we talked about

  17    this months ago in front of Your Honor, Your Honor was --

  18                THE COURT:    I said yes, he'll be able to explain what

  19    Inspire Magazine is.      It is a -- what would you say if somebody

  20    asked you what is Inspire Magazine?

  21                THE WITNESS:    Your Honor, Inspire Magazine is the

  22    official English language magazine of Al-Qaeda in the Arabian

  23    Peninsula.    It was first published in 2010.       The purpose of

  24    Inspire Magazine is to help individuals radicalize themselves

  25    who are living in western countries and who speak English.



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   1                THE COURT:    Yes.   He'll be allowed to say that.

   2    Anything else?

   3                MR. MCGOVERN:    Yes, Your Honor.     The defense asked me

   4    to review Aafia Siddiqui with the witness.         Would the

   5    Government be able to present some testimony regarding Aafia

   6    Siddiqui?

   7                THE COURT:    Let me hear what he has to say about

   8    Siddiqui.

   9                THE WITNESS:    Dr. Aafia Siddiqui was working with --

  10    alongside with Al-Qaeda and had been convicted of doing such,

  11    as providing material support to Al-Qaeda and other terrorist

  12    organizations.

  13                THE COURT:    Anything else he intends to say about it?

  14    Is that a woman or a man?

  15                THE WITNESS:    It's a woman, Your Honor.

  16                MR. PETER TRAGOS:     Your Honor, I believe you already

  17    ruled on -- that's the one that was raped or not raped and

  18    that's the same.

  19                THE COURT:    Well, the question was, did he know

  20    whether she had been abused in prison and he could not tell us

  21    whether she had or had not been abused in prison because that

  22    was never tried.     But the fact of who she is and the fact that

  23    she has been convicted, if those are facts of which this

  24    witness is aware, he can tell us who she is.

  25                MR. PETER TRAGOS:     Is that -- what about the fact



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   1    that that's nowhere on the transcript that the Defendant was --

   2    the only way the Defendant talks about her, I believe

   3    Mr. Kohlmann said it's only mentioned one time that she was

   4    raped and abused.     That's all the Defendant ever says about

   5    this individual.

   6                MR. MCGOVERN:    I'm sorry, for the record, there are

   7    references to an Aafia Siddiqui on several occasions by the

   8    Defendant.

   9                MR. PETER TRAGOS:     Can we do this outside the

  10    presence of the witness then, Your Honor?

  11                THE COURT:    Well, the witness is an expert so he can

  12    talk about hearsay or not talk about hearsay.

  13                Where are the references?

  14                Well, let me ask the witness.       What references have

  15    you seen of her in the transcripts?

  16                THE WITNESS:    I've seen at least one that was cited

  17    by the defense, but, Your Honor, I've seen her name come up a

  18    couple of times.     I didn't realize that was significant.        It

  19    wasn't included in my report.       Certainly, I'm prepared to

  20    testify about it, but I couldn't tell you offhand all the

  21    different instances where it's come up.

  22                THE COURT:    So you haven't previously disclosed since

  23    you are going to be talking about Siddiqui in an expert report

  24    in accordance with the Government's disclosure requirements?

  25                THE WITNESS:    In this case, Your Honor, no, I don't



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   1    believe I have.

   2                THE COURT:    So no.

   3                MR. MCGOVERN:    Your Honor, at the original Daubert

   4    hearing, the Government asked the Court for Evan Kohlmann to be

   5    able to testify to general terms, references and individuals

   6    that are identified in the transcripts.

   7                THE COURT:    But as identified in the reports that he

   8    had disclosed, not just identified in the world.          He has an

   9    obligation to tell the defense who he intends to testify about.

  10    That's the purpose of the report.

  11                MR. MCGOVERN:    Your Honor, you know, that particular

  12    matter, reference to Aafia Siddiqui, is not being testified to

  13    as an expert.    He's not giving an opinion, he's more of a fact

  14    witness regarding Aafia Siddiqui.

  15                THE COURT:    Well, he's not going to be called as a

  16    fact witness.    He can be called as an expert 'cause then he's

  17    introducing hearsay and unless you have the sealed Court file

  18    in order to introduce it as a self-authenticating document,

  19    then it doesn't come in.      The only way it comes in is through

  20    an expert who can testify to hearsay.

  21                MR. MCGOVERN:    Thank you.

  22                THE COURT:    The answer has been given.      We'll

  23    constrain ourselves accordingly.        I need to get my jury on.

  24                Anything else we have to talk about?

  25                MR. PETER TRAGOS:      Yes, Your Honor, I just have a



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   1    couple of objections to Mr. Kohlmann's testimony, not in the

   2    Daubert sense, but just in other rules of evidence.

   3                THE COURT:    All right.

   4                The witness can step out.

   5                THE WITNESS:    Thank you, Your Honor.

   6                (Witness excused.)

   7                MR. MCGOVERN:    Your Honor, I don't believe that the

   8    Government is finished informing the Court about the items

   9    which Evan Kohlmann may testify.

  10                THE COURT:    I think you are.

  11                Yes, sir.

  12                MR. PETER TRAGOS:     First, on the unjustmedia.com,

  13    there's no reason to have an expert on that as in the

  14    transcripts the Defendant defines exactly what he thinks

  15    unjustmedia.com is.      So, it would be, A, cumulative, B, doesn't

  16    assist the jury.

  17                THE COURT:    Overruled.

  18                MR. PETER TRAGOS:     Second, on all of the -- well,

  19    specifically, on the Anwar al-Awlaki and the German brothers,

  20    but more specifically on Anwar al-Awlaki, the Defendant states

  21    everything that he agrees with about Anwar al-Awlaki, so we

  22    think that the evidence would be cumulative.

  23                We also don't think it's relevant, the background

  24    information and the extensive database that Evan Kohlmann has

  25    on Anwar al-Awlaki.      So we would at least request a limiting



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   1    instruction to the witness on what he can go into about the

   2    vast life of Anwar al-Awlaki and everything he did and all the

   3    videos that he posted.

   4                And we think that putting the Defendant in agreement

   5    with everything Anwar al-Awlaki says is more prejudicial than

   6    probative because all of the videos and all of the teachings of

   7    Anwar al-Awlaki prove nothing in this case, but they would be

   8    very prejudicial.

   9                THE COURT:    I think that we have agreed that he can

  10    testify that the Defendant's -- well, we haven't agreed, the

  11    Court had ruled that he can testify that the Defendant's

  12    martyrdom video, to what degree it does, mirrors speeches given

  13    by Mr. Al-Awlaki to whom he refers in other places.           Beyond

  14    that, I'm not sure what the Government intends to try to

  15    introduce about Mr. Al-Awlaki.

  16                MR. MCGOVERN:    Your Honor, just referencing the

  17    unjustmedia.com website, the Government would just ask Evan

  18    Kohlmann to give a brief description of the website.           And there

  19    are two specific references that the Defendant makes; one on

  20    Government's Exhibit 118-B, page 11, referring to a communique

  21    from the Taliban which are posted, Al-Qaeda War Updates Daily

  22    News.

  23                THE COURT:    Are you talking about the unjustmedia

  24    website still?

  25                MR. MCGOVERN:    Yes, Your Honor.



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   1                THE COURT:    I've already overruled the objection to

   2    that.

   3                MR. MCGOVERN:    Just so that the Government comports

   4    completely with the Court's order, Your Honor, the Government

   5    would seek to play the original recording, the audio recording

   6    of the CHS listening to the Martyr of Dawa video.          This is

   7    something that was stipulated to by the defense.

   8                THE COURT:    I've already ruled on that issue.

   9                MR. MCGOVERN:    I'm just asking for my own

  10    understanding whether or not if it's correct that the

  11    Government can play that consistent with its stipulation and

  12    have the witness identify the speaker.

  13                THE COURT:    No.

  14                MR. MCGOVERN:    Thank you, Your Honor.

  15                THE COURT:    Other than to say that -- what does the

  16    Government understand Mr. Kohlmann is going to say about

  17    al-Awlaki, specifically?

  18                MR. MCGOVERN:    Your Honor, the Government would

  19    propose to have Evan Kohlmann briefly identify the individual.

  20                THE COURT:    Show me in his report where he talks

  21    about him.

  22                MR. MCGOVERN:    It's being pulled up, Your Honor.        The

  23    Government would propose to have Evan Kohlmann identify Anwar

  24    al-Awlaki, indicate that he has released videos and indicate

  25    that he was killed in a drone strike.        He's referenced on page



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   1    13 of the report.

   2                THE COURT:    Counsel.

   3                MR. PETER TRAGOS:     Yes, Your Honor.     First thing we

   4    would point out is the number of suspected that assisted in

   5    this or initially came under suspicion due to this.            I also

   6    don't see how this death by drones is relevant.          And

   7    Mr. Kohlmann says that the Defendant is quite clearly a strong

   8    admirer and points to the transcript where the Defendant says,

   9    "A lot of people love him.       He's the best speaking English,"

  10    which I think is connecting quite a few dots.

  11                And I don't think that an extensive background that's

  12    in Mr. Kohlmann's report would be appropriate before the jury

  13    for the reasons that I've already stated.         He says he's a

  14    Muslim extremist, that the Defendant listened to his video or

  15    read his speeches.     I think that would be a description of

  16    al-Awlaki, but I don't understand why his life and death and

  17    suspected actions are relevant for this jury.

  18                THE COURT:    Well, Mr. McGovern didn't say anything

  19    about his suspected actions in his last statement to me.           He

  20    can tell the Court that he is a Muslim extremist and that he

  21    released numerous videos expressing his extreme views and that

  22    to the extent he can establish it, that the so-called martyrdom

  23    video of the Defendant tracks some of the language from one of

  24    those individuals.     He cannot testify that he was killed in a

  25    drone strike.



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   1                MR. MCGOVERN:    The fact that he is no longer alive,

   2    would that be appropriate, Your Honor.

   3                THE COURT:    No.   What is it relevant to?

   4                Anything else before we call this jury?

   5                MR. PETER TRAGOS:      Not from the defense, Your Honor.

   6                MR. MCGOVERN:    No, Your Honor, thank you.

   7                THE COURT:    Please recall the jury.

   8                (Jury returned to the courtroom.)

   9                Welcome back, ladies and gentlemen.        We will continue

  10    with the presentation of the Government's case in chief.

  11                Counsel, please call your next witness.

  12                MS. SWEENEY:    Thank you, Your Honor.

  13                The Government recalls Special Agent Paul Haag to the

  14    stand.

  15                THE COURT:    Please come forward sir and take the

  16    witness stand.

  17                You may have a seat.      The Court reminds you, sir,

  18    that you remain under oath.

  19                Do you understand that?

  20                THE WITNESS:    Yes.

  21                THE COURT:    You can pull that microphone slightly

  22    over forward so you are speaking clearly into it.

  23                Counsel.

  24                MS. SWEENEY:    Thank you, Your Honor.

  25                                DIRECT EXAMINATION



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   1    BY MS. SWEENEY:

   2    Q.    Special Agent Haag, since you were last here, did you

   3    locate the Magnito Optical disk that we were discussing last

   4    time?

   5    A.    I did.

   6    Q.    Before we jump into what you did with it, can you please

   7    explain what a Magnito Optical disk is?

   8    A.    Yes.   It's similar to a CD, but it's actually encased in a

   9    hard plastic case.     It helps protect it.      It's a write once,

  10    read many times disk, similar to a CDR.         You burn to it one

  11    time.   You can't remove what was burned on to it.         You can read

  12    it many times after that.

  13    Q.    So you said write once and you can read multiple times, so

  14    the write part, what do you mean when you say "write once?"

  15    A.    When a file is created and it's written to the disk,

  16    that's what I mean by written.       The computer actually transfers

  17    the data on to that disk.

  18    Q.    In the context of the -- of what we --

  19                 THE COURT:   Can you please have a seat, Mr. Tragos?

  20                 MR. PETER TRAGOS:    Sorry, Your Honor.

  21    BY MS. SWEENEY:

  22    Q.    In the context of what we were discussing the last time,

  23    the collection of telephone calls, what is the role of the

  24    Magnito Optical disk?

  25    A.    As soon as the call is completed, the contents of the call



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   1    are actually transferred to that disk as soon as the call is

   2    completed.

   3    Q.    And so, did you locate the Magnito Optical disk that has

   4    the phone calls that we were discussing last time on it?

   5    A.    I did.

   6    Q.    And could you -- can you listen to that disk on any

   7    computer in the world?

   8    A.    No.

   9    Q.    Okay.    What can you listen to it on?

  10    A.    It takes a specialized drive first of all, but then to

  11    also review it or even to see what the contents are, you have

  12    to have the software that the calls were originally stored in,

  13    the Red Wolf System, it's a Red Wolf piece of software so that

  14    you can review it.

  15    Q.    And does the FBI still use the Red Wolf System today?

  16    A.    No, we do not.

  17    Q.    So where was the -- where is the nearest Red Wolf enabled

  18    computer to Tampa?

  19    A.    The stand-alone computer I went to is in Miami.

  20    Q.    So you took the Magnito Optical disk with these calls on

  21    it to Miami?

  22    A.    I did.

  23    Q.    Can you listen to the calls that we're talking about

  24    directly from the Magnito Optical disk using that specialized

  25    computer in Miami?



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   1    A.    Not with the software that was available to me.

   2    Q.    So what did you have to do?

   3    A.    I put the disk into the computer, went to the piece of

   4    software where you can view the contents of the disk, it

   5    creates -- it shows you a table of all the files on the disk.

   6    I selected the three files that we have -- we are discussing,

   7    and then burned them individually, each to a disc, a CD in a

   8    wave format that can be played in any computer.

   9    Q.    I'm sorry, Agent.     So you did that yourself?

  10    A.    I did.

  11    Q.    Agent, I've handed you a number of Government's exhibits.

  12    Let's start with Government's Exhibits 161-A and B.

  13                THE COURT:    Well, let me ask a question first.       You

  14    said you can write once, read many times, you cannot burn --

  15    I'm sorry -- you cannot remove what was burned on to it.           When

  16    you say that, you mean you cannot delete it?

  17                THE WITNESS:    Yes.

  18                THE COURT:    But you can record on to another disc

  19    that which is on this Magnito disk?

  20                THE WITNESS:    Yes, yes, ma'am.

  21                THE COURT:    That is what you did?

  22                THE WITNESS:    Yes.   You can copy from it, you can't

  23    erase the file that was burned to that disk originally.           But

  24    you can make copies of that disk, yes.

  25                THE COURT:    All right.



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   1                 Counsel.

   2    BY MS. SWEENEY:

   3    Q.    So Agent, I've handed you Government's Exhibits 161-A and

   4    B.   Is that one of the calls that you obtained from the Magnito

   5    Optical disk?

   6    A.    These are copies of those calls that I reviewed.

   7    Q.    I'm sorry, that's correct.      So they're copies.      So what

   8    did you do with those copies to insure they matched what was on

   9    the Magnito Optical disk?

  10    A.    So the copies that I made from the Magnito Optical disk I

  11    compared -- I listened to those calls and I compared them to

  12    the contents of these discs.

  13    Q.    And did those match?

  14    A.    They did.

  15    Q.    Were there any alterations, deletions, changes to what you

  16    pulled off the Magnito Optical disk and what's in Government's

  17    Exhibit 161-A?

  18    A.    No.

  19    Q.    Then as to Government's Exhibits 161.1-A and B, is that

  20    just a portion of the call that we were just discussing, just a

  21    portion of Government's Exhibit 161?

  22    A.    Yes.

  23    Q.    Government's Exhibits 162-A and B, is what we just

  24    discussed with respect to 161 true with respect to 162 as well?

  25    A.    Yes.



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   1    Q.    So you compared the data that you got off the Magnito

   2    Optical disk with respect to 162 -- to sorry -- with respect to

   3    that call to what's in Government's Exhibit 162-A, and they

   4    matched?

   5    A.    Yes.   I listened to the calls.      I didn't actually look --

   6    review the data, I listened to the calls and I listened to one

   7    and then I listened to the other.

   8    Q.    And from what you could tell, were there any additions,

   9    alterations, deletions, changes to the call from the Magnito

  10    Optical disk to what's on the Government's Exhibit?

  11    A.    No.

  12    Q.    And is the same thing true with Government's Exhibits

  13    162.1-A and B?     Is that just a portion of what appears in 162-A

  14    and B?

  15    A.    Yes.

  16    Q.    And finally, Government's Exhibit 163-A, the disc.          Did

  17    you compare the recording that's on that disc to the recording

  18    that you obtained of that same call from the Magnito Optical

  19    disk?

  20    A.    I did.

  21    Q.    And what did you find?

  22    A.    The audio was the same.

  23    Q.    Were there any additions, alterations, changes, deletions

  24    from what was on the Magnito Optical disk to what's on the

  25    Government's exhibit?



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   1    A.    No.

   2    Q.    And is 163.1-A and B, does that represent just a portion

   3    of the call that's at 163?

   4    A.    It does.

   5                 MS. SWEENEY:    Your Honor, I have no further

   6    questions.

   7                 THE COURT:    Counsel, would you like to voir dire as

   8    to the authenticity of this record?

   9                 MR. GEORGE TRAGOS:    Yes, Your Honor.

  10                 THE COURT:    Are you moving them into evidence?

  11                 MS. SWEENEY:    Yes, Your Honor.    It still remains for

  12    a witness to identify one of the voices on the call, but

  13    besides that, yes, the Government's moving -- it's moving

  14    161.1-A and B, 162.1-A and B and 163.1-A and B into evidence.

  15                 THE COURT:    As to authenticity?

  16                 MS. SWEENEY:    Yes, Your Honor.

  17                 THE COURT:    Counsel.

  18                              VOIR DIRE EXAMINATION

  19    BY MR. GEORGE TRAGOS:

  20    Q.    Do you recognize any of the voices on this?

  21    A.    I do.

  22    Q.    You do?

  23    A.    Yes.

  24    Q.    And how do you do that?

  25    A.    Based on other recordings that I have seen and heard.



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   1    Q.     And someone told you the name of the person that was on

   2    there?

   3    A.     From the video, I've seen one of the individuals, and I've

   4    been told the name of that person, yes.

   5    Q.     Okay.   And the name of that one individual?

   6    A.     Sami Osmakac.

   7    Q.     And the other voice on there, could you recognize that

   8    one?

   9    A.     I have not seen that person specifically --

  10    Q.     Okay.

  11    A.     -- prior.

  12    Q.     So the only one you can identify is Mr. Osmakac?

  13    A.     Yes.

  14    Q.     And there are other voices on this, correct?

  15    A.     Yes.

  16    Q.     Let's start with, I guess, when you left here the other

  17    day, were you -- did you have instructions to -- about what to

  18    do and what you had to do or needed to do?

  19    A.     I was requested to review the Magnito Optical disk and

  20    listen to that to see if that was the same as these, yes.

  21    Q.     Okay.   All right.

  22           Where was the Magnito Optical disk located?

  23    A.     In evidence storage in the Tampa Field Office of the FBI.

  24    Q.     And how do you know that that is the correct Magnito

  25    Optical disk?



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   1    A.    It is labeled with the file number and the date ranges of

   2    when the call was -- calls were collected.

   3    Q.    So you're relying on the label?

   4    A.    Yes.

   5    Q.    And then you -- did you know instantly that you needed a

   6    Red Wolf System?

   7    A.    Based on the disk, I knew that it was Red Wolf, yes.

   8    Q.    Okay.    And did that disk, the optical -- the Magnito

   9    Optical disk, did it contain more than the voices or the calls

  10    that have been identified as 161 and 162 and 163?

  11    A.    Yes.

  12    Q.    And did it include all of the calls authorized by the

  13    particular Court order you spoke about?

  14    A.    Yes.

  15    Q.    Were there any other calls pursuant to that Court order on

  16    any other disks?

  17    A.    Not that I'm aware of, no.

  18    Q.    So you think this is all of it?

  19    A.    Yes.

  20    Q.    Beginning to end?

  21    A.    Sorry?

  22    Q.    Beginning to end of the Court order --

  23    A.    Yes.

  24    Q.    -- time period?

  25          Then you took that disk and you went down to Miami?



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   1    A.    I did yesterday, yes.

   2    Q.    Okay.    And you found some computer in Miami that could

   3    still play the disk?

   4    A.    Yes.

   5    Q.    That was the closest one that could still play that disk?

   6    A.    Yes.

   7    Q.    Was like a laptop, a desktop?

   8    A.    It was a desktop computer, a stand-alone desktop computer.

   9    Q.    Was it designed to keep that Red Wolf software there so

  10    that people could play the old disks?

  11    A.    Yes.

  12    Q.    That was the reason for why it was still saved?

  13    A.    Yes.    That's my understanding as to why it was still

  14    saved.

  15    Q.    And you're familiar with Red Wolf?

  16    A.    Yes.

  17    Q.    Now I think you said you're from Quantico?

  18    A.    Yes.

  19    Q.    You use Red Wolf up in Quantico?

  20    A.    Not anymore, we do not.

  21    Q.    When did you stop using Red Wolf?

  22    A.    It's been transitioned away over the last two to three

  23    years into an updated system.

  24    Q.    And what's the name of the new system?

  25    A.    Red Tiger.



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   1    Q.    Red Tiger?    Okay.   And so you go down to Miami, Red Wolf,

   2    you put it into the computer, right?

   3    A.    Yes.

   4    Q.    And then did you listen to the entire disk?

   5    A.    I did not.    In that computer, you can't actually -- or you

   6    can't actually listen to the files on the disk using that

   7    software.    That software is designed to make a copy of the

   8    selected files or sessions or telephone calls, whatever you

   9    want to call them, and burn them to a CD or DVD.

  10    Q.    So you didn't actually listen to Exhibits 161 and 162 and

  11    163 off of the Magnito Optical disk where they were originally

  12    copied?

  13    A.    It's not possible within that system.        I was able to

  14    make -- select those files that were on the Magnito Optical

  15    disk and burn them to a CD to listen to them on that CD.

  16    Q.    I understand it's not possible, that's why I'm asking you

  17    these questions.     You did not do that, did you?       You didn't

  18    listen to them directly off the Magnito Optical disk?

  19    A.    No.

  20    Q.    And when you made copies, did you make copies of only -- I

  21    guess there's a way of identifying the calls?

  22    A.    Yes, just as the pen register data, it gives you date and

  23    time that the call occurred and the telephone numbers

  24    associated with it.

  25    Q.    And who gave you that information?



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   1    A.    Of which calls that they were --

   2    Q.    Right, the pen register information you're talking about?

   3    A.    I received that from these particular files.         And there's

   4    an email, I believe, from the case agent specifying which they

   5    wanted me to listen to.

   6    Q.    So someone told you to listen to -- I guess there's some

   7    kind of code on the Magnito -- is there a short form of --

   8    A.    MO.

   9    Q.    MO?

  10    A.    Yes.

  11    Q.    So someone told you, go to the MO and put in this code and

  12    retrieve this information?

  13    A.    Well, to look for that date and time of the telephone

  14    call, yes.

  15    Q.    Okay.   And so you went down there, you put in, I guess,

  16    the date and time; is that right?

  17    A.    Once you put the disk in, it populates a table that shows

  18    you all the calls, all the instances that were on the disk.            So

  19    it's all by date and time.       I selected those date and times and

  20    individually burned those two discs.

  21    Q.    So of the whole list, you pulled out, I guess, you had

  22    three dates and times?

  23    A.    Correct.

  24    Q.    And then when you selected those three, the computer then,

  25    through its software, burns a copy of that call from the OD to



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   1    a disc?

   2    A.     From the MO to a disc.

   3    Q.     MO?

   4    A.     MO.

   5    Q.     MO?

   6    A.     Yes.

   7    Q.     I'm sorry, go ahead.

   8    A.     It converts it into a wave format that can be played on

   9    any computer as opposed to the original format which is a VOX,

  10    I believe.

  11    Q.     So now you have three discs that have the -- this phone

  12    call on them?

  13    A.     Yes.

  14    Q.     And anyone could take those three discs and listen to the

  15    call?

  16    A.     If they had a computer that could listen to a wave file,

  17    yes.

  18    Q.     And did you bring those three discs with you?

  19    A.     I brought them back to Tampa, yes.

  20    Q.     Where are they now?

  21    A.     I don't have them.    I believe the AUSA has them.

  22    Q.     When you went down to Miami, did you take the transcripts

  23    with you?

  24    A.     I took these with me, yes.

  25    Q.     And did you then listen to those three discs and compare



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   1    them to the transcripts.

   2    A.     I did.

   3    Q.     And you found that the entirety of the call from beginning

   4    to end were on those transcripts?

   5    A.     They're reasonably accurate is how I would describe them,

   6    yes.

   7    Q.     What does reasonably accurate mean?

   8    A.     Well, I also listened to the discs, the copies of the

   9    discs, but a transcript is the -- there's some parts that are

  10    marked unintelligible which some words I may have been able to

  11    get out that the transcript might not have described.

  12    Q.     So did you listen to them with headphones?

  13    A.     Yes.

  14    Q.     What kind of headphones?

  15    A.     Bose.

  16    Q.     Are these the -- I guess the special headphones the FBI

  17    has to listen to these things?

  18    A.     No, these are my own headphones I use for various things.

  19    Q.     Do you -- because I guess of the stuff you do, you try to

  20    get very good headphones?

  21    A.     It's helpful to have good headphones that work well, yes.

  22    Q.     So when you listened to the discs, you heard things on

  23    there that weren't in the transcripts?

  24    A.     I heard in spots where it was marked either UI or

  25    unintelligible, there were some portions of words or some words



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   1    that I think I made out, yes.

   2    Q.    Did you write that in anywhere to make it more accurate,

   3    the transcript?

   4    A.    I did not.

   5    Q.    Did you inform anyone that you had been able to hear

   6    things that the transcript said were unintelligible?

   7    A.    I did not.

   8    Q.    So after you -- just out of curiosity -- did you have

   9    discs before of these three calls?        You did, didn't you?

  10    A.    I did.

  11    Q.    Did you compare the quality of those discs to the

  12    qualities of the ones you made?

  13    A.    The quality as in terms of --

  14    Q.    Being able to hear things?

  15    A.    They appeared to be the same to me.        They're both wave

  16    files.   I didn't discern any difference between those.

  17    Q.    Did you compare them?      Did you make any comparisons?

  18    A.    Meaning the ones that are here in the files?

  19    Q.    Right, versus the ones you made?

  20    A.    I did listen to both of them, yes.

  21    Q.    And did you use your special earphones when you listened

  22    to them the first time?

  23    A.    Yes.

  24    Q.    Did you hear words that time that weren't in the

  25    transcript?



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   1    A.    Yes.

   2    Q.    Did you tell anyone that you heard those words?

   3    A.    I did not.

   4    Q.    So the first time you were here, you knew that there were

   5    missing words in that transcript?

   6    A.    I think the more you listen to something, the more

   7    familiar you get with the conversations, and it's easier to

   8    hear additional words.

   9                 THE COURT:   That's not the question.      When you were

  10    here before, did you know that there were words that were not

  11    on the transcripts that were audible, in fact?

  12                 THE WITNESS:   I'm not sure if I knew that or not.

  13    BY MR. GEORGE TRAGOS:

  14    Q.    But you know that now?

  15    A.    Yes.

  16    Q.    Now, after you did your listening and comparisons in

  17    Miami, what did you do?

  18    A.    I drove back.

  19    Q.    Okay.   And brought the three discs you made back with you?

  20    A.    Yes.

  21    Q.    And you brought the MO with you?

  22    A.    Yes.

  23                 MR. GEORGE TRAGOS:    Your Honor, can we have a

  24    sidebar?

  25                 THE COURT:   Yes, sir.



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   1                Do you have the written-over version with your

   2    handwritten notes of what you could hear that couldn't be

   3    heard?

   4                THE WITNESS:    I didn't make any notes, ma'am.

   5                THE COURT:    All right.

   6                (Thereupon, the following discussion was had at

   7    sidebar:)

   8                MR. GEORGE TRAGOS:     Your Honor, first, I would like a

   9    copy of the discs that were used for comparisons.          Secondly, I

  10    would object to the authenticity in that apparently words are

  11    missing from these transcripts that the agent was able to hear

  12    although he didn't tell anybody.        And thirdly, I don't know

  13    when Mr. Kohlmann is going to testify, but before Mr. Kohlmann

  14    testifies, I guess we're going to do the voices 'cause

  15    obviously, before Mr. Kohlmann testifies, these need to be in

  16    evidence because there's a lot of what Mr. Kohlmann bases his

  17    testimony on.

  18                MS. SWEENEY:    Your Honor, I intend not and cannot

  19    permit the discs that Mr. Haag made from the MO.          It has data

  20    on it.   It's protected.     I could make a copy of the audio

  21    that's on that disc and provide it to Mr. Tragos, although I

  22    believe that goes far, far beyond what is required for

  23    authenticity of these recordings.

  24                If Mr. Tragos wants to make an argument to the jury

  25    that the recording somehow -- that the recordings themselves



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   1    somehow are inaccurate, he can certainly do that.

   2                THE COURT:    But you're not going to play the

   3    recordings?

   4                MS. SWEENEY:    Of the calls?

   5                THE COURT:    Of the entire -- of the entire discs?

   6                MS. SWEENEY:    No, Your Honor, just portions because

   7    Your Honor ordered that only portions could only be used, so

   8    I'm only playing portions.       I'm saying I can't give him the

   9    discs that Mr. Haag made from the MO's because they have

  10    protected information on them.       What I could do is remove the

  11    audio from those onto a disc, but I don't believe that

  12    that's -- I don't believe that should have to be done before

  13    the authenticity, before it's determined that the Government's

  14    met its burden with respect to the authenticity of these discs.

  15                And then as to the transcripts, Your Honor, frankly,

  16    the way that -- the way that the case law sets this out is, the

  17    Government sets forth a reasonably accurate transcript, which I

  18    believe we've met our burden to do.        If Mr. Tragos believes

  19    it's inaccurate, it's then his burden to come forward to the

  20    jury with a different transcript.

  21                THE COURT:    He can't do that if he can't get the

  22    audio.

  23                MS. SWEENEY:    No, no, Your Honor, he has the audio,

  24    he's had the audio for two years.        The agent testified there

  25    was no discernible difference in quality between what he just



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   1    listened to and what's on the Government's exhibits.           So,

   2    presumably, he has no special ability to make additional words

   3    on these transcripts, although I will, after this is over,

   4    consult with him as to what he heard and provide that to Mr.

   5    Tragos.

   6                But as to the transcript itself, it's just far beyond

   7    the typical burden of accuracy that every word that someone

   8    hears would be added to a transcript.        If Mr. Tragos -- if he

   9    believes the transcripts are inaccurate, he can present his own

  10    version to the jury.

  11                THE COURT:    Counsel, have you listened to the

  12    transcripts?    Are you able to make out words that were

  13    inaudible that --

  14                MR. GEORGE TRAGOS:     I don't think so.     I think when

  15    we listened to it, I mean, we've heard it that way, he has

  16    maybe better equipment, I don't know, but we have -- we've

  17    listened to them, yes, we did.

  18                MS. SWEENEY:    It's no better equipment than what the

  19    FBI used in first making these transcripts, I mean, that those

  20    headphones were fairly standard at the FBI.

  21                THE COURT:    Well, apparently not because we now know

  22    that the FBI doesn't use Bose headphones because once you gave

  23    me Bose headphones and your own agent listened with Bose

  24    headphones, he could hear things that the Government never

  25    wrote on other transcripts.



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   1                The Government does have some responsibility to make

   2    the transcripts accurate.

   3                MS. SWEENEY:    We have done our best to do that.

   4                THE COURT:    No, you haven't done your best because

   5    your agent, who was sent to Miami with a Bose headphone, could

   6    hear words you couldn't hear, at least so he contends.

   7                MS. SWEENEY:    Different people hear different things.

   8    Obviously, sometimes, you know, when we were in the process of

   9    preparing this case, I would sometimes hear things that were

  10    different than what other people heard and at some point, you

  11    just have to stand -- you have to pick the best option.           And if

  12    Mr. Tragos or the Defendant contend that anything the

  13    Government put in is inaccurate, it's his burden to put that

  14    forth to the jury.     The transcripts can't be perfect as every

  15    person in the world hears them.        That's not possible.

  16                THE COURT:    All right.

  17                (Thereupon, the sidebar discussion was concluded and

  18    the proceedings resumed as follows:)

  19                We'll take the morning recess at this time.

  20                (Jury excused.)

  21                Do you have the transcript in front of you, sir?

  22                THE WITNESS:    I do.

  23                THE COURT:    Can you -- which exhibit is it, I'm

  24    sorry, 161?

  25                MR. GEORGE TRAGOS:      161 through 163, Your Honor.



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   1                THE COURT:    Can you provide the Court with some

   2    examples of places that you recall you could make out words

   3    that were not indicated to be audible on the transcript?

   4                THE WITNESS:    For example, in 163 --

   5                THE COURT:    Hold on. 163 --

   6                THE WITNESS:    Point 1-A.

   7                THE COURT:    Yes, sir.

   8                THE WITNESS:    The third line where it says "UI and

   9    then yet, question mark."

  10                THE COURT:    Yes.

  11                MR. GEORGE TRAGOS:     I think that may be a

  12    misapplication.     Wouldn't it be 1-B?

  13                THE WITNESS:    1-B, I'm sorry, 163.1B.

  14                THE COURT:    Oh, 163.1-A is the audio and 163.1-B is

  15    the transcript.

  16                MR. GEORGE TRAGOS:     Right.

  17                THE WITNESS:    My error.    But I don't recall the exact

  18    words there, but if I remember correctly, that's one of the

  19    spots where there were additional words, I heard bits and

  20    pieces of, you know, intelligible words, but then I couldn't

  21    understand the whole entire sentence, but there were words

  22    within that that were intelligible to me.

  23                THE COURT:    Anything else?

  24                THE WITNESS:    I'd have to listen to all of them

  25    again, ma'am, to get that.       That wasn't my role to necessarily



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   1    compare the audio -- to compare the transcript to the audio.

   2    My role was to actually listen to the audio and make sure that

   3    it was correct as compared to the original.

   4                If I may, I'll go through the rest and see if there's

   5    any other areas that was unintelligible that I can recall.            The

   6    conversations that were actually transcribed, those words were

   7    correct based on my listen to it.

   8                Another example I think would be under 161.1-B on the

   9    first page.

  10                THE COURT:    Well, 161-B --

  11                THE WITNESS:    161.1-B on the first page.

  12                THE COURT:    One second.    Yes, sir.

  13                THE WITNESS:    About two thirds of the way down as SO

  14    is the one speaking, it says, "UI, by the Shaykh, UI, I just

  15    read it. I walked in.      I'm like, UI, yo."

  16                If I recall, there were some words in there that I

  17    was able to understand.

  18                THE COURT:    But you don't, sitting here now, know

  19    what those words were?

  20                THE WITNESS:    No, ma'am.

  21                THE COURT:    Do you know whether you were able to

  22    understand them on the disc you burned from the MO as well as

  23    the disc you obtained from the Government or were you only able

  24    to understand it from the disc you burned?

  25                THE WITNESS:    I've listened to it so many times, I



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   1    don't think there was a difference.        I think it's based on the

   2    number of times listening to it, not on the quality of the

   3    disc.   They're the same file, they're both in wave format, but

   4    I don't believe it's based on the quality of the disc itself or

   5    the contents of the disc, it's based on my, you know, multiple

   6    iterations of listening to that same file.

   7                THE COURT:    So sitting here now, you can't tell us

   8    whether you understood words that were not on the transcript

   9    before you went to Miami?

  10                THE WITNESS:    I'm not sure.    There may have been some

  11    words that I didn't understand before I went to Miami, yes,

  12    that is possible.

  13                THE COURT:    Well --

  14                THE WITNESS:    I've listened to both of them since

  15    returning, you know, from Miami to now.

  16                THE COURT:    And these words that you say you can now

  17    discern, you can discern them from the Government's original

  18    disc that it gave you?

  19                THE WITNESS:    Yes.

  20                THE COURT:    And Ms. Sweeney, is that the disc you

  21    gave the defense?

  22                MS. SWEENEY:    Your Honor, I did not give the defense

  23    a disc, I gave them a thumb drive that had all of the files on

  24    it.   So it's the same file, again, as what's on the

  25    Government's Exhibit.      I can also just make the Government's



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   1    Exhibit disc, which is what Agent Haag has been listening to,

   2    available to the defense.      But the file, it should be the same

   3    across every platform that it's on.        They have a copy of the

   4    file on a thumb drive.

   5                THE COURT:    And so, what is the defense's challenge

   6    or request?

   7                MR. GEORGE TRAGOS:     I request a copy of the -- well,

   8    the Court order denied my request for the entire disk, but for

   9    the three phone calls that he copied from the original MO, I

  10    request a copy of those three discs.        And Your Honor, I would

  11    also secondly, but we haven't gotten to this yet, challenge the

  12    introduction of the transcript since it's within the

  13    Government's knowledge that the transcript is not totally

  14    accurate.    And therefore, I would challenge its introduction

  15    until the Government at least provides the transcript that they

  16    believe is as accurate as it can be.        That's what I'm

  17    requesting at this point.

  18                THE COURT:    Do you have any legal authority to that

  19    effect?

  20                MR. GEORGE TRAGOS:     Which fact are you talking about?

  21                THE COURT:    To the effect that if the Government has

  22    reason to believe that its transcript is inaccurate or

  23    incomplete to the best of its ability to make to complete, it

  24    cannot introduce that portion of it that is an accurate

  25    transcription of what it purports to transcribe.



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   1                MR. GEORGE TRAGOS:     Only, Your Honor, the Court's, I

   2    guess, responsibility under the -- for evidence that what is

   3    introduced and placed before the jury is an accurate

   4    representation.     I understand that if the Government doesn't

   5    know that words -- but if it's within the Government's

   6    knowledge, I think that's a different situation.

   7                Now with regards to the three discs that were used or

   8    copied here, I believe that I would be entitled to make those

   9    comparisons from those discs.

  10                THE COURT:    The original discs pulled from the MO?

  11                MR. GEORGE TRAGOS:     Correct.

  12                THE COURT:    All right.

  13                Let me see the Government in chambers and we will

  14    take a recess.

  15                (Brief pause.)

  16                MR. GEORGE TRAGOS:     Till when, Your Honor, I'm sorry?

  17                THE COURT:    Let's say 15 minutes.     All right.

  18                (Thereupon, a classified hearing was held in chambers

  19    and not filed in this transcript.)

  20                (Court resumed at 1:10 p.m.)

  21                On consideration of the examination of the witness in

  22    this case -- well, the Court's original concern had to do with

  23    the witness being able to attest that the provisions of 18 USC,

  24    2517 and 18 were employed with respect to the introduction of

  25    the MO -- what does MO stand for, Ms. Sweeney?



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   1                MS. SWEENEY:    Magnito Optical disk.

   2                THE COURT:    -- Magnito Optical disk.      On closed

   3    session, the Court has been advised that the Government does

   4    not believe that those provisions apply in the circumstances of

   5    this case.    And based upon its advice to the Court and the

   6    Court's review of the source of it, the Court concurs that the

   7    Government was not required to follow those procedures

   8    principally by operation of 50 USC, 1801, et sec.

   9                The Court also has reviewed again the report of

  10    Mr. Kohlmann, and he does reference Ms. Siddiqui in his report

  11    contrary to the Government's representation to the Court when

  12    asked, so I don't want the ruling to be wrong and be asserted

  13    as a challenge, but the Government's advice to the Court was

  14    wrong I think at page nine of the report.         He references her

  15    conviction in the Southern District of New York into 2010.            And

  16    so, he, Mr. Kohlmann, will be allowed to testify to that fact

  17    as to who this individual is.

  18                I think the Court's remaining restrictions on

  19    Mr. Kohlmann are clear.      If someone needs clarification, please

  20    ask.

  21                MR. MCGOVERN:    None from the Government, Your Honor.

  22                MR. PETER TRAGOS:     Can you just clarify what

  23    Mr. Kohlmann can testify to?

  24                THE COURT:    Because you don't know or because you

  25    just want me to talk?



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   1                MR. PETER TRAGOS:     Because I'm not sure 'cause you

   2    said he could testify to who she is and her conviction; is that

   3    'cause he obviously has extensive background on her that the

   4    Defendant never mentions?

   5                THE COURT:    Well, who she is meaning, she is, this is

   6    her name and that this individual was convicted in the Southern

   7    District of New York on XYZ charge.        The Court has been clear

   8    that he cannot testify whether in his mind her assertions of

   9    her abuse in prison, if those -- if that's where the Defendant

  10    got it from, are accurate or inaccurate because those facts, as

  11    best I can tell, were not on trial in the case at issue.           At

  12    least if they were, there's no evidence of it on this record.

  13                MR. PETER TRAGOS:     We would object to the charges

  14    being able to be said in front of the jury as there is no

  15    evidence Mr. Osmakac even knew of those charges that she was

  16    convicted of.

  17                THE COURT:    All right.

  18                Your objection is overruled.

  19                Anything else with respect to either Mr. Haag or

  20    Mr. Kohlmann from the Government or the defense?

  21                MS. SWEENEY:    Your Honor, not with respect to either

  22    of those witnesses.      I did want to mention the witness from

  23    Chicago is here.     I have -- Agent Collins has checked with him

  24    and he can come back tomorrow morning.        I know that we've had

  25    the jury waiting for a long time, so he can come back tomorrow



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   1    if that would be preferable to doing a preliminary examination

   2    of him today.

   3                THE COURT:    When are you expecting him to testify?

   4                MS. SWEENEY:    Your Honor, we anticipated perhaps

   5    calling him today pending the preliminary examination I believe

   6    that the Court and defense counsel wanted to be sure that he

   7    would testify only to what he himself experienced.          That was

   8    the issue, that he had related a number of things that other

   9    people had told him and there was some question.

  10                THE COURT:    The issue, but my question, in what order

  11    do you expect to call him?

  12                MS. SWEENEY:    Your Honor, after -- once we conclude

  13    with Mr. Haag, we would probably call Mr. Kohlmann at that

  14    point.

  15                THE COURT:    And then how long do you expect him to

  16    last?

  17                MS. SWEENEY:    An hour.

  18                THE COURT:    Then?

  19                MS. SWEENEY:    And then perhaps Mr. Elessaway who is

  20    the witness from Chicago.

  21                THE COURT:    Well, let's just call him now,

  22    Mr. Elessaway, so that we hear what he has to say and then the

  23    defense can be prepared to address it and then we'll go back to

  24    Mr. Haag.

  25                Sir, please come forward to be sworn.



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   1    Thereupon,

   2                               ASHRAF ELESSAWAY,

   3    after having been duly sworn to tell the truth, the whole truth

   4    and nothing but the truth, under penalty of perjury, was

   5    examined and testified as follows:

   6                THE WITNESS:    I do.

   7                THE CLERK:    Please be seated.

   8                THE COURT:    I just heard someone's telephone ring.

   9    Would you please check to make sure you have your portable

  10    devices turned off.

  11                Sir, you're under oath.      You must give truthful

  12    answers to the questions asked.       If you give false answers, you

  13    face penalties of perjury, false statement and obstruction of

  14    justice.

  15                Do you understand that?

  16                THE WITNESS:    Yes, I do.

  17                THE COURT:    Wait until counsel completes their

  18    question before you start your answer so you're not talking

  19    over them.    If you see counsel stand to object, wait until I

  20    rule on the objection before you begin your answer.

  21                Do you understand that?

  22                THE WITNESS:    Yes, Your Honor.

  23                THE COURT:    State your name for the record.

  24                THE WITNESS:    Ashraf Elessaway.

  25                THE COURT:    Spell your name.



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   1                THE WITNESS:    A-S-H-R-A-F, last name

   2    E-L-E-S-S-A-W-A-Y.

   3                THE COURT:    Sir, have you had any contact with any of

   4    the parties in this case since yesterday?

   5                THE WITNESS:    No.

   6                THE COURT:    No one has called you?

   7                THE WITNESS:    No.

   8                THE COURT:    The Government has not spoken to you?

   9                THE WITNESS:    I mean talking about the case, no.

  10                THE COURT:    All right.

  11                They just told you to come to Court?

  12                THE WITNESS:    Yes.

  13                THE COURT:    Who was that?

  14                THE WITNESS:    The agents from the FBI.

  15                THE COURT:    Which agents from the FBI?

  16                THE WITNESS:    Mr. Doug Simon.

  17                THE COURT:    What did he tell you exactly?

  18                THE WITNESS:    That he escorted me here all the way

  19    from Chicago.

  20                THE COURT:    He came to Chicago to get you?

  21                THE WITNESS:    No, he is from Chicago.

  22                THE COURT:    Oh, he's from Chicago, and he came down

  23    with you?

  24                THE WITNESS:    Yes.

  25                THE COURT:    All right.



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   1                 Counsel.

   2                 MS. SWEENEY:    Your Honor, just to be perfectly clear,

   3    I also said hello -- I stepped into the conference room and

   4    said hello to the witness and told him the Court had instructed

   5    that we could not speak, so I just said hello and then left.

   6                 THE COURT:    All right.

   7                              PROFFER DIRECT EXAMINATION

   8    BY MS. SWEENEY:

   9    Q.    Mr. Elessaway, do you attend a mosque?

  10    A.    I do.

  11    Q.    And where is it?

  12    A.    In Naperville, Illinois.

  13                 THE COURT:    I'm sorry.   Can you speak directly into

  14    that microphone?

  15                 THE WITNESS:    Naperville, Illinois.

  16    BY MS. SWEENEY:

  17    Q.    Do you see anyone in this Courtroom that you have seen at

  18    that mosque before?

  19    A.    Me?

  20    Q.    Yes.

  21    A.    That gentleman here.

  22    Q.    So you're indicating the gentleman in the white jacket?

  23    A.    That's true.

  24    Q.    And do you know who that person is?

  25    A.    I do.



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   1    Q.    Who is that?

   2    A.    He gave me different names when I met him in the

   3    Naperville.

   4    Q.    What name did he give you?

   5    A.    Abdallah, Abd-al-Rahman; different names.

   6    Q.    Did you come to learn his true name?

   7    A.    That is true.

   8    Q.    And what is it?

   9    A.    I cannot recollect the name to be honest with you.

  10    Q.    And was there a time at your mosque that you had a

  11    personal face-to-face interaction with the gentleman sitting at

  12    the defense table?

  13    A.    I did.

  14    Q.    And what -- so how many were there?        How many times did

  15    you interact with him face to face?

  16    A.    Directly were two times.

  17    Q.    So can you start by describing the first face-to-face

  18    interaction and approximately when it was?

  19    A.    It was -- I don't exactly remember the exact dates, but it

  20    was on a Friday night, after an event that we have in the

  21    mosque.    And him and another person came to me and they

  22    confronted me in a very tough way and he said --

  23                THE COURT:    One second.    I only want to know what the

  24    Defendant said.     I don't want to know what the other person

  25    said.



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   1                THE WITNESS:    Yeah, that's what he said.      He said,

   2    "How dare you talk about our Shaykh."        And I said, "I don't

   3    know what you're talking about."        He said, "Shaykh Osama Bin

   4    Laden."    I said, "What did I say?"      He said, "You said that he

   5    deserved what he has done -- has been done to him after he was

   6    killed."    So I corrected him and I told him "I did not say

   7    that.   What I said is if he did what he did, then he deserved

   8    to be, you know, punished.       And if he didn't, then, you know,

   9    God will take care of him as a martyr."         And he said, "No,

  10    you're supporting the Government, the U. S. Government against

  11    him, and you're trying to get -- I mean, you're supporting him

  12    and supporting the Government against him and you are

  13    supporting the Government.       You should apologize."     And he

  14    started to confronting me more and more with loud voice.

  15    That's where people got in the middle between both of us.

  16    BY MS. SWEENEY:

  17    Q.    And sir, do you remember approximately what year this

  18    interaction took place in?

  19    A.    2011, I believe.

  20    Q.    And can you remember an approximate month?

  21    A.    Either June or July.

  22    Q.    You said that the Defendant was saying that you had said

  23    something about Osama Bin Laden.        In what context had the

  24    Defendant heard you say something about Osama Bin Laden?

  25    A.    It was the Friday sermon.



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   1    Q.    And you were giving that sermon on this day?

   2    A.    I was giving that sermon.

   3    Q.    Are you an Iman?

   4    A.    I lead the prayers there, yes.

   5    Q.    And so what was your position in the mosque at that time?

   6                THE COURT:    I don't need to know all of that for

   7    purposes of this examination, I just need to know what he heard

   8    the Defendant say.

   9                MS. SWEENEY:    Yes, Your Honor.

  10    BY MS. SWEENEY:

  11    Q.    Okay.   So, sir, was there anything else from the first

  12    interaction that you had with the Defendant that he said?

  13    A.    That was the first interaction.

  14    Q.    So then now tell us about this second interaction.

  15    A.    It happened a week after that, after the Friday prayer,

  16    afternoon, and I was walking outside the mosque and him and

  17    that other person were there.       And, I mean, I was just saying

  18    shalom or hello to them.      They refused to answer back.       And

  19    they said, "We're not going to shake your hand because you are

  20    a kuffar or infidel," and they said the word in Arabic and

  21    they -- both of them --

  22                THE COURT:    I just want to know what the Defendant

  23    said.

  24                THE WITNESS:    I mean, he was the leading person.         The

  25    other guy was next to him all the time.         So he was saying, "You



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   1    are a kuffar, we were allowed to kill you.         We are -- your

   2    women and your money is halal for us, which is allowed for us."

   3                And two other individuals came from the board members

   4    of the mosque and he stood behind me or beside me.          He told

   5    them as well, "You are kuffar, you're supporting him against us

   6    as Muslims and, you know, we're going to kill all of you.

   7    You're kuffar, you know, this is our duty to do this to you."

   8    BY MS. SWEENEY:

   9    Q.    Did the Defendant give any reason why he thought he was

  10    allowed to kill you?

  11    A.    Because we are supporting the Government, the U. S.

  12    against Osama Bin Laden.

  13    Q.    Was there any other discussion that you -- oh, I'm sorry,

  14    that second interaction, you said it was a week later?

  15    A.    It was almost a week later, yes, it's a Friday, yes.

  16    Q.    The next Friday?

  17    A.    The next Friday.

  18    Q.    Okay.   And is there anything else during that interaction

  19    that you recall the Defendant saying or doing?

  20    A.    He quoted a verse from the Quran that I can't remember the

  21    exact verse, but it says that we're allowed to fight and this

  22    is the land of war or the harp and we're allowed to fight and,

  23    you know, destroy things.      There's no peace.     And I quoted him

  24    back another verse saying that, you know, that we are not

  25    obliged or people are not obliged, there's no obligation or no



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   1    force in following their religion, and he said, "Your

   2    interpretation is the American interpretation of the Quran."

   3    So that was during that day.

   4    Q.    How did the interaction -- how did this interaction with

   5    the Defendant end?

   6    A.    So again, people got in the middle and separated us and

   7    they, you know, we left from there.

   8    Q.    Okay.   Is there any other interaction or conversation that

   9    you remember having personally with the Defendant?

  10    A.    Personally, I mean, not directly, not directly.

  11                MS. SWEENEY:    Okay, Your Honor, that is the

  12    conclusion then of what the Government would present from this

  13    witness.

  14                THE COURT:    Any cross?

  15                MR. GEORGE TRAGOS:     No cross, but argument, Your

  16    Honor.

  17                THE COURT:    All right.

  18                You can step down, sir, and out of the courtroom.

  19    We'll call you back when you're to testify if you are to

  20    testify.

  21                THE WITNESS:    Thank you.

  22                (Witness excused.)

  23                MR. GEORGE TRAGOS:     Your Honor, I believe that his

  24    testimony is --

  25                THE COURT:    I heard his testimony.     What's your



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    1    argument?

    2                MR. GEORGE TRAGOS:    That it is not either 404(b) or

    3    predisposition testimony.      His statements are different than I

    4    think we anticipated them to be.       The reason he was speaking to

    5    this witness was because he supported the Government against

    6    Osama Bin Laden.    I don't believe that shows a predisposition

    7    to bombing and shooting an AK-47 or any of the facts in this

    8    case.   I ask the Court to reconsider its prior ruling on that.

    9                THE COURT:   And what about his second statement that

   10    you are a kuffar and we're allowed to kill you, your women and

   11    your children because you are kuffar?

   12                MR. GEORGE TRAGOS:    Your Honor, he was -- I believe

   13    what he said was that was in relation to him quoting a verse

   14    out of the Quran, and that he disagreed with it and he quoted

   15    another verse out of the Quran.       But again, I don't see how

   16    that translates into him using weapons of mass destruction and

   17    an AK-47 here in Tampa.

   18                THE COURT:   Counsel.

   19                MS. SWEENEY:   Your Honor, I think the witness'

   20    testimony was consistent with what was in the 302s and it shows

   21    essentially the Defendant's state of mind and his intent and

   22    that that intent and that state of mind were in place before

   23    the Government began interacting with the Defendant.

   24                This idea that America is a land of war that the

   25    Defendant said to this witness, that is absolutely consistent



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    1    with what the Defendant expresses throughout the videos and

    2    audio recordings that have been presented to the jury in this

    3    case.

    4               His support for Osama Bin Laden is in the martyrdom

    5    video as well as other places.       And the idea that if someone is

    6    kuffar, it's okay to kill them, that fits directly in with what

    7    the Defendant was intending to do here.        So I thought the

    8    witness' statement was very clearly both 404(b) and

    9    predisposition.

   10               THE COURT:    As to the second interaction, I think

   11    that it is proper for the Government to elicit on the record of

   12    this case.    As to the first interaction, the disagreement

   13    concerning the prayer leader's belief about whether Osama Bin

   14    Laden was or wasn't properly dealt with and the Defendant's

   15    disagreement with that doesn't speak to the propensity to

   16    commit the offenses alleged in this case.

   17               And to the extent that they relate to motive, the

   18    Defendant, through his martyrdom video, has already expressed

   19    his motive, and I don't think that there's any benefit to the

   20    introduction of that portion, because in the abstract, it's

   21    people of similar religious beliefs expressing their separate

   22    views on a very hot button topic at the time.

   23               But as it relates to the second interaction, it

   24    reestablishes the Defendant's reference to kuffar and his right

   25    to kill the infidel and to create havoc in response to his



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    1    beliefs and such.     And to the extent that the Defendant here is

    2    contending that he was induced to do this and that he wasn't

    3    already predisposed to this behavior before he encountered law

    4    enforcement in this case and the confidential human source and

    5    the UCE, that would tend to undermine that assertion.          So the

    6    Court will allow him to explain that second interaction.

    7               MS. SWEENEY:    Your Honor, the witness did testify

    8    that during -- I'm sorry -- during the second interaction, that

    9    he felt -- I can't remember if he felt or the Defendant said

   10    that some of the impetus for the interaction was supporting the

   11    Government against Osama Bin Laden.       Should I instruct the

   12    witness not to state that portion of their disagreement?

   13               (Brief pause.)

   14               THE COURT:    He did say that and I think you can

   15    elicit that as part of his motive.

   16               MS. SWEENEY:    Okay.

   17               THE COURT:    And predisposition.

   18               MS. SWEENEY:    As to the second incident only?

   19               THE COURT:    As to the second incident only.

   20               MS. SWEENEY:    All right.

   21               Thank you, Your Honor.

   22               THE COURT:    Yes, sir?

   23               MR. GEORGE TRAGOS:      Your Honor, can we go to the

   24    witness Haag for a minute?      That's the one that the Court had

   25    an in camera hearing on.



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    1                THE COURT:   Yes, sir.

    2                MR. GEORGE TRAGOS:    I'm trying to understand the

    3    Court's ruling 'cause obviously I wasn't present for the

    4    argument.    Is the Court saying that the Court is going to

    5    recognize the Magnito Optical drive as authentic, that there's

    6    no need for me to cross-examine anymore on the authenticity of

    7    that or the copies?

    8                THE COURT:   I think you can cross-examine on the

    9    authenticity of that and the copies, but insofar as the Court's

   10    concern was any indication that compliance with 18 USC 2517 and

   11    18 is concerned, that concern has been assuaged by the Court.

   12    If there's something else you think you need to draw out for

   13    consideration of the weight to be given in order for its

   14    admissibility, you can inquire.

   15                MR. GEORGE TRAGOS:    All right.

   16                Then I do have a few more questions for Haag.

   17                One other thing while the jury is out.        If -- at the

   18    conclusion of his testimony, is the Court believing that it's

   19    going to allow these two Dennison transcripts in, because one

   20    thing I'm willing to do, if the Court allows that, is stipulate

   21    with the Government on one of their witnesses.

   22                They have one witness to authenticate Russell

   23    Dennison's voice, and I'm willing to stipulate that that

   24    witness would testify that that was Russell Dennison's voice.

   25                THE COURT:   Yes, it would be the Court's intention to



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    1    then allow the introduction of the two clips that we know about

    2    having to do with the Defendant and Mr. Dennison and so --

    3               MR. GEORGE TRAGOS:     Three actually.

    4               THE COURT:    Three.   And as it relates to that then,

    5    if the Government would not object to that stipulation to avoid

    6    that witness --

    7               MS. SWEENEY:    No, we would not object.

    8               THE COURT:    That's fine.     And the Defendant has been

    9    conferred with with regard to that, Mr. Tragos?

   10               MR. GEORGE TRAGOS:     No.

   11               THE COURT:    All right.

   12               Well, that's important.

   13               MR. GEORGE TRAGOS:     I thought that was my decision.

   14    I'll confer, Your Honor.

   15               THE COURT:    Your decision until I get an appeal,

   16    Mr. Tragos.

   17               MR. GEORGE TRAGOS:     Okay.    I conferred with my

   18    client, Your Honor, he agrees there's no need to bring that

   19    witness in to verify that's Mr. Dennison's voice.

   20               THE COURT:    Mr. Osmakac, you have heard your lawyer

   21    indicate that you would stipulate that the voice on those clips

   22    would be your voice and that of Mr. Dennison?

   23               THE DEFENDANT:     Yes.

   24               THE COURT:    Is there any need to call the

   25    Government's witness to identify the voice at this time?



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    1               THE DEFENDANT:     No.

    2               THE COURT:    Is anyone threatening you to get you to

    3    make that agreement?

    4               THE DEFENDANT:     No.

    5               THE COURT:    Has anyone promised you anything in

    6    exchange for that agreement?

    7               THE DEFENDANT:     No.

    8               THE COURT:    All right.

    9               MR. GEORGE TRAGOS:       Your Honor, we will, however,

   10    make sure all our other objections are preserved with the

   11    exception of the voice.

   12               THE COURT:    Yes.

   13               MR. GEORGE TRAGOS:       I'm not waiving anything else.

   14               THE COURT:    Yes.

   15               MR. GEORGE TRAGOS:       Okay.

   16               THE COURT:    Oh, and insofar as the original copy

   17    Mr. Haag drew from the MO once he put it in the Red Wolf

   18    process, the Court has also found on the basis of

   19    representations made in the closed session that it would affect

   20    the interest of national security to allow the defense to have

   21    any other version than that the defense already has.          There

   22    could be a circumstance in which the defense could listen to

   23    the audio-only version in the Court's chambers, but that audio

   24    version would essentially be the same version as the

   25    wave-length version that the defense already has and I'm told



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    1    has had for a couple of years.

    2               So there's no greater presentation of that audio than

    3    that that the defense already has that would not impinge the

    4    interest that the Court has addressed in closed session with

    5    the Government.

    6               MR. GEORGE TRAGOS:     I think probably the Court did

    7    address this in closed session so I'll raise it now for the

    8    Court to rule on, but the Magnito Optical drive Mr. Haag used

    9    or Agent Haag used was given to him to somebody with some

   10    written notes on it.     We believe that the proper chain of

   11    custody and what he used was hearsay.        So that's an objection

   12    we would like to preserve that that Magnito Optical disk has

   13    not been properly identified with proper chain of custody as in

   14    fact the correct one for this case.

   15               THE COURT:    And what do you think that chain of

   16    custody would be?

   17               MR. GEORGE TRAGOS:     Well, I would think that somebody

   18    preserved it or recorded it on that Magnito Optical disk.

   19               THE COURT:    His testimony was that the Magnito

   20    Optical disk essentially does it on its own, that once the

   21    request has been made and the procedures have been put in place

   22    by that circular system he described at length on yesterday,

   23    that the system itself captures the information.          And then once

   24    the call finishes, it writes the call to the disk tod once the

   25    order closes, the disk is closed and that becomes the MO.           And



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    1    there is no person who does anything further than that.           That

    2    was his testimony.

    3               Now whether it then is the item that is put into the

    4    possession of the FBI, that is a chain of custody issue which

    5    you can explore with him when he comes back to testify.

    6               MR. GEORGE TRAGOS:     Okay.

    7               Again, his testimony was that's the way it's supposed

    8    to work as opposed to the way it did work.

    9               THE COURT:    And you can inquire of him if you think

   10    there is something left to ask.

   11               MR. GEORGE TRAGOS:     Okay.

   12               THE COURT:    Please recall the jury.

   13               (Jury returned to the courtroom.)

   14               Tell me we're not missing a witness

   15               MS. SWEENEY:    No, Your Honor, he's out there.        We

   16    were just wondering, do you want him to come and sit in the

   17    stand?

   18               THE COURT:    He can come ahead now.

   19               (Jury in.)

   20               I told you I would jinks myself if I started

   21    predicting our schedule.      I apologize for the extended delay

   22    you all have had outside the courtroom.        Sometimes we have to

   23    hear matters outside your presence to get them resolved.           We've

   24    gotten that done.     And we will at this time proceed.

   25               Let me also say that sometimes there will be matters



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    1    that have to be heard outside the presence of the jury and

    2    rulings made by the Court.      The Court really is not at liberty

    3    to explain its rulings beyond what you hear in the courtroom.

    4                In some cases, on TV and other places, you've seen an

    5    opportunity for jurors to ask questions of their own.          That is

    6    typically not permitted in the course of a trial.          And it will

    7    not be permitted in the course of this trial.         You just have to

    8    accept the evidence as it comes in with the rulings of the

    9    Court.   And if there's an explanation needed for something you

   10    don't understand that the Court can convey to you, it will

   11    endeavor to do so as circumstances permit.

   12                Counsel, please call your witness.

   13                Mr. Haag, you can retake the stand.

   14                       CROSS-EXAMINATION (Continuing)

   15    BY MR. GEORGE TRAGOS:

   16    Q.   Agent Haag, the Magnito Optical disk, you told us

   17    yesterday or day before, but you told us in your previous

   18    testimony that you believed that these disks were made

   19    automatically by part of the process; is that right?

   20    A.   Yes.

   21    Q.   Okay.    And this particular one in this particular case,

   22    did you physically verify that's how this disk was made?

   23    A.   Yes, that's how the system works, yes.

   24    Q.   But did you do it, did you verify on this disk?

   25    A.   I don't have any way to verify that that's how it was



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    1    made.

    2    Q.   Okay.    And the person that could verify that is, I guess,

    3    someone that was working there day that?        Is that the way it

    4    works?

    5    A.   I'm trying to think who -- give me a minute, let me think

    6    of who that might be.     It would probably be the -- I can only

    7    speculate as far as -- you're asking whether -- could you

    8    rephrase the question and restate the question, please?

    9    Q.   I'm not looking for an individual name.         I'm just saying

   10    that the person that could verify that this MO is the MO that

   11    was automatically made or created on the day of the recordings,

   12    there is somebody that can do that?

   13    A.   Yes.

   14    Q.   Okay.    But you're not able to do that?

   15    A.   No.

   16    Q.   And the one you were handed -- wait, I know you said that

   17    they can record once?

   18    A.   Yes.

   19    Q.   Right?    Can you put a second Magnito disk in there and

   20    have a second recording?

   21    A.   At the same time?

   22    Q.   No, different time?

   23    A.   I'm not sure.

   24    Q.   Okay.    The one that you received in Tampa, you believe

   25    that was actually recorded in Miami, correct?



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    1    A.   Yes.

    2    Q.   And -- but you are not -- do you know of your own personal

    3    knowledge how that disc came from Miami to Tampa?

    4    A.   Based on the chain of custody signatures on the envelope.

    5    Q.   Just from seeing it, seeing signatures, right?

    6    A.   And there's a line on there that shows the Fed Ex number

    7    where it was sent from Miami to Tampa.

    8    Q.   But you, yourself, weren't involved in that process?

    9    A.   I was not.

   10    Q.   And what you're learning came off of a document, correct?

   11    A.   Yes.

   12                MR. GEORGE TRAGOS:    That's all the questions I have,

   13    Your Honor.

   14                THE COURT:   Any redirect on that point?

   15                MS. SWEENEY:   No, Your Honor.

   16                THE COURT:   All right, sir.     You may step down.

   17                You may leave that there.     Thank you.

   18                (Witness excused.)

   19                Ms. Sweeney.

   20                MS. SWEENEY:   Your Honor, the Government moves

   21    Exhibits 161.1-A and B -- I'm sorry -- 161.1-A and B, 162.1-A

   22    and B, 163.1-A and B into evidence.

   23                THE COURT:   Any objection?

   24                MR. GEORGE TRAGOS:    Yes, Your Honor.     We preserve our

   25    previously made objections.



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    1               THE COURT:    All right.

    2               Those objections are overruled.       The Court determines

    3    that the proper chain of custody has been established for this

    4    document through this witness such that it can be admitted.

    5    And there is additionally the stipulation that the voice on the

    6    video is that of Mr. Dennison and the Defendant's, such that no

    7    witness will be called to verify those voices.

    8               Counsel.

    9               (Thereupon, Government's Exhibits 161.1-A and B,

   10    162.1-A and B and 163.1-A and B were received and filed in

   11    evidence.)

   12               MS. SWEENEY:    Thank you, Your Honor.      And just to be

   13    clear for the record, the second voice, the gentleman's name is

   14    Russell Dennison.

   15               Your Honor, at this time, the Government will call

   16    Mr. Ashraf Elessaway to the stand.

   17               THE COURT:    Please come forward, sir, and take the

   18    witness stand.

   19               This witness has previously been sworn.

   20               Mr. Elessaway, you need to speak clearly into the

   21    microphone.    Wait until counsel completes her question, even if

   22    you think you know what it is, before you start talking so

   23    you're not talking over her.      If you see opposing counsel stand

   24    to object, wait until I rule on the objection before you begin

   25    your answer.



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    1                Do you understand that?

    2                THE WITNESS:   Yes.

    3                THE COURT:   Counsel.

    4                MS. SWEENEY:   Thank you, Your Honor.

    5                           DIRECT EXAMINATION

    6    BY MS. SWEENEY:

    7    Q.   Sir, what's your name?

    8    A.   Ashraf Elessaway.

    9    Q.   And do you -- I'm sorry, excuse me.

   10         Do you attend a mosque?

   11    A.   Yes, I do.

   12    Q.   And where is that mosque located?

   13    A.   Naperville, Illinois.

   14    Q.   Do you see anyone in the courtroom today that you have

   15    seen at your mosque before?

   16    A.   Yes.   This gentleman in the white shirt.

   17    Q.   And what name do you know or how -- did that person ever

   18    tell you his name?

   19    A.   He told me several names; one is Abdullah and one is

   20    Abd-al-Rahman.

   21    Q.   And did you ever have any personal face-to-face

   22    interactions with the Defendant at your mosque?

   23    A.   Yes, I did.

   24    Q.   I'm going to direct your attention to the second of those

   25    interactions.    We're going to talk about the second one.         So



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    1    about approximately when did your second interaction at the

    2    mosque with the Defendant take place?

    3    A.   It was June or July of 2011.

    4    Q.   And how did that interaction begin?

    5    A.   It began when -- after the Friday prayer, I was walking

    6    outside to the patio behind the mosque and I saw him and

    7    another person.    So I was trying to say salaam or hi, you know,

    8    and he refused to do that.      And he said, "I will not offer

    9    peace or make salaam to a person that is an infidel or kuffar."

   10    Q.   And did the Defendant tell you during this interaction why

   11    he believed you were a kuffar?

   12    A.   Because we are supporting, and in his words, "We're

   13    supporting the American Government against Osama Bin Laden."

   14    Q.   What else did the Defendant tell you during this

   15    interaction?

   16    A.   He told me that he has the right to kill me and other

   17    board members, and that our money and our wives or women are

   18    allowed for -- hilam for them, allowed for them.

   19    Q.   When you say "board members," what are you referring to?

   20    A.   So the board members of the Islamic Center of Naperville.

   21    They were accompanying me at that time.

   22    Q.   I'm sorry, you said the something center of Naperville.

   23    A.   The Islamic Center of Naperville.        That's the mosque.

   24    Q.   And the board members serve in a leadership function at

   25    the mosque?



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    1    A.   That's correct.

    2    Q.   Okay.    So when the Defendant said -- he said your women

    3    and your money were hiram or allowed; what did that mean?

    4    A.   It's hilam, not hiram.      Hilam means they are -- they have

    5    the right to them without, you know, without any reason, just

    6    they can take them.

    7    Q.   And did the Defendant say anything else to you during this

    8    interaction?

    9    A.   He mentioned a verse of the Quran that justifies a fight

   10    or killing people.     And I countered that -- by saying that it

   11    is a verse from the Quran that he could not force people to --

   12    for hilam, and his words back to me is -- or were, "This is the

   13    American translation of the Quran, and this is what you're

   14    trying to do."

   15    Q.   And how did this interaction with the Defendant end?

   16    A.   So, you know, people got in the middle between us and they

   17    separated, you know, the parties, you know, me and the other

   18    board members and him and the other person that was with him.

   19    Q.   And between him and the other person who was with him, who

   20    was doing most of the talking during the interaction?

   21    A.   He was doing most of the talking.

   22               MS. SWEENEY:    I have nothing further, Your Honor.

   23                              CROSS-EXAMINATION

   24    BY MR. GEORGE TRAGOS:

   25    Q.   During this second interaction -- let me ask you, have you



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    1    ever been to Kosov0?

    2    A.   I'm sorry?

    3    Q.   Have you ever been to Kosovo?

    4    A.   No.

    5    Q.   During this second interaction, did you -- was this after

    6    prayers?

    7    A.   That's correct.

    8    Q.   Did he participate in prayers?

    9    A.   I don't know.     He was in the crowd behind me.       I don't

   10    know how many -- there are like 200, 300 people.

   11    Q.   Okay.    So you don't know if he even participated in the

   12    prayers or not?

   13    A.   Definitely not.

   14    Q.   You don't know?

   15    A.   Well, you know, definitely, I don't know, I mean, because

   16    there are 200 people.     I cannot remember every one of them.

   17               MR. GEORGE TRAGOS:     That's all the questions I have.

   18               THE COURT:    Thank you, sir, you may step down.

   19               (Witness excused.)

   20               Please call your next witness.

   21               MS. SWEENEY:    The Government calls Evan Kohlmann.

   22               THE COURT:    Please come forward, sir, and take the

   23    witness stand.

   24               THE WITNESS:    Yes, Your Honor.

   25               THE COURT:    State your name for the record.



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    1                THE WITNESS:    My name is Evan F. Kohlmann,

    2    K-O-H-L-M-A-N-N.

    3                THE COURT:   Mr. Kohlmann has also been sworn.

    4                Mr. Kohlmann, I need you to speak slowly.        It's your

    5    tendency to speak quickly.      If you use a word whose spelling is

    6    unusual, please spell the word.       Wait until counsel completes

    7    his question before you give your answer.        Answer only what is

    8    asked.   And if you see counsel stand to object, wait until I

    9    rule on the objection.

   10                Do you understand that?

   11                THE WITNESS:    Yes, Your Honor.

   12                THE COURT:   Counsel.

   13                MR. MCGOVERN:    Thank you, Your Honor.

   14                       DIRECT EXAMINATION

   15    BY MR. MCGOVERN:

   16    Q.   Mr. Kohlmann, I'd like to go a little bit into your

   17    background.

   18    A.   Of course.

   19    Q.   Would you please state and spell your name for the jury.

   20    A.   Yes.    My name is Evan F. Kohlmann, E-V-A-N

   21    K-O-H-L-M-A-N-N.

   22    Q.   Sir, did you attend college?

   23    A.   I did.

   24    Q.   What school did you attend?

   25    A.   I attended the Edmund A. Walsh School of Foreign Service



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    1    at Georgetown University, E-D-M-U-N-D        W-A-L-S-H.

    2    Q.    Would you describe the Walsh School of Foreign Service for

    3    us?

    4    A.    Yes.   The SFS, the School of Foreign Services is dedicated

    5    to teaching students foreign policy, conflict management,

    6    conflict resolution at an international scale.

    7    Q.    Sir, what was your undergraduate degree in?

    8    A.    My undergraduate degree was in international politics with

    9    a focus in international security studies.

   10    Q.    Are you familiar with the Center for Muslim Christian

   11    Understanding?

   12    A.    Yes.

   13    Q.    Would you tell us what that is?

   14    A.    Within the School of Foreign Service, there are a number

   15    of separate sub schools that teach specific aspects of various

   16    different aspects of foreign policy.        One of those schools is

   17    the Center that Prince Al Waleed Bintalal, A-L         W-A-L-E-E-D

   18    B-I-N-T-A-L-A-L, the Prince Al Waleed Binalal Center for Muslim

   19    Christian Understanding, which was established to help promote

   20    good relations between Muslims and non Muslims.

   21    Q.    Was your term at Georgetown University a four year degree?

   22    A.    It was, yes.

   23    Q.    Were there writing requirements during that time, sir?

   24    A.    For my program, yes, there was.

   25    Q.    Was there a capstone thesis that you had to engage in?



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    1    A.   Actually, I had two theses.       My capstone thesis was for my

    2    CMCU degree in Islam and Muslim Christian understanding.

    3    Q.   What was your other thesis in?

    4    A.   My other thesis was a honors thesis in international

    5    politics.   The topic of my thesis was the Legacy of the Arab

    6    Afghans, a case study, which examined the Soviet Afghan war of

    7    the 1980s, foreign fighters who had participated in that

    8    conflict, where they had gone afterwards and what they had done

    9    there.

   10    Q.   Sir, are you familiar with the Center for Contemporary

   11    Arab Studies?

   12    A.   Yes.

   13    Q.   What is that?

   14    A.   That's another sub school under the School of Foreign

   15    Service at Georgetown University.       The Center for Contemporary

   16    Arab studies, or CCAS, is dedicated, as opposed to Islamic

   17    studies, is dedicated to studying the Arab world.

   18    Q.   Did you participate in that program?

   19    A.   Yes.   I took numerous classes in the program as well as I

   20    was also an undergraduate teaching assistant for a senior

   21    professor in that program.

   22    Q.   Who was the senior professor?

   23    A.   Dr. Mamoun Fandy, F-A-N-D-Y.

   24    Q.   What type of work did you do for Dr. Fandy?

   25    A.   I helped conduct research on dissident groups in North



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    1    Africa and the Arabian Gulf region.

    2    Q.   Any groups in particular, sir?

    3    A.   Yes.    Several groups that were either part of or

    4    associated with Osama Bin Laden and Al-Qaeda.

    5    Q.   Sir, while at Georgetown, did you receive any awards?

    6    A.   Yes, I did.

    7    Q.   What awards did you receive?

    8    A.   I graduated magna cum laude and I received honors in

    9    international politics for producing an approved honors thesis.

   10    Q.   Sir, upon completion of your time at Georgetown

   11    University, did you attend another school?

   12    A.   Yes, I did.

   13    Q.   Where did you attend?

   14    A.   I attended the University of Pennsylvania Law School in

   15    Philadelphia, Pennsylvania.

   16    Q.   What were the dates of your attendance?

   17    A.   I attended the University of Pennsylvania Law School from

   18    September of 2001 until May of 2004.

   19    Q.   And did you graduate, sir?

   20    A.   I did.

   21    Q.   Do you have a law degree?

   22    A.   I do.

   23    Q.   You took classes at the law school.        Did you take any

   24    classes related to terrorism?

   25    A.   I did.



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    1    Q.   What classes did you take there?

    2    A.   I took classes both within the law school itself on legal

    3    and investigative loopholes in cyber terrorism.         I also did

    4    work on the death penalty, the issue of the death penalty as

    5    applied to a variety of different terrorism cases.          Separately

    6    from law school, I also took classes in Islam -- in Afghanistan

    7    and Islamism, excuse me, in the graduate School of Arts and

    8    Sciences at the University of Pennsylvania.

    9    Q.   Were your classes at that particular school in addition to

   10    or a part of your work at the law school?

   11    A.   They were both.     Some were in addition to, some were part

   12    of my actual degree.

   13    Q.   Sir, in this program, did you write any papers?

   14    A.   Yes, I did.

   15    Q.   Would you tell us what you wrote?

   16    A.   Sure.    Within the law school itself within my law school

   17    program, I authored a number of seminar papers and papers from

   18    my classes in law school on the subject of, again, the legal

   19    and investigative loopholes in cyber terrorism law, in the

   20    death penalty as applied to terrorism cases, and again, outside

   21    of the law school, I also did writing in my class in

   22    Afghanistan Islamism, comparing two different Afghan warlords

   23    and understanding through a compare and contrast methodology,

   24    the similarities and differences between them.

   25    Q.   Sir, are you familiar with the Investigative Project?



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    1    A.   Yes.

    2    Q.   What is the Investigative Project?

    3    A.   The Investigative Project is a counterterrorism think tank

    4    and watch dog group that was established in 1995 by a former

    5    CNN journalist.

    6    Q.   What is a think tank?

    7    A.   A think tank is an organization responsible for producing

    8    research.   The research can go to a variety of different end

    9    users or end clients, anything from Government agencies,

   10    academics, media, anyone with a very focused interest in

   11    specific aspects of social policy or foreign policy in

   12    particular.

   13    Q.   Were you employed there?

   14    A.   I was, yes.

   15    Q.   How long were you employed there?

   16    A.   I was employed there from approximately February of 1998,

   17    when I began as an intern, until December of 2003, at which

   18    time I was a senior analyst.

   19    Q.   Sir, did the years of your employment at the Investigative

   20    Project overlap your time at Georgetown?

   21    A.   And law school both, yes.

   22    Q.   How many hours a week did you work for the Investigative

   23    Project while you were in law school and at Georgetown?

   24    A.   At Georgetown, it started at approximately 15 hours a

   25    week, but quickly escalated to about 30 or 35.         While I was in



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    1    law school, for the majority of my law school term, I took

    2    classes during the first three days of the week and then the

    3    rest of the week I spent down in Washington, DC, working at the

    4    think tank.

    5    Q.   What was the focus of your work at the Investigative

    6    Project?

    7    A.   The focus of my work was studying the financial,

    8    communication and recruitment networks as well as the

    9    infrastructure of a variety of international terrorist

   10    organizations, with a focus on organizations which I had a

   11    background in studying, namely groups like Al-Qaeda as well as

   12    other groups like Hamas and Hezbollah.

   13    Q.   Did you develop a specialty?

   14    A.   Yes.   My focus was particularly on Al-Qaeda, its

   15    communications, its financing, its hierarchy.

   16    Q.   Where did you get your resources to engage in your job?

   17    A.   In order to perform these services, I did a number of

   18    different things.     The focus of my research is open source

   19    research, meaning materials that are available publicly if you

   20    know where to find them.      So this could include everything from

   21    going and actually --

   22                THE COURT:   Where did you get the funding?

   23                THE WITNESS:   Excuse me, Your Honor?

   24                THE COURT:   Where did you get the funding for your

   25    work?   That's the question.



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    1                THE WITNESS:   What was the -- oh, sorry.       The funding

    2    for my work was provided by the Investigative Project.

    3    BY MR. MCGOVERN:

    4    Q.   Did you complete your answers as to the sources of your

    5    information?

    6    A.   No, sir.    So, the sources of my information, I primarily

    7    relied on open sources, i.e, non classified open sources,

    8    material that is public, but can be difficult to get at.           A

    9    primary source, the most valuable open source of information

   10    would be going and actually interviewing people in the field or

   11    witnessing an event in person.

   12         Now, while that can be challenging in the realm of

   13    international terrorism, I have actually gone out and I've

   14    interviewed individuals and I did, when I was at the

   15    Investigative Project, I did original research in that forum.

   16         In addition to that, there's something called secondary

   17    research.   Secondary research would be a videotape or a

   18    communique or a magazine produced by a terrorist organization

   19    or an extremist group.     It isn't the same thing as actually

   20    being able to interview someone or being able to see something

   21    live, but if it's produced by a group and it's creditable, then

   22    it is an authentic source of information and it can be relied

   23    upon.

   24         In the realm of studying terrorist organizations,

   25    secondary sources are the most frequent sources and the most



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    1    reliable sources that we often come across.         That is because

    2    terrorist organizations and extremist groups produce a variety

    3    of propaganda and other documents which we can collect.

    4         So, as a result, I made it my mission to collect every

    5    single secondary source I could get my hands on.          So I have a

    6    giant database of every single communique, every single

    7    magazine, every single website, every single public interview

    8    that was ever done with the groups that I was interested in.

    9         Then following that, there are tertiary sources, third

   10    party sources.    These are sources we try to stay away from

   11    because of the fact it's difficult to verify the information in

   12    there.

   13         So a tertiary source would be a newspaper article, a

   14    magazine article.     These sources can be valuable for contextual

   15    purposes.    They can be valuable for establishing general facts.

   16    But they are, generally speaking, you have to avoid using them

   17    too heavily because of the fact that it's been filtered through

   18    a third party.

   19    Q.   Sir, would you give us an example of a tertiary resource?

   20    A.   Sure.    Newspaper articles is really a very good source of

   21    that or even a report written by another academic.          It's

   22    certainly valuable to read.      It's good for contextual purposes,

   23    but any factual information there would probably be -- have to

   24    be verified.

   25    Q.   Could you give us an example of a secondary source?



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    1    A.   Yes.   A magazine or a communique or a video recording or

    2    audio recording authentically produced by a credible

    3    international terrorism organization, an extremist group,

    4    something where it is coming from an original source.

    5    Q.   And what would be an example of a primary source?

    6                THE COURT:   Counsel, he just went through all this

    7    list.

    8                MR. MCGOVERN:    Yes, Your Honor.    I'll move on.

    9    BY MR. MCGOVERN:

   10    Q.   Sir, while you were at the Investigative Project, did you

   11    interact with any United States Government agencies?

   12    A.   Yes, I did.

   13    Q.   Did you interact with the Executive Branch of the United

   14    States Government?

   15    A.   Yes, I did.

   16    Q.   What was your interaction with the Executive Branch of the

   17    United States Government?

   18    A.   While at the Investigative Project, I provided briefings

   19    to both individuals from law enforcement, from the FBI, as well

   20    as I also provided briefings at the National Security Council

   21    of the White House, to Richard Clark who, at the time, was the

   22    White House counterterrorism czar, as well as his aides.

   23    Q.   Sir, did you ever interact with the Congress?

   24    A.   I did.

   25    Q.   Would you describe that for us?



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    1    A.   Both while I was at the Investigative Project and

    2    separately, while -- after I left the Investigative Project, I

    3    have coauthored or authored congressional testimonies before a

    4    variety of congressional subcommittees on such subjects as

    5    terrorist financing, terrorist communications, the hierarchy of

    6    Al-Qaeda, and et cetera.

    7    Q.   Sir are you familiar with the 911 Commission?

    8    A.   Yes.

    9    Q.   What is that?

   10    A.   The Bipartisan Congressional 911 Commission was created

   11    after the September 11th 2001 terrorist attacks on the United

   12    States to establish a time-line of how the events occurred and

   13    establish a factual background as to how the events occurred.

   14    Q.   Did you interact with that commission?

   15    A.   I did.

   16    Q.   What was your interaction?

   17    A.   I provided briefings to a variety of different

   18    commissioners responsible for helping to draft the final

   19    report.   As a result, the materials that I provided to them

   20    were used in the final report, including my book, Al Qaeda's

   21    Jihad in Europe, which is footnoted in the final commission

   22    report.

   23    Q.   What year did you publish that book?

   24    A.   The book was published in 2004, first in the United

   25    Kingdom and then later the same year it was published here in



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    1    the United States by Paul Greg McMillan.

    2    Q.   Who was the intended audience for that book?

    3    A.   The publisher is an academic publisher, so presumably the

    4    audience is primarily an academic audience, individuals with

    5    very, very specific interests in what I was writing about.

    6    Q.   Does the title accurately describe the content of the book

    7    or is there another general understanding that you can give us

    8    about that book?

    9    A.   The content of the book is focused on terrorist networks

   10    that exist in Europe following the Soviet Afghan war of the

   11    1980s, how those networks coalesced around the conflict in

   12    Bosnia and Herzegovina and how those individuals attempted to

   13    use that conflict as an engine to move forward their movement

   14    on a global scale.

   15    Q.   Sir, after you left the Investigative Project, were you

   16    employed?

   17    A.   Yes.

   18    Q.   Where were you employed?

   19    A.   I was self employed.      I started my own consulting business

   20    in late 2003, early 2004.      Within a short span of time, I had

   21    begun doing work on behalf of a variety of private clients,

   22    including both for profit companies, commercial entities, law

   23    firms, as well as NBC News.      I have since 2004, and I am

   24    currently an NBC News terrorism analyst responsible for

   25    providing both on-air analysis about ongoing matters relating



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    1    to terrorism, as well as I'm also responsible for providing NBC

    2    with original copies of video recordings, audio recordings and

    3    other media and statements that are released by terrorist

    4    organizations.

    5    Q.   Are you familiar with Flashpoint Partners?

    6    A.   Yes.

    7    Q.   What is that?

    8    A.   Flashpoint Partners is the company that grew out of my

    9    initial consulting business.      Flashpoint began in 2010

   10    formally.   Flashpoint is focused on providing both software

   11    services as well as consulting services to a variety of

   12    clients, both in the public and private sphere, with regards to

   13    communications on the internet, particularly dark web

   14    communications.    In other words, illicit communications among

   15    illicit actors on the Internet.

   16    Q.   In your work at Flashpoint Partners, do you collect

   17    information?

   18    A.   Yes.

   19    Q.   What type of information?

   20    A.   I'm responsible for collecting as much credible

   21    information as possible about the activities of terrorist

   22    organizations, both in the physical realm as well as in the

   23    online realm, but focusing mainly on sources that are on the

   24    Internet.

   25    Q.   Can you quantify the amount of resources that you have



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    1    collected?

    2    A.   Yes.    Currently, we have a database where all of this data

    3    is stored.    The database is approximately six and a half

    4    terabytes in size.     A terabyte is a thousand gigabytes and a

    5    gigabyte is a thousand megabytes.       A single megabyte can store

    6    hundreds and hundreds of pages of written materials.

    7         Now obviously, some of this material is video recordings

    8    or audio recordings which take up more space on a hard drive.

    9    But nonetheless, conservatively, you're talking about thousands

   10    upon thousands of individual documents in a variety of

   11    different languages, so much so, that the only way to

   12    effectively search through it is by having our own Google style

   13    search engine for us to be able to pull out relevant hits.

   14    Q.   Sir, what is the purpose of collecting all this

   15    information?

   16    A.   The purpose of collecting all this information was that I

   17    felt the greatest weakness in terms of the study of

   18    international terrorist organizations was a lack of original

   19    information, credible, original information, evidence on which

   20    to base arguments and to which to base papers and other

   21    materials.    I felt a lot of the scholarly activity in this

   22    field was focused on hyperbole and not on facts.

   23         The purpose of producing this is so that not only we, but

   24    others in the field, including other academics, including

   25    policy makers, law enforcement had the opportunity to see the



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    1    material unvarnished, can see the original material unvarnished

    2    and have access to it without necessarily being inside of a

    3    terrorist group.

    4    Q.   Are you aware of whether or not there are other

    5    organizations that do the same type of work as Flashpoint

    6    Partners?

    7    A.   There are a few organizations that do various different

    8    aspects of what we do, yes.

    9    Q.   Do they maintain databases of information?

   10    A.   Yeah, they do.

   11    Q.   Were you ever able to compare your database to other

   12    organizations' databases?

   13    A.   On occasion.     I wouldn't say every single time, but on

   14    occasion, yes.

   15    Q.   Sir, in your experience, have you ever had the opportunity

   16    to interview someone who was known as a terrorist?

   17    A.   Yes.

   18    Q.   Who have you been able to interview?

   19    A.   In 2002, I interviewed a number of individuals outside of

   20    the United States, including Abu Hamza al-Masri, A-B-U

   21    H-U-M-Z-A   A-L   M-A-S-R-I.    Abu Hamza has been convicted of

   22    terrorism charges, both in the United Kingdom as well as here

   23    in the United States.     Abu Hamza ran a mosque in the United

   24    Kingdom known for recruiting a variety of individuals to carry

   25    out terrorist attacks, associated with such individuals as



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    1    Richard Reed, the so-called shoe bomber.

    2                THE COURT:   The question was, who have you

    3    interviewed and that's all.

    4                THE WITNESS:   Yes, Your Honor.

    5                I've also interviewed Omar Bakri Muhammad, O-M-A-R

    6    B-A-K-R-I Muhammad, and Muhajiroun is M-U-H-A-J-I-R-O-U-N,

    7    which is an extremist movement in the U.K.         I've also

    8    interviewed individuals such as Saad Fiquih, S-A-A-D

    9    F-I-Q-U-I-H.    Saad Fiquih is a designated foreign -- a

   10    specially designated foreign terrorist by the State Department.

   11    I've also interviewed Mohammed Massari, M-O-H-A-M-M-E-D

   12    M-A-S-S-A-R-I, another individual who was designated by the

   13    United States Government as a terrorist, as well as a variety

   14    of other individuals.

   15    BY MR. MCGOVERN:

   16    Q.   Sir, have you ever provided expert testimony in a

   17    terrorism case before?

   18    A.   Yes.

   19    Q.   Approximately how many times?

   20    A.   I believe this is number 31.

   21    Q.   Which Courts have you been determined to be an expert in

   22    terrorism?

   23    A.   Well, I should say, 31 in the United States.

   24                MR. PETER TRAGOS:    Object, Your Honor.

   25                THE COURT:   Overruled.



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    1               THE WITNESS:    I should say 31 in the United States.

    2    I've been qualified also 10 times outside of Federal Court.           In

    3    foreign countries, I've testified in the Old Bailey in London.

    4    I've testified in a variety of other Crown Courts in London.

    5    I've testified before the Commonwealth Court of New South Wales

    6    in Sydney, Australia.     I've testified before the Central

    7    Criminal Court in Denmark, in Copenhagen.        I've testified

    8    before the Supreme Court of Bosnia, Herzegovnia in Sarajevo,

    9    Bosnia, as well as I've also testified in Glasgow, Scotland.

   10    BY MR. MCGOVERN:

   11    Q.   Sir, have you ever provided services to Governments other

   12    than the United States Government?

   13    A.   Yes, I have.

   14    Q.   Which Governments, sir?

   15               THE COURT:    Which services first?

   16    BY MR. MCGOVERN:

   17    Q.   Which services have you provided to other Governments

   18    other than the United States Government?

   19    A.   I've provided services, including analysis of seized hard

   20    drives and seized digital materials in terrorism cases.           I have

   21    provided original copies of communiques and video recordings

   22    released by terrorist organizations.        I have assisted in --

   23    I've assisted in deciphering conversations by suspected

   24    terrorists, covert recorded conversations.         I've assisted in

   25    actually reviewing physical evidence seized from locations --



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    1    well, around Europe and around the world.        And I've provided

    2    expert testimony.

    3               MR. MCGOVERN:     May I have a moment, Your Honor?

    4               THE COURT:    Yes.

    5               (Brief pause.)

    6               MR. MCGOVERN:     Your Honor, that would conclude the

    7    Government's questions regarding the expertise of the witness.

    8               THE COURT:    He didn't come back and tell you the

    9    names of those Governments after the services.         Did you want

   10    him to?

   11               MR. MCGOVERN:     I'm sorry, Your Honor?

   12               THE COURT:    He did not give the names of the

   13    countries after the Court required him to give the services

   14    first.    Did you want him to?

   15               MR. MCGOVERN:     My apologies.

   16    BY MR. MCGOVERN:

   17    Q.   Mr. Kohlmann, would you answer the question about what

   18    countries you provided services to?

   19    A.   Certainly.    I provided services to the Government of

   20    Australia, the Government of the United Kingdom, the Government

   21    of Bosnia, Herzegovina, the Government of Denmark, the

   22    Government of Switzerland, the Government of Norway, the

   23    Government of Spain, and I believe -- and the Government of

   24    Azerbaijan, and the Government of Saudi Arabia and the

   25    Government of Jordan, and I believe that's it.



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    1    Q.   Are you paid for your services?

    2    A.   Most of the time, yes.

    3    Q.   Are you paid when you're an expert in the United States in

    4    a Federal Court?

    5    A.   Typically speaking, yes.

    6                MR. MCGOVERN:    Thank you.

    7                I have nothing further as far as the expertise goes.

    8                THE COURT:   Counsel, would you like to voir dire this

    9    witness?

   10                MR. PETER TRAGOS:    No, Your Honor.     We'll save it for

   11    cross.

   12                THE COURT:   All right.

   13                MR. MCGOVERN:    Your Honor, if I may, the Government

   14    would move this Court to --

   15                MR. GEORGE TRAGOS:    Objection.

   16                MR. MCGOVERN:    Sorry, you object, I'm sorry.

   17                MR. PETER TRAGOS:    Object to the designation, Your

   18    Honor.

   19                THE COURT:   I haven't heard what it is.       You want to

   20    do it at sidebar?

   21                MR. PETER TRAGOS:    Yes, Your Honor.

   22                THE COURT:   All right.

   23                (Thereupon, the following discussion was had at

   24    sidebar:)

   25                You would like to designate him as to what areas?



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    1               MR. MCGOVERN:     An expert in the meaning, relevance

    2    and importance of various statements, individuals and

    3    references the Defendant made during the course of the

    4    investigation, as well as general radical Islamic terrorism.

    5               MR. PETER TRAGOS:     I was under the impression that

    6    the Court didn't designate experts in front of the jury.

    7               THE COURT:    Well, this Court does.      I was under the

    8    impression that other Courts don't necessarily.         I've never

    9    heard of that other than in the one instance indicated.           I

   10    guess Judge Whittemore, I guess, or Judge Merryday did it, one

   11    of them.   That was your experience?

   12               MR. PETER TRAGOS:     I thought there was a new rule,

   13    now that I haven't seen a Judge designate somebody an expert

   14    since I've been a lawyer, which isn't very long, but I have not

   15    seen that.

   16               THE COURT:    What's the rule?

   17               MR. PETER TRAGOS:     I don't know what the rule number

   18    is.   Are you going to say he's an expert in these areas?

   19               THE COURT:    I'm going to say he is designated as an

   20    expert to testify in the following areas, whatever they are,

   21    that the Court approves, unless somebody points me to a rule

   22    that says the Court cannot do that.

   23               MR. PETER TRAGOS:     I don't have the rule book.       We do

   24    object.

   25               MR. MCGOVERN:     I'm sorry?



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    1               MR. PETER TRAGOS:     We do object.     We don't have the

    2    rule number.

    3               THE COURT:    I tell you what we'll do.      We'll just

    4    launch into a determination of what his testimony is going to

    5    be, and at the conclusion of the case, the Court will say or at

    6    the conclusion of his testimony, I will advise that he was

    7    called as an expert witness in these areas, but he is

    8    designated to testify as to the areas the Court already

    9    articulated outside the presence of the jury at the Daubert

   10    hearing before and as concluded this afternoon and no others.

   11    And I don't know what this means, general terrorism, as part of

   12    your last -- as part of your designation.

   13               MR. MCGOVERN:     So that he's an expert and he will be

   14    able to testify regarding Al-Qaeda, if he's asked the question,

   15    what it is, you know, general terms, general organizations.

   16               THE COURT:    Well, I thought we had come to some

   17    specific understanding of the words he was going to describe.

   18               MR. MCGOVERN:     Oh, yes.

   19               THE COURT:    And that is all he's going to do?

   20               MR. MCGOVERN:     Yes, all he's going to do.

   21               THE COURT:    And Al-Qaeda wasn't one of them.

   22               MR. MCGOVERN:     It was.

   23               THE COURT:    It was not.

   24               MR. MCGOVERN:     Okay.

   25               THE COURT:    All right.



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    1                MR. PETER TRAGOS:    I know at the Daubert hearing he

    2    was able to testify to the definitions.        I don't think he's

    3    been given any expertise or anything about why in front of the

    4    jury he would be able to define Arabic words.

    5                THE COURT:   Well, we've already been through that at

    6    the Daubert hearing.

    7                (Thereupon the sidebar conference concluded.)

    8                Counsel, you may proceed to inquire of this witness.

    9                MR. MCGOVERN:    Thank you, Your Honor.

   10    BY MR. MCGOVERN:

   11    Q.   Mr. Kohlmann, in your experience over the years, have you

   12    come across the term or reference to the term "black flag?"

   13    A.   Yes.

   14    Q.   How are you familiar with the term "black flag?"

   15    A.   I'm familiar with it from the original reference from a

   16    hadith.    A hadith is a story that is qualified within the

   17    religion of Islam as part of the actual belief system.           And

   18    there is a hadith or a story about an army arising from

   19    Horizon.    Horizon is the ancient name for Afghanistan.         And the

   20    hadith says that an army will rise from there and will come

   21    forth from Afghanistan carrying black flags, carrying black

   22    banners, and that they will liberate the Islamic world and that

   23    that will hail the coming of the new savior.

   24         This allegory, this hadith has been adapted by a variety

   25    of different organizations that believe that armed resistance



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    1    is a way to establish an Islamic empire.        And so in

    2    contemporary sense, there are a variety of different groups

    3    that use this flag or use black flags to signify their

    4    allegiance or their belief in this story.

    5    Q.   Are there different types of black flags?

    6    A.   Yes, they are.

    7    Q.   In your experience, what are the different types?

    8    A.   I have seen groups use both a plain black flag with

    9    nothing written on it.     I have also seen people use flags that

   10    are black and that have the shahada written on it.          The shahada

   11    is the Arabic testimonial of faith, if you're a Muslim,

   12    ilahillallah.    It's written under Arabic, so you can either

   13    have the plain black flag or you can have a black flag with the

   14    shahada written on it.

   15    Q.   Is the context of the use of the black flag always

   16    consistent or can it be different?

   17    A.   Usually, it's associated with Islamic political movements.

   18    Occasionally, it's associated with ones that are not

   19    necessarily armed, but more likely than not it's affiliated

   20    with groups that have an armed connotation because of the

   21    meaning of the hadith, an army arising from Afghanistan.

   22    Q.   If I may Your Honor.

   23         Mr. Kohlmann, I'd like to direct your attention to

   24    Government's Exhibit 111, page six.       Do you see Exhibit 111-B,

   25    page six in front of you?



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    1    A.     Yes, I do.

    2    Q.     The fourth line from the bottom, starting with the

    3    designation, "SO" for Defendant, would you read that for us,

    4    sir?

    5    A.     Yes.    "You have ilahillallah flags, right, the black with

    6    the white letters?      You do?"

    7    Q.     Can you describe the black flag as being referenced there

    8    by the Defendant?

    9    A.     Yes.    Ilahillallah is the shahada.    So this is the black

   10    flag, this is the ria flag, this is the black flag with the

   11    shahada, the Arabic testimonial of faith written on the front

   12    of it.

   13                  MR. MCGOVERN:    Thank you.

   14                  I'd like to have clip -- Government's Exhibit

   15    163.1-A, which is a clip of a phone call between the Defendant

   16    and Russell Dennison, played for the Court, Your Honor, and the

   17    accompanying transcript is 163.1-B, marked for identification.

   18                  (Tape played.)

   19    SO:     Salam ‘alaykum [peace be upon you]

   20    RD:     Wa ‘alaykum assalam [And peace be upon

   21    you]. what’s going on?

   22    SO:     (UI) yet?    (UI).

   23    RD:     Oh yeah.

   24    SO:     What’s up with you?

   25    RD:     I don’t, I’ve seen that video man, these people



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    1    are stupid man.

    2    RD:     This guy is trying to make videos of all the

    3    Muslims, like, making moves or something, you know.

    4    SO:     Oh there’s some guy Alex or some kind of

    5    name.    He commented on all my videos and some

    6    kuffar [infidel].     He’s like, he’s like, forget the, uh, in

    7    between (UI) I want to watch the vagina.

    8    RD:     Yeah I see…the other people, they’re atheists

    9    man.

   10    SO:     Yeah.

   11    RD:     You know how it is with these people man,

   12    they retarded, they think everything is a joke man.

   13    SO:     Yeah.   Until the black flags come on top of

   14    everybody’s head and the head flies off, we will see

   15    what the joke.

   16    RD:     I know right.   I talked to that sister on the

   17    phone man.

   18    SO:     The one from, that you talked to a couple of

   19    days ago?

   20    RD:     Yeah, she, um, she wants to get a divorce from

   21    her husband man, you know what I mean?

   22                (Tape stopped.)

   23                MR. MCGOVERN:    And for the record, Your Honor, the

   24    Government and the defense have stipulated that the designation

   25    "SO" in that transcript is the Defendant, Sami Osmakac, and



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    1    "RD" is referring to Russell Dennison.

    2    BY MR. MCGOVERN:

    3    Q.   Sir, during that conversation that we just listened to and

    4    read the transcript as it scrolled down, the Defendant, Sami

    5    Osmakac, is listed as saying, "Yeah, period, until the black

    6    flags come onto top of everybody's head and the heads fly off,

    7    we will see what the joke."

    8         Do you remember that?

    9    A.   Yes, I do.

   10    Q.   Sir, can you till us what significance, if any, the use of

   11    the term "black flag" in that statement is?

   12    A.   I believe this statement is a reference to the idea of the

   13    army of the black flags coming out of Afghanistan establishing

   14    Islamic rule and establishing Sharia law.

   15               MR. PETER TRAGOS:     Object to speculation.

   16               THE COURT:    Overruled.

   17               THE WITNESS:    Anyone who was in violation of certain

   18    Sharia principles or who is a trader to Islam, under certain

   19    jurisprudence, would have their heads chopped off.          So this

   20    seems to be the connotation here when the Islamic calafate is

   21    reestablished, when the army of the black flags comes and when

   22    Sharia is established.

   23    BY MR. MCGOVERN:

   24    Q.   Thank you.

   25         Sir, are you familiar with Inspire Magazine?



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    1    A.    Yes.

    2    Q.    What is Inspire Magazine, generally?

    3    A.    Inspire Magazine is an English language magazine, the

    4    official English language magazine of Al-Qaeda in the Arabian

    5    Peninsula or Al-Qaeda in Yemen.       It was first published in

    6    2010.    The purpose of Inspire Magazine is to assist individuals

    7    living in the west who speak English in terms of radicalizing

    8    themselves and training themselves to become jihadists.

    9    Q.    How is this magazine released?

   10    A.    It is released -- it is originally released by a series of

   11    online messaging boards that are run on behalf of Al-Qaeda.

   12    The magazine is posted on there in encrypted format and the

   13    encryption password is posted and then others are expected to

   14    download this magazine unencrypted and then help disseminate it

   15    to others at large.

   16    Q.    Over the years, have you acquired this magazine?

   17    A.    Yes.   I have every single copy of Inspire Magazine.

   18                 MR. MCGOVERN:    Your Honor, at this time, the

   19    Government would ask that Government Exhibit Number 161.1-A,

   20    described as a clip of a phone call between Russell Dennison

   21    and Sami Osmakac on January 18th, 2011, with the accompanying

   22    transcript marked as Government's Exhibit 161.1-B, be played.

   23                 (Tape played.)

   24    RD:     Assalamu ‘Alaykum [Peace be upon you]

   25    SO:     Wa ‘alaykum assalam [And peace be upon



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    1    you].

    2    RD:     What’s up?

    3    SO:     Alhamdulillah [Praise be to God].       Hey, you on

    4    the computer?

    5    RD:     Yeah.

    6    SO:     Go on the page that I always go, you know

    7    what I’m talking about?

    8    RD:     Yeah.   Alright.

    9    SO:     Ok.   What do you see, the second?     Not the

   10    one with big letters, the one in smaller letters, you see

   11    the ruling?

   12    RD:     Yeah yeah I know about that.

   13    SO:     You read that?

   14    RD:     I didn’t read it yet but…

   15    SO:     Oh you better read it, it’s by the sheik.

   16    RD:     It just got released yesterday, I got the whole

   17    thing.

   18    SO:     (UI) by the sheik, (UI), I just read it, I just

   19    logged in, I’m like (UI) yo, it’s what I’ve been talking

   20    about, it’s what I’ve been thinking

   21    RD:     Yeah well I mean, that’s actually….

   22    SO:     I been saying it’s halal [permissible]

   23    RD:     Yeah I know.   I didn’t finish reading it, I didn’t

   24    finish, listen, we don’t have to convince anybody of

   25    anything cuz trust me.     Nobody…nobody studies their



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    1    deen [religion] whatsoever.      You know what I mean?

    2    SO:    Yep.

    3    RD:    It’s like….it’s like, um, say you’re in college and

    4    you try to go down to like the elementary school,

    5    they’re not going to understand what you’re saying.

    6    No I didn’t read the whole article but I have the whole

    7    thing.    You know what it’s from right?

    8    SO:    Yeah.

    9    RD:    Yeah it’s from the…I got the whole thing, it just

   10    came out last night.     I got it.

   11    SO:    Yeah.

   12    RD:    But, um, this one’s number 4.      This is the 4th

   13    one.   What’s it called, yo, listen, go to my blog and

   14    read the top article I put out last night.

   15    SO:    Mmmmm…..eh…..

   16    RD:    (UI) man, when you read that, you’re going to

   17    be like, oohh, you’re going to be like (UI), a very

   18    beautiful article.

   19    SO:    It’s (UI) you know what?

   20    RD:    Yeah, you know what….you know how to find

   21    it.

   22    SO:    Yeah I haven’t been on there for awhile

   23    though.   I’ll find it, Insha’ Allah [God willing]

   24    RD:    Alright look, I just put up a article last night I put

   25    it up and it’s actually from the number 2.         Now I read it



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    1    awhile ago and I was like, yo, this is like the best

    2    article.     Because last night I was thinking, oohh, I got

    3    to put this up.     So it makes….it’s kind of long but

    4    listen, man, forget everything else and go and read

    5    that article right now.

    6    SO:    I will, Insha’ Allah [God willing], right now.

    7    RD:    Cuz that brother is with the Sheik.

    8    SO:    I’ll read it, Insha’ Allah [God willing].

    9    RD:    So check that out and get at me.       What’s going

   10    on tomorrow?

   11    SO:    I don’t know yet.

   12    RD:    Alright, well look….

   13    SO:    I go to work, I guess, at 4:30.

   14    RD:    Alright, well no doubt, maybe if you want to go

   15    out tomorrow night for an hour, whatever, just give me

   16    a call alright?

   17    SO:    Ok, Insha’ Allah [God willing].

   18                 (Tape concluded.)

   19    BY MR. MCGOVERN:

   20    Q.    Sir, are you familiar with the discovery in this case?

   21    A.    Yes.

   22    Q.    Have you reviewed all the discovery in this case?

   23    A.    Everything that was provided to me, yes.

   24    Q.    Previously, you've had an opportunity to listen to this

   25    recording and the transcripts that accompany it; is that right?



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    1    A.    Yes.

    2    Q.    Given your understanding of the discovery in this case and

    3    your experience, are you able to determine what Russell

    4    Dennison and Sami Osmakac are discussing during this

    5    conversation?

    6    A.    I believe I am.

    7    Q.    Sir, why do you believe that you are able to determine

    8    that?

    9    A.    Based on, number one, the dates -- specific dates they're

   10    discussing, number two, the specific content of the items

   11    they're discussing, and number three, the reference to Mr.

   12    Dennison's blog and a specific item that was posted on his blog

   13    in January of 2011 that was related to what they were looking

   14    at.

   15    Q.    Sir, based on your experience, what is it that they were

   16    looking at or talking about?

   17    A.    It appears that they're talking about the release of

   18    Inspire Magazine, number four, which was released on

   19    January 16th 2011, two days before this conversation took

   20    place.   They also reference Inspire Magazine, number two, which

   21    was released in mid October of 2010, about three months before

   22    this conversation took place.

   23    Q.    Sir, how do you know that the Inspire Magazine was

   24    released two days before this conversation?

   25    A.    Because of the fact that I personally downloaded it and



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    1    acquired it the moment it was released online.

    2    Q.   Sir, during this conversation, there's a reference to,

    3    quote, not the big letters, the smaller letters.          Do you have

    4    an understanding of what that was?

    5    A.   Yes.    After examining the cover of Inspire Magazine,

    6    number four, and looking at the titling on that cover of the

    7    magazine, I believe I was able to identify the specific article

    8    that was being referenced by Mr. Osmakac and by Mr. Dennison.

    9                MR. MCGOVERN:    May I have a moment, Your Honor?

   10                THE COURT:   Yes, sir.

   11                (Brief pause.)

   12                MR. MCGOVERN:    Your Honor, if I might, the Government

   13    is going to move to have Exhibit 160-A marked for

   14    identification, however, I understand that the defense would

   15    like to speak sidebar regarding that.

   16                THE COURT:   Yes, sir.

   17                (Thereupon, the following discussion was had at

   18    sidebar:)

   19                MR. PETER TRAGOS:    Judge, we'll be objecting to the

   20    covers because Mr. Kohlmann has made this statement that it's

   21    possible to just get the articles and listen to it.          The

   22    transcript talks about specific articles in the Inspire

   23    Magazine.    Dennison says he has the entire magazine, but Sami

   24    Osmakac says he read a specific article and he's going to go

   25    ahead to Dennison's blog to read the specific article that



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    1    Dennison posted, not the entire magazine.

    2               MR. MCGOVERN:     The contents of the conversation

    3    between the two individuals, Your Honor, is that, have you seen

    4    the magazine, not the big letters, the small letters.          That's

    5    the specific article that they're referring to.         And

    6    Mr. Kohlmann will be able to identify this as the Inspire

    7    Magazine that was released January 16th 2011.

    8               THE COURT:    May I see the --

    9               Mr. Kohlmann, the question was, during the

   10    conversation, there's a reference to, quote, not the big

   11    letters, the small letters.

   12               Do you have an understanding of what that was?          Can

   13    you tell me if you have an understanding of what that is?

   14               THE WITNESS:    I believe I do, Your Honor.

   15               THE COURT:    What is that understanding?

   16               THE WITNESS:    I believe it's a reference to a

   17    particular article or sermon by Shaykh Anwar al-Awlaki which

   18    was headlined onto that Inspire Magazine, the cover.

   19               THE COURT:    What is the reference to big letters and

   20    small letters?

   21               THE WITNESS:    The subtitle.     There's a subtitle, I

   22    believe, underneath it.

   23               THE COURT:    Underneath what?

   24               THE WITNESS:    The main title, Your Honor.        There's a

   25    subtitle of articles written in smaller letters.



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    1                  THE COURT:   So the big letters would be where?

    2                  THE WITNESS:    I believe the big letters are referring

    3    to Inspire Magazine at the top, and the main subtitle are

    4    underneath it in smaller letters.         It's specifically referenced

    5    in the conversation, Your Honor, the article by the Shaykh.

    6    And there's only one person who goes or would be referred to

    7    that whose article is written in small letters on the cover of

    8    the magazine.

    9                  THE COURT:   Okay.    Overruled.

   10                  (Thereupon, the sidebar conference concluded.)

   11                  MR. MCGOVERN:    Your Honor, 160-A has been marked for

   12    identification.      The Government would move it in evidence?

   13                  THE COURT:   Be received.

   14                  (Thereupon, Government's Exhibit 160-A was received

   15    and filed in evidence.)

   16    BY MR. MCGOVERN:

   17    Q.     Would you display 160-A for the witness?

   18           Mr. Kohlmann, do you see what's on the screen in front of

   19    you?

   20    A.     Yes.

   21    Q.     Have you ever seen that before?

   22    A.     Yes.

   23    Q.     What is that?

   24    A.     This is the cover of Inspire Magazine, issue number four,

   25    released onto January 16th 2011.



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    1    Q.   In the conversation between Russell Dennison and Sami

    2    Osmakac, they talked about an article.        Were you ever able to

    3    determine what article they were referring to?

    4    A.   I believe I do, yes.

    5    Q.   How are you able to determine that?

    6    A.   Based on the fact that there was a specific reference to

    7    the Shaykh, which in the context of the conversation taking

    8    place, appeared to be a reference to Shaykh Anwar al-Awlaki and

    9    also the description of the small lettering underneath the big

   10    lettering.    And in this case, the small lettering underneath

   11    the big lettering, it reads, "Is it halal to dispossess the

   12    wealth and disbelievers in America and other western countries.

   13    Shaykh Anwar al-Awlaki explains the Islamic ruling."

   14         Based on the description, I believe this is the text that

   15    they were referring to.

   16    Q.   Sir, are you familiar with the specific article that's

   17    referenced in small letters to the bottom right-hand side of

   18    that article or the front cover of the magazine?

   19    A.   Yes.

   20    Q.   What is that article about?

   21    A.   This is an article by Shaykh Anwar al-Awlaki which argues

   22    that Muslims living in western countries have the right, the

   23    religious right to steal money or take money without cause from

   24    non Muslims as a way to raise money for the Islamic causes.

   25         In other words, if you want to support jihad, it's



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    1    perfectly permissible in the view of Shaykh Anwar al-Awlaki to

    2    steal money from Americans and other westerners in order to

    3    fund that jihad or other Islamic causes.

    4    Q.    Sir, I'd like to direct your attention to Government

    5    Exhibit Number 162.1-A, an audio recording, and 162.1-B, that's

    6    .1-B, which is a transcript accompanying that recording.           The

    7    recording is described as a telephone call between Russell

    8    Dennison and Sami Osmakac on the following day, January 19th of

    9    2011.

   10          Would you please play the call.

   11                 (Tape played.)

   12    SO:     OK I wasn’t sure, I had to pay some, I had to

   13    fix my car at the (UI) from work.

   14    RD:     Oh yeah.

   15    SO:     It wouldn’t start.    So I bought some oil, gas

   16    where the spark plugs are.      It broke the spark plugs

   17    the…the wires for spark plugs some other stuff and I

   18    have to get the whole done, like a hundred bucks.

   19    RD:     Hmm. That’s what you do if stuff happens, you

   20    know.

   21    SO:     Yeah.   I mean it’s been giving me problems for

   22    a while dude.      I used to think it was the starter.      I used

   23    to complain cause he used to be like yo, I got the

   24    starter fixed, so many times but then he told me it’s

   25    not the starter.



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    1    RD:    Mmm.

    2    SO:    Alhamdulillah [Praise be to God].       Yeah I read

    3    that thing yesterday man.

    4    RD:    What do you think?

    5    SO:    It’s on the, it’s on the check right.

    6    RD:    Yeah.

    7    SO:    Yeah I read it.    That was beautiful man.

    8    RD:    I told you man, I was like subhanallah [glory to

    9    God] man.

   10    SO:    Subhanallah [Glory to God] they told you that

   11    you just put your trust in Allah [God].        He’s out again,

   12    you see.    Allah [God] just wants to test them, man.

   13    He’s out again, you see.      He ended up there, they

   14    ended up getting, you know, and then he ended up.

   15    RD:    Yeah, yeah, yeah I know.

   16    SO:    You know, and then again (UI) if Allah [God]

   17    has something decreed for you, it’ll happen.         You just

   18    put your trust in Allah [God] and do your efforts.          Just

   19    like that man.

   20    RD:    Yeah because uhm yeah man yo.      As soon as I

   21    read it someone emailed me on my YouTube like oh

   22    thank you so much you know like.       Like I just read that

   23    and like aww they’re like man you know.

   24    SO:    Yeah that was some good stuff.

   25    RD:    Cause that stuff affects people man.        I knew



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    1    when I put it up, because all of a sudden it was like a

    2    miracle from Allah [God].      Like all of sudden, like all of

    3    a sudden that like popped in my head like that article.

    4    I was like yo.

    5    SO:    Alhamdulillah [Praise be to God]. Alhamdulillah

    6    [Praise be to God].

    7    RD:    Yeah man so it took me forever to fix it to get it

    8    ready, but yeah, man, I was like, man.        Like after I

    9    read it, I was like, what?      I was like uh this gonna

   10    make people go crazy.

   11    SO:    That stuff was beautiful, Allahu akbar [God is

   12    great].

   13    RD:    I know, that’s like the kind of stuff you gotta

   14    read over and over like every day, you know like this

   15    is how it is man.

   16    SO:    Yeah, it is, that’s how it is.

   17    RD:    Imagine that bro, imagine that brother’s reward

   18    for his patience.

   19    SO:    Yeah.   Insha’Allah [God willing].      Insha’Allah

   20    [God willing].    He be very patient till the end.

   21    RD:    I man it’s like, I tell myself whenever I get down

   22    or I feel like I’m stressed or I can’t figure something

   23    out.   I’m like yo, it’s just this world that we live in man.

   24    It’s just, it’s just one big test you know.

   25    SO:    Yeah, that’s true.     Big test man.    If we do



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    1    something ahead of what Allah [God] had decreed

    2    that would change his plan.      That’s never going to

    3    happen.

    4    RD:    Exactly, exactly.     You have to really think about

    5    it like, is it able, like, am I able to do my own thing.

    6    Like is it possible for me to like, for me to do what I

    7    feel like doing.     I guess that’s not even the best way to

    8    word it.     I think it’s like this like, is it possible for you

    9    to

   10    do anything that it wasn’t written for you to do.

   11    SO:    Exactly.

   12    RD:    I mean, do you have any choice in the matter.

   13    I mean any choice to go against what is already

   14    decreed for you.

   15    SO:    No.

   16    RD:    Absolutely, it’s impossible.

   17    SO:    Exactly cause if you do then that means not

   18    everything is ruled by Allah’s plan and that’s

   19    impossible because everything is decreed by Allah

   20    [God].

   21    RD:    I know.

   22    SO:    Everything goes according to his plan,

   23    smoothly.

   24    RD:    So when you think like that, when you really

   25    think like that and you believe that, how could you



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    1    really stress anything?

    2    SO:    Yep.

    3    RD:    But you have to constantly remind yourself of

    4    this, cause you don’t wake up thinking this stuff, you

    5    don’t go to bed thinking it cause you don’t see

    6    anything that reminds you of it.

    7    SO:    Exactly.

    8    RD:    That’s why you have stick to these statements.

    9    You know you have to.

   10    SO:    Exactly.

   11    RD:    Without ‘em, go crazy.

   12    SO:    Exactly man, subhanallah [glory to God].

   13    RD:    That’s why I wrote, that’s why I felt that article

   14    was really beautiful and I was like this is, I was like, I

   15    was thinking I was like you know this is a real

   16    inspiration for anybody.      No matter what you’re going

   17    through, no matter what level you’re on.        Plus another

   18    thing articles like that do is.

   19    SO:    Can reach anyone.

   20    RD:    Yo, the articles like that, another thing that they

   21    do is, they show people who don’t really know the

   22    truth, it shows them what the truth is.

   23    SO:    Huh.

   24    RD:    Because when you read that its undeniable.

   25    SO:    (UI) Insha’Allah [God willing].       If not, I come



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    1    back here.

    2    RD:     Nah, did you hear what I said?

    3    SO:     Yeah what was the last part?

    4    RD:     No another thing is that articles like that, what it

    5    does is that people who don’t know the truth or

    6    against the truth or they just confused.         When you

    7    read something like that, it, it, you it, it wakes them

    8    up.

    9    SO:     Yeah, yeah.

   10    RD:     Like oh, you know like its undeniable you

   11    know.

   12    SO:     Yeah.

   13    RD:     Forget about like the knowledge you think you

   14    have it’s about like, what you follow you know.         Your

   15    struggle.

   16    SO:     Yep.    Yeah you read the thing.

   17    RD:     Yeah by the Sheik?

   18    SO:     Yeah.   It was beautiful.

   19    RD:     Yeah I read it.   But it wasn’t anything that really

   20    affected me it’s like it’s kind of like stuff that I kind of

   21    already figured, you know.      It wasn’t like oh like it

   22    didn’t even really, honestly man it didn’t even really

   23    increase my Iman [faith] or anything it was just like

   24    information.

   25    SO:     No it (UI) Iman [faith] [UI] kuffar [infidels].



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    1    RD:    Alright well look just get on me later man.

    2    Don’t even, I’m even tired of talking on the phone

    3    man, seriously these people man they just, they’re so

    4    annoying man.    They need to get a life man.

    5    SO:    Ok Insha’Allah [God willing].

    6    RD:    You know what I mean, they want to know

    7    something they can come and talk to you.        You know

    8    what I mean.    Trying to invade your privacy and all

    9    that other stuff, you know what I mean.

   10    SO:    Yeah.

   11    RD:    Look if you want to get off for an hour then you

   12    come pick me up.

   13    SO:    Yeah I’m tired I just want to go pay him the

   14    money.

   15    RD:    Alright, just give me a call tomorrow,

   16    Insha’Allah [God willing] Ok.

   17               (Tape concluded.)

   18    BY MR. MCGOVERN:

   19    Q.    Sir, one final thing on these calls.       You initially

   20    referred to -- made reference to Inspire Magazine, number two.

   21    A.    That's correct.

   22    Q.    What specific article, if you were able to tell, were they

   23    talking about in Inspire Magazine, number two?

   24    A.    They were discussing the biography of a Saudi Al-Qaeda

   25    operative named Al-Ghamdi, A-L       G-H-A-M-D-I.    This was



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    1    subsequently posted on Mr. Dennison's blog, exactly the timing

    2    he described.    The biography describes how this Saudi Al-Qaeda

    3    operative went to Afghanistan and to fight against U. S.

    4    forces, was captured, was sent to Guantanamo Bay, was held as

    5    an enemy combatant in Guantanamo Bay for several years, then

    6    was returned back to Saudi Arabia and then jumped back over to

    7    Yemen and rejoined Al-Qaeda in the Arabian Peninsula.

    8         So it was meant to be an inspirational story about the

    9    life of an Al-Qaeda operative and how he had stuck with it

   10    through all ends.

   11                MR. MCGOVERN:    With your permission, Your Honor, the

   12    Government would move to mark Government's Exhibit 160-B into

   13    evidence and move it into evidence.       This is a copy of the

   14    article just referenced by Mr. Kohlmann and it has been shown

   15    to the defense.

   16                THE COURT:   Be received without objection.

   17                MR. PETER TRAGOS:    No objection, Your Honor.

   18                (Thereupon, Government's Exhibit 160-B was

   19    received and filed in evidence.)

   20    BY MR. MCGOVERN:

   21    Q.   Sir, in your experience, are you familiar with the term

   22    "hijrah?"

   23    A.   Yes, sir.

   24    Q.   How is that spelled?

   25    A.   It's spelled a number of different ways, but generally it



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    1    is spelled H-I-J-R-A-H.

    2    Q.   How are you familiar with the term "hijrah?"

    3    A.   It's an essential term within the context of Islam and

    4    it's also a term that is used in a similar but not the same

    5    context by contemporary violent extremists.

    6    Q.   What is the literal definition of the term "hijrah?"

    7    A.   Hijrah is an Arabic word which literally means pilgrimage

    8    or journey.    It means to take a pilgrimage or journey.

    9    Q.   And is this the only definition of the term?

   10    A.   No.   Although the traditional definition of a hijrah

   11    refers to making a religious journey, a religious pilgrimage

   12    such as the pilgrimage to Mecca, the hajj, hijrah, hashijrah

   13    also taken on another context.

   14         Hijrah has also taken on the context in a particular sect

   15    of Muslims, Salafis, S-A-L-A-F-I-S.       It's taken on the meaning

   16    also of journeying abroad to participate in Islamic society,

   17    including participating in fighting on a front line for Islamic

   18    causes.

   19    Q.   Sir, when you're reviewing an article or a lecture or

   20    wherever this term might be used, how do you determine which

   21    definition the author intended?

   22    A.   It's entirely in the context.

   23    Q.   Sir, I'm directing your attention to Government's Exhibit

   24    111, page 21, which is a conversation between the Defendant and

   25    the undercover employee.



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    1         Sir, do you see the exhibit in front of you?

    2    A.   Yes.

    3    Q.   The second line down starting with the indication of "SO"

    4    for Sami Osmakac, "And if he's down, he used to be down back in

    5    the day, so if he's down, he's gonna use his credit card.

    6    'Cause he want to make "big hijrah."        And in parentheses,

    7    migration, close parentheses.

    8         Given your understanding of the discovery in this case and

    9    that specific reference, are you able to determine to context

   10    of the word "big hijrah" and how it's being used in this

   11    manner?

   12    A.   I believe I can.

   13    Q.   How can you tell us the difference, sir?

   14    A.   I, in the context of the conversation, it's quite clear

   15    that there's no discussion about a pilgrimage to mecca, there's

   16    no discussion about traveling to Saudi Arabia.         In the context

   17    of this conversation, it appears the "big hijrah" refers to the

   18    journey to the after life, the journey to paradise.          In other

   19    words, making the big journey.

   20    Q.   I'd like to direct your attention to Government's Exhibit

   21    118, page 26.    Sir, do you -- can you see Government's Exhibit

   22    118-B, page 26, in front of you?

   23    A.   Yes, I can.

   24    Q.   At the top of the page, the undercover employee is

   25    speaking, "You hold it, you flip the switch.         Once you put the



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    1    battery in it, period, it's going to be ready."

    2         THE DEFENDANT:     "That's then, period."

    3         THE UNDERCOVER EMPLOYEE:       "Once you put the battery in,

    4    it's going to be ready."

    5         THE DEFENDANT:     "Yeah."

    6         The undercover employee says, "Flip the switch."

    7         And Sami Osmakac responds, "Hijrah, inshallah."

    8         The manner in which the term "hijrah" is being used in

    9    this instance, are you able to determine its meaning?

   10    A.   I believe so, yes.

   11    Q.   How are you able to determine its meaning?

   12    A.   Well, once again, there's no discussion of taking a trip

   13    to Saudi Arabia to go on the hajj, there's no discussion of

   14    mecca, there's no discussion of visiting a religious site.           In

   15    this context, it does appear that this is talking about the

   16    "big hijrah," in other words, journeying to paradise, going to

   17    the after life.

   18    Q.   When you say "journey to paradise," do you mean death?

   19    A.   Death, yes.    In Islam, if you are martyred to the cause of

   20    it, the Islamic cause, you are supposedly immediately given

   21    entrance to paradise, to the after life.

   22    Q.   I'd like to direct your attention to Government's Exhibit

   23    118-B, page 14.

   24         Sir, can you see the exhibit in front of you?

   25    A.   I can.



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    1    Q.   Again, this is the conversation between the Defendant and

    2    the undercover employee.      The third line down, the Defendant

    3    states, "The plane, some, they -- they fly some big ones.

    4    There was some Muslim Arabs, they made hijrah from Germany to

    5    Afghanistan.    One of the two brothers.      He was one of them

    6    released a statement, just a couple days ago."

    7         The term "hijrah" is used in that statement.          Are you able

    8    to determine how it was to be interpreted?

    9    A.   Yes.

   10    Q.   How should we interpret that statement?

   11    A.   In this case, it appears to be referring to making a

   12    journey to a front line, to an Islamic front line.

   13    Q.   Which is different than the two contexts that we just saw

   14    before this?

   15    A.   That's correct.

   16    Q.   Sir, are you familiar with the individual identified as

   17    Aafia Siddigui?

   18    A.   Yes.

   19    Q.   Did I pronounce that correctly?

   20    A.   You did.

   21    Q.   Would you spell it for the Court?

   22    A.   Sure.    Dr. Aafia Siddiqui, A-A-F-I-A      S-I-D-D-I-Q-U-I.

   23    Q.   Sir, in your experience, who is Aafia Siddiqui?

   24    A.   Dr. Aafia Siddiqui is a former Boston residence, a neuro

   25    scientist, who has been convicted of providing material support



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    1    to terrorist organizations, namely Al-Qaeda.

    2    Q.   In your review of the discovery in this case, do you

    3    recall whether or not that person is identified.

    4    A.   I recall, yes.     I recall at least one if not multiple

    5    instances of Dr. Aafia Siddiqui's name being referenced.

    6    Q.   Sir, in your discovery -- review of the discovery in this

    7    case, did you come across a reference to German brothers?

    8    A.   Yes.

    9    Q.   Are you familiar with who those German brothers are?

   10    A.   I believe I am, yes.

   11    Q.   Would you identify them for us?

   12    A.   Yes.   German nationals, Yassin and Mounir Choucka.          Yassin

   13    is Y-A-S-S-I-N and Mounir is M-O-U-N-I-R and Choucka is

   14    C-H-O-U-C-K-A.

   15    Q.   Are you indicating that those two brothers are known by

   16    two names each?

   17    A.   Actually, those are their real names.         They are also known

   18    by Cunyas or pseudonyms.      The pseudonyms are Abu Ibrahim and

   19    Abu Adam.   Abu Adam is written just like Adam, so it's like Abu

   20    Ibrahim, Abu Adam.

   21    Q.   How are you familiar with these individuals?

   22    A.   These individuals are fairly well known in the context of

   23    contemporary violent extremist groups.        They recorded a number

   24    of videos in Afghanistan or in Pakistan with a group called the

   25    German Taliban Mujahideen, which is a sub unit of another



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    1    organization known as the Islamic Movement of Uzbekistan, which

    2    is an Al-Qaeda and Taliban ally in the northwest reaches of

    3    Pakistan.

    4         They recorded a number of video recordings that were

    5    actually recorded in German, which include statements, video

    6    statements and audio statements in German which were directed

    7    both at the enemies of Al-Qaeda and the IMU, as well as those

    8    who might support Al-Qaeda and the IMU.

    9    Q.   How many videos that were produced were released by these

   10    individuals are you aware of?

   11    A.   I'm aware of at least two to three different videos and at

   12    least one audio recording.

   13    Q.   Sir, I'd like to direct your attention to Government's

   14    Exhibit 118-B, pages 15 and 16.

   15         Sir, at the bottom of the page, a conversation begins

   16    which carries over to the next page.        At the bottom, Sami

   17    Osmakac states, "Far away from the battlefield, nowhere near

   18    the battlefield, there's two types of terrorism, really.           One

   19    they do cowardly, terrorism from planes."        The UCE remarks,

   20    "Uh-huh."   Sami Osmakac continues, "And one praise worthy.          The

   21    one to terrorize the enemies of Allah, like one Shaykh says, do

   22    the planes fly in the sky" --

   23                THE COURT:   Requote that.

   24                MR. MCGOVERN:    I'm sorry?

   25                THE COURT:   That's not what it says.



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    1    BY MR. MCGOVERN:

    2    Q.   I'm sorry.    "Like one Shaykh said, do the planes in the

    3    sky, they fly above the thrown of Allah, or below the thrown

    4    Allah."

    5         Are you familiar with the quoted remarks stated by the

    6    Defendant?

    7    A.   Yes.

    8    Q.   Have you ever seen them before?

    9    A.   Yes.

   10    Q.   Where have you seen them?

   11    A.   They were stated by Mounir Choucka in an audio recording

   12    released by the IMU titled -- it was in German, but the English

   13    translation of the title is "On to Success."

   14    Q.   Have you reviewed "On To Success?"

   15    A.   Yes.

   16    Q.   Is that an audio or video recording?

   17    A.   It is an audio recording.       It was later rereleased on

   18    YouTube as a video, but it was originally recorded as an audio.

   19    Q.   So the specific quotation that we read about the planes,

   20    in your experience, have you seen that particular quotation

   21    attributed to any other person?

   22    A.   I haven't seen this in any other piece of propaganda that

   23    I've seen, no.

   24    Q.   Have you ever seen it in materials that were released by

   25    anybody?



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    1    A.   Not that I've seen, no.

    2    Q.   I'd like to direct your attention to Government's Exhibit

    3    118-B on 41 -- page 41.

    4         Sir, on 118-B, page 41, the Defendant is speaking with the

    5    undercover employee.     The Defendant specifically says, "Kuffar,

    6    man, that's when, when the Sharia comes, we're gonna see how...

    7    Yeah those, those Muslim brothers from Germany and Afghanistan,

    8    they said, and right now Islam is merciful, but there's a time

    9    have mercy, there's a time of war."

   10         "They said, right now, we shouldn't have one drop of mercy

   11    for them.   Not one drop, if you do, there's something wrong

   12    with your" -- forgive me -- "aquida." "So there's no mercy,

   13    it's like they -- they just shoot drone attacks after they kill

   14    Shaykh Anwar al-Awlaki in Yemen."

   15         Sir, are you familiar with that -- anything remarked by

   16    the Defendant in that statement that I read?

   17    A.   Yes.

   18    Q.   What is it that you're familiar with?

   19    A.   I believe they're actually almost verbatim quotes from the

   20    Mounir Choucka audio recording on Success.         Specifically, I

   21    look at when he says, "We shouldn't have one drop of mercy for

   22    them" and talking about the time of war and there's something

   23    wrong with your aquida, this is almost verbatim out of the

   24    section of "On to Success."

   25    Q.   So have you ever seen the quoted remarks in any other



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    1    resource distributed?

    2    A.   Not just like this, no, no.

    3    Q.   I'd like to direct your attention --

    4               MR. MCGOVERN:     And Your Honor, this is the --

    5               THE COURT:    I don't understand what that means, "not

    6    like this."

    7               THE WITNESS:    Your Honor, I've seen other people

    8    questioning some of the aquida.       I've seen other people talking

    9    about not having mercy.      But the specific order of how it was

   10    said and the specific way it was said, it's very strongly

   11    reminiscent to me, after watching almost every video released

   12    by these squibs, is very strongly reminiscent to me of this

   13    particular video.     I notice the parallel quite strongly.

   14               THE COURT:    All right.

   15    BY MR. MCGOVERN:

   16    Q.   Following that conversation on page 41, the Defendant

   17    remarks, "So they shot down" -- I'm sorry -- "So they shoot

   18    drone attacks in Waziristan.      That's the most hot area in

   19    Afghanistan Pakistan Border. Seven, they killed 17 of us.           Like

   20    we had to gather the pieces, 50 of us..."

   21         The undercover employee responds, "Uh-huh."

   22         And the Defendant then responds, "And had to, 17 or 37, I

   23    think, God knows.     So we had to dig all the graves and gather

   24    all the pieces.    It took us a long time.      So, by then, there

   25    was nothing but Aman.     'Cause all the pieces smelled so



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    1    beautiful, you know what I mean, right?        The musk?"

    2         So are you familiar with that statement?

    3    A.   I'm familiar with what's being described there, yes.

    4    Q.   How are you familiar with that?

    5    A.   Once again, this is almost verbatim retelling of what

    6    happened or what was said by Mounir Choucka in the audio

    7    recording "On to Success."      There are small differences in the

    8    numbers, I think he may have gotten the 50 and the 17 wrong,

    9    but Mounir Choucka describes exactly this, having recovered

   10    bodies of approximately 50 individuals --

   11               MR. PETER TRAGOS:     Object, Your Honor, speculation.

   12               THE COURT:    Overruled.

   13               THE WITNESS:    -- describing how they were recovering

   14    the bodies of approximately 50 individuals who were killed in a

   15    drone strike in Waziristan, how the bodies were in pieces and

   16    we had to dig all the pieces up, and it took a long time.           It's

   17    almost a verbatim mimicking of exactly what is in that audio

   18    recording.

   19    BY MR. MCGOVERN:

   20    Q.   Sir, in your experience, have you seen this particular

   21    description of events released in any other market?

   22    A.   The only description I've seen that even comes close to

   23    this would be what Mounir Chouka said in "On To Success".

   24    Q.   And lastly, I'd like to direct your attention to

   25    Government's Exhibit 124-B, page two.



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    1          Sir, in front of you is 124-B, page two.        In the middle of

    2    the page that's before you, it starts out, "Allah, Allah."

    3                 MR. MCGOVERN:    Were you able to determine who's

    4    talking at this point?

    5                 MS. SWEENEY:    It's the Defendant.

    6                 MR. MCGOVERN:    Your Honor, indicating that this is a

    7    statement of the Defendant before the page was enlarged to

    8    accommodate this one paragraph.

    9    BY MR. MCGOVERN:

   10    Q.    The middle paragraph, "Allah, Allah.       This is not World

   11    War I, World War II.     This is not World War III: this is not

   12    World War IV.    This is jihad until the next day.        This is jihad

   13    until the next day.     This is jihad until the next day, so wake

   14    up.   Stop with this Kurdistan, Turkey, Albania, Kosovo, Bosnia,

   15    Afghanistan thing."

   16          Sir, are you familiar with that statement?

   17    A.    Yes.

   18    Q.    Have you ever seen it before?

   19    A.    Yes.

   20    Q.    Where have you seen it?

   21    A.    Mounir Chouka said almost exactly the same thing in "On to

   22    Success".    It's obviously speaking in German.       He said, "This

   23    is not the First World War, this is not the Second World War,

   24    this is not the Third World War."       This is a very unusual

   25    statement.    I've never seen this statement before in any other



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    1    piece of propaganda other than the audio recording "On to

    2    Success" recorded by Mounir Choucka.

    3    Q.    Thank you.

    4          Sir, I'd like to talk to you about a website called

    5    unjustmedia.com.

    6          In your review of the materials in this case, did you come

    7    across that site?

    8    A.    I did.

    9    Q.    Could you give us a brief description of what that site

   10    is?

   11    A.    Yes.    The unjustmedia.com is an English language website

   12    on the Internet.     It operates like a blog, and it provides

   13    direct --

   14                 THE COURT:   I'm sorry, let's stop there and take the

   15    afternoon break for about 15 minutes.

   16                 (Jury excused from the courtroom.)

   17                 Court stands in recess for 15 minutes.

   18                 (Brief recess.)

   19                 Are counsel ready to proceed?

   20                 MR. PETER TRAGOS:   Yes, Your Honor.

   21                 MR. MCGOVERN:   We are.

   22                 THE COURT:   Please recall the jury.

   23                 (Jury returned to the courtroom.)

   24                 Counsel, you may proceed.

   25                 MR. MCGOVERN:   Thank you, Your Honor.     I just have a



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    1    few more moments.

    2    BY MR. MCGOVERN:

    3    Q.    Mr. Kohlmann, I'd like for you to take a look at what's

    4    been marked as Government's Exhibit 118, page 11, which should

    5    be on the screen before you.

    6          This is a transcript of a conversation between the

    7    Defendant and the undercover employee on January 1, 2012.

    8          Sir, at the top of the page, the Defendant states to the

    9    undercover employee, "If you go on the unjust, the

   10    unjustmedia.com" -- for the record, that is spelled out.

   11          The undercover employee responds, "Yeah."

   12          The Defendant states, "And you scroll down, you'll find

   13    it.   Have you ever heard of that website?"

   14          The UC responds, "Uh-huh."

   15          The Defendant states, "That's where, that's the Mujahideen

   16    website."

   17          The undercover employee responds, "Okay."

   18          And the Defendant responds, "All the brothers from

   19    Afghanistan saw that.     They post everything, their daily

   20    actions.    Like how many kuffar, how many tanks and..."

   21          Sir, are you familiar with that statement?

   22    A.    Yes, I am.

   23    Q.    At the bottom where the Defendant remarks, "They post

   24    everything, their daily actions, like how many tanks."

   25          Are you familiar with that statement, specifically?



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    1    A.   Yes.

    2    Q.   How are you familiar with that?

    3    A.   I'm familiar with the statement from having read the

    4    transcript.    I'm familiar with the context because I've

    5    reviewed the unjustmedia.com on a very frequent basis.

    6    Q.   What is the context of that statement?

    7    A.   This statement refers to the fact that the people that run

    8    the unjustmedia.com have established a direct relationship with

    9    the media wing of the Islamic Emirate of Afghanistan.

   10                MR. PETER TRAGOS:    Object to speculation and

   11    predicate.

   12                THE COURT:   Overruled.

   13                THE WITNESS:    The unjustmedia.com posted notice on

   14    their website indicating that they had established a direct

   15    relationship with the Islamic Emirate of Afghanistan, the

   16    Taliban.    And the Taliban's official online correspondent, an

   17    individual who goes by the name of Zabiullah Mujahid,

   18    Z-A-B-I-U-L-L-A-H     M-U-J-A-H-I-D, sends each day to the

   19    unjustmedia a tally of exactly how many operations the Taliban

   20    have carried out targeting U. S. and coalition forces, how many

   21    people they've killed, how many tanks they've destroyed, how

   22    many helicopters they've shot down, and these are delivered in

   23    the form of short communiques.

   24                So there was a battle today in Kandahar and we did

   25    this and we did that.      We killed this many occupiers or



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    1    infidels.

    2                 This information is sent directly to the unjustmedia

    3    by the Taliban and the unjustmedia publishes this information

    4    in English on their website?

    5    Q.    Sir, have you visited that website?

    6    A.    Yes.

    7    Q.    Is that a publicly available site?

    8    A.    Yes.

    9                 MR. MCGOVERN:   With your permission, Your Honor, can

   10    we switch to the overhead?

   11                 For the record, Your Honor, the Government is

   12    displaying a transcript that has been marked 124-B, which is a

   13    transcript of the Defendant's martyrdom video.

   14    BY MR. MCGOVERN:

   15    Q.    Mr. Kohlmann, can you see that exhibit in front of you?

   16    A.    Yes, I can.

   17    Q.    Identifying for the record, if you permit me to point at

   18    it.

   19                 THE COURT:   Pull the microphone over to you.

   20    BY MR. MCGOVERN:

   21    Q.    Specifically in this document, I'm referring to the first

   22    main paragraph where the Defendant is speaking.         It starts out,

   23    "This is brother, Abdul Sami."       And at the end of that

   24    paragraph, the Defendant states, "And this is payback for

   25    Shaykh Osama Bin Laden, Rahimullah and Anwar al-Awlaki and his



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    1    son.    May God have mercy on them."

    2           Sir, are you familiar with the term or the individual

    3    identified as Anwar al-Awlaki?

    4    A.     Yes.

    5    Q.     Who -- very generally, very specifically, very succinctly,

    6    would you tell us who Anwar al-Awlaki is?

    7    A.     Shaykh Anwar al-Awlaki was an extremist Yemeni/American

    8    cleric who joined Al-Qaeda in the Arabian Peninsula and

    9    assisted in the production of Inspire Magazine, their English

   10    language magazine on behalf of Al-Qaeda in the Arabian

   11    Peninsula, and also recorded video -- audio recordings on their

   12    behalf.

   13    Q.     Thank you.

   14           Are you familiar with his religious beliefs?

   15    A.     Yes.

   16    Q.     Very succinctly, can you describe his religious beliefs?

   17    A.     Yes.   He is from the sect of Islam known as the Salafis

   18    jihadiis, S-A-L-A-F-I-S.      This is a reference to individuals

   19    who believe that you should revert back to the original

   20    conditions of Islam as they were first laid down in the '600s,

   21    including a specific focus on violent jihad as a key element of

   22    demonstrating your Islamic faith.

   23    Q.     And the last thing I'd like to talk to you about,

   24    Mr. Kohlmann, is the second page -- strike that -- the third

   25    page of the transcript for the martyrdom video.         This goes to a



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    1    topic we discussed earlier.      Indicating the second paragraph

    2    from the bottom -- I'm sorry -- the last paragraph on that page

    3    that begins "My beloved brothers in Afghan, Abu Adam and Abu

    4    Ibrahim."

    5         Are you familiar with those two individuals?

    6    A.   Yes.

    7    Q.   Have we spoken about them today?

    8    A.   Yes.

    9    Q.   Briefly, who are they?

   10    A.   Abu Adam is Mounir Choucka, a German national, Mounir

   11    Choucka, Abu Abrahim is Yassin Chouka, the two German nationals

   12    who were featured in video recordings produced on behalf of the

   13    German Taliban Mujahideen and the Islamic Movement of

   14    Uzbekistan.

   15                MR. MCGOVERN:    Your Honor, with your permission, can

   16    we switch back?

   17                THE COURT:   Yes, sir.

   18    BY MR. MCGOVERN:

   19    Q.   Mr. Kohlmann, I'd like to show you what's been marked as

   20    Government's Exhibit 188, page 14.

   21                MS. SWEENEY:    I'm sorry, Mr. McGovern, can you repeat

   22    that.

   23                MR. MCGOVERN:    188.   Page 14.

   24                MS. SWEENEY:    Do you mean 118?

   25



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    1                 MR. MCGOVERN:    My mistake, Your Honor, 118, not 188.

    2    BY MR. MCGOVERN:

    3    Q.    Just circling back and talking about the German brothers

    4    who we discussed earlier, Mr. Kohlmann, can you see the Exhibit

    5    118-B, page 44, in front of you?

    6    A.    Yes.

    7    Q.    One second please.      We're going to switch to 118-B, page

    8    14.   I apologize, I wrote that down incorrectly.

    9          Sir, do you see 118-B, page 14 in front of you?

   10    A.    I do.

   11    Q.    The Defendant, Sami Osmakac, talks about the planes, we

   12    went over that.

   13                 MR. MCGOVERN:    One moment, Your Honor.

   14                 (Brief pause.)

   15                 Your Honor, I don't have the exhibit I'm looking for

   16    at the tip of my fingers.

   17                 That concludes the examination of the witness at this

   18    time.

   19                 THE COURT:   All right.

   20                 Counsel.

   21                              CROSS-EXAMINATION

   22    BY MR. PETER TRAGOS:

   23    Q.    Afternoon, Mr. Kohlmann.

   24    A.    Afternoon.

   25    Q.    First thing I want to ask you about is some of the



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    1    translations of the words.      One of the words that you

    2    translated today was hijrah, correct?

    3    A.   Correct.

    4    Q.   First, would you consider yourself fluent in Arabic?

    5    A.   I'm not fluent, but I did study Arabic or religious

    6    vocabularies as part of my degree in Islam.

    7                THE COURT:   Mr. Kohlmann, answer the questions that

    8    are asked.

    9                THE WITNESS:   Excuse me, Your Honor.

   10                No, I don't consider myself fluent in Arabic.

   11    BY MR. PETER TRAGOS:

   12    Q.   And you're not an Arabic expert?

   13    A.   No, no, I'm not.

   14    Q.   Okay.    Do you remember you reviewed the transcripts in

   15    this case?

   16    A.   Correct.

   17    Q.   You reviewed transcripts between Sami and the confidential

   18    human source?

   19    A.   Amongst other things, yes.

   20    Q.   All of the references to hijrah that the Government asked

   21    you to define were with the UCE; is that correct?

   22    A.   You mean in the context of conversation with the UCE?

   23    Q.   Yes.

   24    A.   I believe so, yes.

   25    Q.   Okay.    And the dates of those were post November 30th



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    1    2011; is that correct?

    2    A.   I don't recall off the top of my head, but I would take

    3    your affirmation that that's the case.

    4    Q.   Okay.    On November 30th, the CHS and the Defendant had a

    5    meeting.   You remember that meeting?

    6    A.   I believe so, yes.

    7    Q.   Okay.    In that meeting, they spoke about hijrah and Mr.

    8    Osmakac's plan to make hijrah and get a family and children and

    9    learn about Islam.     Do you remember that?

   10    A.   I'd have to look at the exact transcript.         If you have it

   11    in front, I could --

   12    Q.   Would it refresh your recollection to review the

   13    transcript?

   14    A.   Yes, please.

   15               MR. PETER TRAGOS:      May I approach, Your Honor?

   16               THE COURT:    Yes, sir.

   17               MR. PETER TRAGOS:      This is Government's Exhibit

   18    101.4-B.

   19               THE COURT:     Just put it -- go ahead.

   20               MR. PETER TRAGOS:      Okay.

   21               THE WITNESS:    Yes.

   22               MR. PETER TRAGOS:      May I retrieve, Your Honor?

   23               THE COURT:    You have general leave to approach the

   24    witness as necessary.

   25               MR. PETER TRAGOS:      Thank you, Your Honor.



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    1    BY MR. PETER TRAGOS:

    2    Q.   Do you remember that conversation, Mr. Kohlmann?

    3    A.   Yes, I do.

    4    Q.   What kind of hijrah is that?

    5    A.   In my estimation, that's making hijrah to go to an Islamic

    6    country.

    7    Q.   Okay.    So that would be one instance where the Defendant

    8    meant it that way?

    9    A.   Well, at least he meant it in the context that he was

   10    going to go to an Islamic country.       I don't know the extent of

   11    what he intended to do.      In that context, I think he's

   12    referring to moving to an Islamic country.

   13    Q.   To learn Islam?

   14    A.   Among other things, yes, sure.

   15    Q.   Does he say among other things?

   16    A.   I think he also says he wants to get a wife and some other

   17    things like that.

   18    Q.   So what kind of hijrah would you say that is?

   19    A.   Again, in the absence of other details that would --

   20               THE COURT:    Based on the information in front of you,

   21    what kind of hijrah would that be, Mr. Kohlmann?

   22               THE WITNESS:    Based on that context, it sounds like

   23    hijrah to move to an Islamic country.

   24    BY MR. PETER TRAGOS:

   25    Q.   Okay.    Let's talk a little bit about your experience.



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    1    Have you done any investigations on terrorist suspects?

    2    A.     You'd have to be more specific than that.

    3    Q.     Do you have any FBI agency training?

    4    A.     No.

    5    Q.     Are you an FBI agent?

    6    A.     No.

    7    Q.     Do you have any psychiatric or medical training?

    8    A.     No.

    9    Q.     So you've never firsthand been involved in one of these

   10    investigations?

   11    A.     That's not correct.

   12    Q.     Okay.   That's what I was asking, so...

   13    A.     No, no, no, I mean what you just said is not correct.         I

   14    have been involved in investigations, but not as an FBI agent.

   15    Q.     Can you explain your involvement in an ongoing

   16    investigation.

   17    A.     I can explain it without getting into sensitive details,

   18    yes.    I'm asked to review hard drives and other evidence that's

   19    been seized from Defendants or that has been collected from

   20    Defendants.     I'm asked to review transcripts of covertly

   21    recorded materials.     I'm asked to simply provide information

   22    about a particular organization.       The limit of what I can do --

   23    there is a limit to what I can do because I don't have a

   24    security clearance, so I can review materials that are

   25    sensitive, but I cannot review materials that are classified.



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    1    Q.   So that's everything you've done in this case, too?

    2    A.   Not in the -- not in the way I did it in this case.           In

    3    some cases I work on cases in the investigative phase as well

    4    as the judicial phase.     In this case, as far as I'm aware, I

    5    was only involved in the judicial phase.

    6    Q.   What work that you do is different than the work you did

    7    in this case; reviewing the transcripts, getting the

    8    information about certain groups and people?

    9    A.   Well, if you explain it that generically, it's the same

   10    thing, but it varies in different cases, depending on the

   11    groups, depending on the people, level of specificity.           It's a

   12    wide description, but yeah, that's correct.

   13    Q.   Isn't that how you just described it?

   14    A.   Like I said, it's a generic description, but it differs

   15    from case to case.     And there are differences between the

   16    judicial phase in the investigation and the investigative phase

   17    in an investigation.

   18    Q.   Okay.    In this case, you didn't interview any of the

   19    witnesses?

   20    A.   Correct, I did not.

   21    Q.   Including the Defendant?

   22    A.   Correct.

   23    Q.   Or the UCE?

   24    A.   Correct.

   25    Q.   Or the CHS?



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    1    A.   Correct.

    2    Q.   And you didn't test any of Defendant's computers?

    3    A.   Testing them for what?

    4    Q.   You didn't pull the material off the hard drives?

    5    A.   No, no, no, not me personally, no.

    6    Q.   Okay.    And you didn't test any of the cell phones?

    7    A.   No, no, I don't have training in that.

    8    Q.   Okay.    Did you hear any of these conversations firsthand?

    9    A.   No.    I would have heard them on recordings, but not

   10    firsthand.

   11    Q.   So you reviewed the audiotapes?

   12    A.   Yes.

   13    Q.   And you reviewed the transcripts?

   14    A.   Correct.

   15    Q.   Do you remember what the date was that you reviewed the

   16    transcripts?

   17    A.   Not offhand.     It was over a period of time within the last

   18    year.

   19    Q.   When was the last time you reviewed a transcript; how many

   20    months ago?

   21    A.   Well, I reviewed a transcript yesterday, so yesterday.

   22    Q.   Okay.    And was that transcript different than the one you

   23    had previously reviewed?

   24    A.   There were small differences in the extent that -- where

   25    there was a symbol marked phonetic, it would be replaced with



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    1    the Arabic word that actually fits there.        So obviously in the

    2    first transcripts, someone didn't know what Rahimullah meant,

    3    which means peace be upon him, right, or may Allah have mercy

    4    on him.   And that was replaced with -- Rahimullah was replaced

    5    with PHs.    I also noticed that Abu Adam, the spelling had been

    6    corrected.

    7    Q.   Okay.    And do you know if the other transcripts you

    8    reviewed previously to yesterday, those were months ago?

    9    A.   Within the last few months, yeah.

   10    Q.   Okay.    And do you know if those have been revised before

   11    trial -- before they've been entered as exhibits?

   12    A.   Other than the ones we've spoken of today, I wouldn't have

   13    any way of knowing that.

   14    Q.   Okay.    The Government asked you on direct if you're paid

   15    for your work in this case.      How much have you been paid

   16    specifically for this case?

   17    A.   Well, so far I haven't been paid anything, but that's

   18    because I haven't submitted an invoice yet.

   19    Q.   Okay.

   20    A.   My hourly rate in this case I believe is $400 an hour.           I

   21    have spent a significant number of hours already in terms of

   22    drafting my expert report and Pretrial hearings and whatnot.           I

   23    haven't done an exact tally of hours, but what I have completed

   24    is I've completed an expert report, I've reviewed all the

   25    evidence and I'm obviously testifying here, so that would be



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    1    what I would be charging for.

    2    Q.   Would it be fair to say it's more than $30,000?

    3    A.   No, I would say it's probably less than that.

    4    Q.   Okay.    Is it fair to say you've been paid over $1 million

    5    over the last 12 years for your work in the FBI and the DOJ and

    6    other Government organizations?

    7    A.   Well, me and my company, but yes, that's correct, my

    8    company, yes.

    9    Q.   Okay.    And would it also be fair to say that you've been

   10    getting Government grants to do your research and other things

   11    that involve terrorism?

   12    A.   Yeah, that's true, although not the U. S. Government.

   13    Q.   Other Governments, any Government?

   14    A.   Yeah, that's true, yes.

   15    Q.   Mr. Kohlmann, I believe you said on direct that you've

   16    testified in 40 plus trials.

   17    A.   I've testified -- this I believe is number 31 in U. S.

   18    Federal Court, and I've testified an additional 10 times

   19    outside the United States.

   20    Q.   Okay.    So that's over 40 trials you've testified for?

   21    A.   Correct, yes.

   22    Q.   And how many have been for the Government in that case,

   23    the prosecution, whatever case?

   24    A.   In terms of my work in criminal courts, they have all been

   25    for the Government.



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    1    Q.   And how many times have you testified for the defense?

    2    A.   Zero.

    3    Q.   Okay.    Have you been called a hired hand for the

    4    Government before?

    5    A.   Have I been called by who?

    6    Q.   Have you been called that before to any scholars or

    7    Islamic scholars, to your --

    8    A.   To my face?

    9    Q.   No.   Have you heard of anybody calling you a hired hand

   10    for the Government?

   11    A.   I've read in magazine articles someone referred to me as

   12    that, yeah.

   13    Q.   Have you ever been referred to as the Doogie Howser of

   14    terrorism that is in the guilty verdict business?

   15    A.   Well, I don't know about the guilty verdict business part,

   16    but the first part when I was 23 years old and I had started

   17    doing this, yes, there was -- I was young, and as a result, FBI

   18    agents dubbed me the Doogie Howser of terrorism.

   19    Q.   And some scholars have called you more vile names for the

   20    work that you do?

   21    A.   I don't pay attention to people calling me vile names.

   22    Q.   Okay.    But you have been aware that people do call you --

   23    A.   It's not significant into my work.        I do attend

   24    conferences and I certainly count other scholars' opinions and

   25    I take them very --



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    1                THE COURT:   The question is, have you ever heard

    2    anybody call you vile names, Mr. Kohlmann?

    3                THE WITNESS:   Your Honor, I have heard plenty of

    4    people call me vile names, both in a personal level as well as

    5    a professional level, but yes.

    6    BY MR. PETER TRAGOS:

    7    Q.   Thank you.

    8         The Inspire Magazine; is it possible to just pull articles

    9    from that magazine?

   10    A.   It's exceptionally difficult.

   11    Q.   But on the transcript, didn't it seem to you that

   12    Mr. Dennison had just pulled an article from that?

   13    A.   He also described how difficult it was for him to pull the

   14    article out, yeah.     The reason is because of the fact that --

   15                THE COURT:   Mr. Kohlmann.

   16                THE WITNESS:   Excuse me, Your Honor, sorry.

   17                THE COURT:   If it's a yes or no question, just answer

   18    yes or no.    If the Government wishes for you toto expound or

   19    the defense does, they'll ask you to do so.

   20                THE WITNESS:   Understood.

   21                THE COURT:   So in the context of the transcript, did

   22    it appear that Mr. Dennison had pulled an article from Inspire

   23    Magazine?

   24                THE WITNESS:   Yes, he did.

   25                MR. PETER TRAGOS:    Thank you.



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    1                One moment, Your Honor.

    2                (Brief pause.)

    3    BY MR. PETER TRAGOS:

    4    Q.   All right.

    5         Mr. Kohlmann, I've been corrected now on what you

    6    submitted so far before your trial testimony today.          Does

    7    $22,800 sound more reasonable of what you have billed up to

    8    this point?

    9    A.   That sounds more reasonable, yeah.        I would imagine the

   10    total would be somewhere less than 30.        It would be edging up

   11    toward --

   12    Q.   In that range?

   13    A.   It would be less than that, but it wouldn't be too far

   14    away from that.

   15    Q.   Okay.    Next, let's talk about the black flag.        Now,

   16    throughout the transcripts, do you remember the first time the

   17    black flag was mentioned between the UCE and Mr. Osmakac?

   18    A.   Offhand, I couldn't tell you the exact date, no.

   19    Q.   Okay.    Do you remember the conversation about Mr. Osmakac

   20    asking the UCE what the black flag was for?

   21    A.   Yes, I do.

   22    Q.   And the UCE said it is for a video?

   23    A.   I don't remember exactly how the UCE responded.          You can

   24    bring up the transcript, though.

   25    Q.   Okay.    We'll come back to that question, Mr. Kohlmann.



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    1         Did you review the martyrdom video in this case?

    2    A.   I did.

    3    Q.   And was the black flag used in that martyrdom video?

    4    A.   I believe there was a black flag in the video, yes.

    5    Q.   You also spoke about a black flag with white letters on

    6    it, the shahada flag?

    7    A.   Yes.

    8    Q.   And was there a -- were you able to review the physical

    9    evidence in this case?

   10    A.   I wasn't given direct access to the physical evidence, no.

   11    Q.   Do you know if a black flag with white letters ever came

   12    up again in this case?

   13    A.   I'm not sure.

   14    Q.   Okay.    You testified that one of your specialties was the

   15    financial components of extreme organizations.

   16    A.   That's correct, yes.

   17    Q.   Okay.    And you also talked about how you interviewed

   18    Muslim leaders and terrorists overseas.

   19    A.   Correct.

   20    Q.   Of all those Muslim organizations that you've studied the

   21    financial components to, was there any evidence that any of

   22    them ever provided financial support to the Defendant in this

   23    case?

   24    A.   To the Defendant?

   25    Q.   Yes.



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    1    A.   I'm not aware of any, no.

    2    Q.   Well, that's one of your specialties, right?

    3    A.   That kind of information I'm not usually privy to.           When I

    4    say a specialty, I'm aware of organizations when they're

    5    engaged in money laundering or they're engaged in funding

    6    illicit causes, but very rarely can we tie that down to

    7    providing money to a single individual.        It's exceptionally to

    8    difficult.    That being said, I don't have any evidence that the

    9    organizations I've studied provided money to the Defendant.

   10    Q.   So had they, you wouldn't even be able to connect it on a

   11    case where you are an expert?

   12    A.   It would be very challenging to do so.

   13    Q.   Okay.    You also explained about some Muslim figures such

   14    as Siddiqui and Anwar al-Awlaki and the German brothers; is

   15    that correct?

   16    A.   Correct.

   17    Q.   Is there any evidence that any of them provided aid or any

   18    of their followers provided aid to Mr. Osmakac in this case?

   19    A.   Not that I'm aware of.

   20    Q.   Well, you did review the transcripts, correct?

   21    A.   Yes.    And the evidence that I reviewed, there was no --

   22    there didn't appear to be direct support from these individuals

   23    to Mr. Osmakac.

   24    Q.   Is there any evidence that any terrorist organizations

   25    provided him with guns?



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    1    A.   Not that I'm aware of.

    2    Q.   With telephones?

    3    A.   Not that I'm aware of.

    4    Q.   With rental vans?

    5    A.   Not that I'm aware of.

    6    Q.   With a hotel room?

    7    A.   Not that I'm aware of.

    8    Q.   With any food or gas?

    9    A.   Not that I'm aware of.

   10               MR. PETER TRAGOS:     Okay.   One moment, Your Honor.

   11               (Brief pause.)

   12               I'm sorry, Your Honor, the exhibit is Government's

   13    Exhibit 111-B, page nine -- I'm sorry, it's page five of 22 on

   14    the Government's Exhibit.

   15    BY MR. PETER TRAGOS:

   16    Q.   Then also at page six where Mr. Osmakac says, "And the

   17    black flag."

   18         And the UCE says, "You like."

   19         And Mr. Osmakac says, "Yeah, I like."

   20         The UCE says, "That was hard."

   21         Osmakac says, "Yeah, but what is it for?"

   22         The UCE said, "That is hard."

   23         Osmakac says, "What is it for?"

   24         The UCE says, "I thought, see, first in the beginning."

   25         Osmakac says, "Yeah."



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    1         The UCE says, "When the first I heard, I thought it was

    2    for making a video."

    3         Correct?

    4    A.   I'm sorry, what's the question?

    5    Q.   The UCE said that the black flag was for making a video.

    6    A.   He does say that, yes.

    7    Q.   Mr. Osmakac -- that's because Mr. Osmakac asked him what

    8    it was for, correct?

    9    A.   That's correct, yes.

   10               MR. PETER TRAGOS:     I have nothing further, Your

   11    Honor.

   12               (Brief pause.)

   13               Your Honor, the defense would request any Jencks

   14    material on this witness.

   15               MR. MCGOVERN:     Your Honor, for the record, the

   16    Government has provided all discovery, including Jencks to the

   17    defense in this matter.

   18               THE COURT:    All right.

   19               Any redirect of this witness?

   20               MR. MCGOVERN:     Just briefly, Your Honor.

   21                            REDIRECT EXAMINATION

   22    BY MR. MCGOVERN:

   23    Q.   Mr. Kohlmann, I'd like to direct your attention to

   24    Government's Exhibit 124-A.

   25               MS. SWEENEY:    I'm sorry, Mr. McGovern, what did you



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    1    say?

    2                  MR. MCGOVERN:    124-A.

    3    BY MR. MCGOVERN:

    4    Q.     Sir, do you see what has been marked as 124-A,

    5    Government's Exhibit?

    6    A.     Yes.

    7    Q.     That's already been identified as a picture of the

    8    Defendant when the martyrdom video was filmed.         Sir, do you see

    9    anywhere in that photograph a black flag?

   10    A.     No, you're correct, it's not in this image.

   11    Q.     Were you mistaken about that earlier?

   12    A.     I was --

   13                  MR. GEORGE TRAGOS:    Objection.   I'm sorry.

   14                  MR. PETER TRAGOS:    Objection, Your Honor.

   15                  THE COURT:   Overruled.

   16                  THE WITNESS:    I was mistaken, that's correct, sir, I

   17    thought the black flag was behind him, but it's not.

   18    BY MR. MCGOVERN:

   19    Q.     Thank you.

   20           Sir, you were asked about grant monies.

   21    A.     Yes.

   22    Q.     You were asked about grant monies for research and/or

   23    work?

   24    A.     That's correct.

   25    Q.     And you indicated that that came from foreign countries?



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    1    A.   That's correct.

    2    Q.   What foreign countries offered you grant money?

    3    A.   My company was given a joint grant from the Government of

    4    Canada.   It's a grant known as the Kanishka Grant, K-A-N-I --

    5               THE COURT:    The question was what countries?

    6               THE WITNESS:    Excuse me, Your Honor, Canada.

    7    BY MR. MCGOVERN:

    8    Q.   And for what purpose did Canada provide a grant to you?

    9    A.   To understand the process by which home grown extremists

   10    can radicalize primarily using the Internet, violent home grown

   11    extremists, otherwise known as Lone Wolves.

   12    Q.   And the last thing that the defense cross-examined you on

   13    was a reference by the UCE regarding a video.         From your review

   14    of the discovery, are you able to determine whether or not the

   15    reference to a video meant a YouTube video or a martyrdom

   16    video?

   17               MR. PETER TRAGOS:     Objection, leading.

   18               THE COURT:    Overruled as to leading.

   19               THE WITNESS:    I can't.

   20               MR. MCGOVERN:     Thank you.

   21               THE COURT:    You can remove the image.

   22               MR. MCGOVERN:     Nothing further, Your Honor.

   23               THE COURT:    Thank you, sir.     You may step down.

   24               THE WITNESS:    Thank you, Your Honor.

   25               (Witness excused.)



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    1               THE COURT:    Please call your next witness.

    2               MS. SWEENEY:    Your Honor, may I have just a moment to

    3    consult with Mr. Tragos?

    4               THE COURT:    You may.

    5               MS. SWEENEY:    Thank you.

    6               (Brief pause.)

    7               Your Honor, at this time, the Government moves to

    8    admit Government's Exhibit 50-B.

    9               THE COURT:    Is this based on a conversation you had

   10    with Mr. Tragos?

   11               MS. SWEENEY:    Yes, Your Honor.

   12               THE COURT:    I need the jury to step out.

   13               (Jury excused.)

   14               Yes, ma'am.

   15               MS. SWEENEY:    Your Honor, I understand that the

   16    defense does not object to stipulating to three pieces of

   17    evidence that eliminates the need for a witness.          It's

   18    Government's Exhibit 50-B, which is a picture of the hotel room

   19    after essentially just showing the items present there after

   20    the Defendant's arrest.      Government's Exhibit 14 and

   21    Government's Exhibit 19-A, 14 and 19-A are respectively a note

   22    with two phone numbers written on it and a cellular telephone.

   23               THE COURT:    And the two numbers are what numbers?

   24               MS. SWEENEY:    Well, Your Honor, we will call a

   25    witness to testify to the analysis of the cell phone in 19-A.



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    1    Actually, I apologize, Your Honor.       The cell phone in 18-A, the

    2    one that the UC gave to the Defendant on the night of his

    3    arrest, these two numbers are programmed into that phone.           One

    4    of them is under the letter A and one of them is under the word

    5    "Cuzz", C-U-Z-Z.    And as to both of these items, the Defendant

    6    makes statements in the UC recordings that he threw them over

    7    the wall from the -- when he was meeting with the UC.

    8               THE COURT:    So Exhibit 50-B is the hotel room,

    9    Exhibit 14 is the phone or is it the piece of paper?

   10               MS. SWEENEY:    It is the note, the piece of paper.

   11               THE COURT:    And then Exhibit 18-A is the phone?

   12               MS. SWEENEY:    No, I'm sorry, Your Honor.       19-A is the

   13    phone.   The note relates to Exhibit 18-A.

   14               THE COURT:    And 19-A is just a phone?

   15               MS. SWEENEY:    Yes, Your Honor.     The Government will

   16    offer evidence of phone numbers that were on the phone to show

   17    that it was the Defendant's, essentially.

   18               THE COURT:    And is the Defendant stipulating to the

   19    Government's ability to do that or just to the admission of the

   20    phone?

   21               MS. SWEENEY:    Just to the admission of the phone.

   22               THE COURT:    And so someone else, some forensic person

   23    is going to testify as to the content?

   24               MS. SWEENEY:    That's correct, Your Honor.

   25               THE COURT:    Mr. Tragos?



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    1                MR. GEORGE TRAGOS:      That's correct, Your Honor.      It

    2    eliminates a witness that was just coming in just to say the

    3    agent found the phone in the bushes, and we're going to be

    4    questioning, they found the phone in the bushes.          And this

    5    photo is accurate and so -- and the piece of paper was also

    6    found in the bushes, so they're going to connect it up with

    7    another witness, but the mere finding of them, we don't

    8    question.

    9                THE COURT:   And the photos of the hotel room?

   10                MS. SWEENEY:   Yes, we don't question the accuracy of

   11    that.

   12                THE COURT:   All right.

   13                And you have discussed that with the Defendant?

   14                MS. SWEENEY:   Yes, I have.

   15                THE COURT:   Mr. Osmakac, is that true?

   16                THE DEFENDANT:    Yes.

   17                THE COURT:   And do you have any objection to the

   18    admission of those pieces of evidence?

   19                THE DEFENDANT:    No.

   20                THE COURT:   All right.

   21                Please recall the jury.

   22                Anyone promise you anything for that agreement,

   23    Mr. Osmakac?

   24                THE DEFENDANT:    No.

   25                THE COURT:   Anyone threaten you to get you to make



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    1    that agreement?

    2               THE DEFENDANT:     No.

    3               (Jury returned to the courtroom.)

    4               THE COURT:    Is this your last witness, Ms. Sweeney?

    5               MS. SWEENEY:    There is one more very short witness,

    6    Your Honor, after the next -- I'm sorry, the next witness is

    7    Keith Arndt who will testify to the analysis of the cell

    8    phones.   The final witness is Jeff Fuller who will testify

    9    about the location of the van that the Defendant drove away

   10    from the Days Inn.

   11               THE COURT:    All right.

   12               (Jury in.)

   13               Counsel, please call your next witness.

   14               MS. SWEENEY:    Your Honor, at this time, the

   15    Government moves into evidence exhibits -- Government's

   16    Exhibits 50-B, 14 and 19-A.

   17               THE COURT:    They'll be received.

   18               (Thereupon, Government's Exhibit Numbers 50-B, 14 and

   19    19-A were received and filed in evidence.)

   20               MS. SWEENEY:    Your Honor, may I display these briefly

   21    to the jury?

   22               THE COURT:    You may.

   23               MS. SWEENEY:    This is Government's Exhibit 50-B.        It

   24    is a picture of the hotel room where the Defendant met with the

   25    undercover and it shows what it looked like after their meeting



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    1    on January 7th of 2012.

    2               This is Government's Exhibit 14.        It is a piece of

    3    paper that was -- with two phone numbers written on it.           That

    4    was found in the parking lot adjacent to the Days Inn Hotel on

    5    January 8th of 2012.

    6               Finally, Exhibit 19-A is a cell phone that was found

    7    in the parking lot adjacent to the Days Inn on January 8th of

    8    2012.

    9               At this time, the Government calls Keith Arndt to the

   10    stand.

   11    Thereupon,

   12                              KEITH ARNDT,

   13    After having been duly sworn to tell the truth, the whole truth

   14    and nothing but the truth, under penalty of perjury, was

   15    examined and testified as follows:

   16               THE WITNESS:    Yes, I do.

   17               THE CLERK:    Thank you, please be seated.

   18               Please state your name and spell your last for the

   19    record.

   20               THE WITNESS:    Keith Arndt, A-R-N-D-T.

   21               THE COURT:    Mr. Arndt, you're under oath.       You must

   22    give truthful answers to any questions that are asked.           If you

   23    give false answers, you face penalties of perjury, false

   24    statement and obstruction of justice.

   25               Do you understand that?



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    1                THE WITNESS:    Yes, Your Honor.

    2                THE COURT:   Wait until counsel completes their

    3    questions before you begin your answer so you're not speaking

    4    over them.    And if you see opposing counsel stand to object,

    5    wait until I rule on the objection before you begin your

    6    answer.

    7                Do you understand that?

    8                THE WITNESS:    Yes, Your Honor.

    9                THE COURT:   Your collar is not properly adjusted.        I

   10    don't know if that is your intent, but you might want to

   11    address it.    Thank you.

   12                Counsel.

   13                MS. SWEENEY:    Thank you, Your Honor.

   14                             DIRECT EXAMINATION

   15    BY MS. SWEENEY:

   16    Q.   Sir, who do you work for?

   17    A.   The Federal Bureau of Investigation.

   18    Q.   And what is your position there?

   19    A.   I'm a digital forensic analyst.

   20    Q.   What was that last word?

   21    A.   I analyze digital forensics.

   22    Q.   And how long have you been in that position?

   23    A.   I've been doing that for approximately 20 years.

   24    Q.   And that whole time, were you with the FBI?

   25    A.   Yes.



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    1    Q.   Have you received training in that area?

    2    A.   Yes, I have.

    3    Q.   In this case, what was your primary role with respect to

    4    the evidence we're going to discuss today?

    5    A.   I processed several cell phones.

    6    Q.   And do you have training specifically on how to process

    7    cell phones?

    8    A.   Yes, I do.

    9    Q.   Can you describe, generally, the process by which you

   10    obtain evidence from cell phones?

   11    A.   Sure.    The way the process works is a request will come in

   12    to our squad that some digital evidence needs to be examined.

   13    In this case, it was for several cell phones.         Our supervisor

   14    assigns me the task of analyzing these cell phones.          So then

   15    the first step, I would go to our evidence room where I check

   16    out the cellular phones that need to be examined.          I take them

   17    to our lab which is in the same building.        I conduct a physical

   18    examination of them.     I label them with an identifying number

   19    we use.   And then I will start the process of extracting data

   20    from them.

   21         For the main tool we use is a -- it's kind of like a

   22    computer.    It's called a Cellebrite.      It's an electronic device

   23    we attach to the cell phone which then extracts the data from

   24    the cell phone.    Each cell phone, depending on the make and

   25    model, there's certain data that this will or will not extract.



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    1         Some cell phones, the only thing it will extract would be

    2    perhaps the contact list, maybe the call logs, other cell

    3    phones.    It will extract a lot more data to include SMS

    4    messages, email messages, things like that.         So each individual

    5    phone can be different in what we're able to actually extract

    6    from it.

    7         So once the data is extracted, then I will burn that

    8    information onto a CD or DVD, depending on how much it is.

    9    Then also depending on what the investigators may be looking

   10    for and what the Cellebrite device is able to extract, we may

   11    view the cell phone, and if there's any items on that cell

   12    phone that are of interest to the investigators, then we could

   13    take pictures of the actual screen to capture that sort of

   14    information.

   15    Q.   And sir -- I'm sorry.

   16    A.   And that finishes the way we do an examination.

   17    Q.   The process you just described at the end, viewing it and

   18    perhaps taking pictures, that's -- is that in addition to using

   19    the Cellebrite equipment?

   20    A.   On some phones, the Cellebrite gets some information, and

   21    then we may need to take photographs.        But then there's other

   22    phones that may not be supported at all, so the Cellebrite

   23    isn't even used and everything would be pictures.

   24    Q.   And so when you get a cell phone to conduct an exam of it,

   25    do you know, factually, where that phone came from?



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    1    A.   No, I don't.

    2    Q.   Sir, I just handed you what's been marked as Government's

    3    Exhibits 17-A and 17-B.      Let's start with 17-B.     What is that?

    4    A.   17-B, this is a portion of the report that the Cellebrite

    5    provides of the data that was extracted from the cell phone.

    6    Q.   And what is Government's Exhibit 17-A?

    7    A.   17-A is a cell phone.      It's a Kyocera cell phone.

    8               THE COURT:    Is that phone on?

    9               THE WITNESS:    No, Your Honor.

   10               THE COURT:    You may proceed.

   11               MS. SWEENEY:    Thank you, Your Honor.

   12    BY MS. SWEENEY:

   13    Q.   I'm sorry, Agent.     You were explaining what 17-A is.

   14    A.   Yes, it's a Kyocera cell phone.

   15    Q.   And is it the cell phone that you analyzed to get the

   16    results in 17-B?

   17    A.   Yes, it is.

   18    Q.   And how can you tell that?

   19    A.   On the back of the cell phone, I've placed a sticker that

   20    has my initials and date as well as the number I assigned it

   21    from my examination.

   22    Q.   And did you do that at the time that you examined the

   23    phone?

   24    A.   Yes, I did.

   25    Q.   And are the results in 17 -- is the document in 17-B the



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    1    results of your analysis?

    2    A.   Yes, it is.

    3               MS. SWEENEY:    Your Honor, at this time, the

    4    Government moves Exhibit 17-B into evidence.

    5               MR. GEORGE TRAGOS:     A moment, Your Honor.      Could I

    6    see the exhibit?

    7               THE COURT:    You may.

    8               MR. GEORGE TRAGOS:     You said 17-B?

    9               MS. SWEENEY:    Yes.

   10               MR. GEORGE TRAGOS:     May I voir dire on this, Your

   11    Honor?

   12               THE COURT:    Yes, sir.

   13                            VOIR DIRE EXAMINATION

   14    BY MR. GEORGE TRAGOS:

   15    Q.   This is your report, 17-B, correct?

   16    A.   That's correct.

   17    Q.   And you've got some statuses here.        Does that mean that

   18    the number was dialed?

   19    A.   Is that under the -- does it say contact list?

   20    Q.   It says text messages, status sent.

   21    A.   Okay.    That means that that text message was sent in that

   22    phone.

   23               MR. GEORGE TRAGOS:     We would object to the entry of a

   24    report as opposed to the testimony.

   25               THE COURT:    Is the Government seeking to introduce



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    1    his report?

    2               MS. SWEENEY:    Your Honor, it's -- we're seeking to

    3    introduce the data extracted from the cellular phone.

    4               THE COURT:    Let me see it.     Which exhibit is it?

    5               MS. SWEENEY:    It's 17-B.

    6               (Brief pause.)

    7               THE COURT:    It will be received.

    8               (Thereupon, Government's Exhibit Number 17-B

    9    received and filed in evidence.)

   10    BY MS. SWEENEY:

   11    Q.   So, Agent, on the bottom of 17-B, there's an entry that

   12    says phone contacts.     What does that indicate?

   13    A.   This was extracted from the phone and it's from the area

   14    of the phone called contacts.       And in this area, people will --

   15    can enter in the phone numbers that tie in with a person's name

   16    or whatever they want to call it for that phone number, and

   17    some phones you may call it like an address book.

   18    Q.   And then, Agent, on page 22, there's an entry that reads

   19    phone AMS text messages.      What are these?

   20    A.   Okay.    This is the section from the text messages that

   21    were extracted from the phone.       If you look, for instance, to

   22    column number, that's the number that the text message was

   23    either sent to or from.      This name, that's taken from the

   24    contact list.    If it sees a phone number that's in the contact

   25    list, that's where the name comes from.        The date and time is



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    1    when it was sent.     The status, whether it was sent, which meant

    2    the phone sent it or where it's read.        That usually means the

    3    phone received it.     The folder, that's the folder on the phone

    4    where this was stored.     In this case, it was either in the sent

    5    folder or the in-box.     Storage, normally the two places it can

    6    be found on a phone is on the phone itself, which is, in this

    7    case, or there may be like a micro SD storage card on the phone

    8    and sometimes they can store the messages there.          Type, again

    9    whether it was outgoing, which meant it was sent from the phone

   10    or incoming.    And then the text, that's the context of the

   11    message that was sent or received.

   12    Q.   Okay.    Agent, I've handed you a number of exhibits.         Let's

   13    start with Government's Exhibit 18-A.

   14         Is that a cell phone that you have analyzed?

   15    A.   Yes, it is.

   16    Q.   And how do you know that?

   17    A.   In this case, I have my date and initials on the evidence

   18    tape.

   19    Q.   And did you examine it pursuant to the procedure that we

   20    previously discussed?

   21    A.   Yes, I did.

   22    Q.   And what is Government's Exhibit 18-B?

   23    A.   This is the report that the Cellebrite produced of the

   24    extracted data from the phone which is Exhibit 18-A.

   25               MS. SWEENEY:    Your Honor, at this time, the



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    1    Government moves Exhibit 18-B into evidence.

    2                MR. GEORGE TRAGOS:    Same objection, Your Honor, the

    3    best evidence, the report, hearsay and testimony is the best

    4    evidence.

    5                THE COURT:   It will be received.

    6                (Thereupon, Government's Exhibit Number 18-B was

    7    received in evidence.)

    8    BY MS. SWEENEY:

    9    Q.   I'd like you to take a look at Exhibit 18-C.          What is that

   10    item?

   11    A.   This is a photo I took of the screen of the phone on one

   12    of the settings.

   13    Q.   And why did you have to -- why did you do that in this

   14    instance?

   15    A.   In this case, I was asked about any --

   16                MR. GEORGE TRAGOS:    Objection, hearsay.

   17                THE COURT:   Overruled.

   18                THE WITNESS:   In this case, I was asked about any

   19    information I could find on the phone as to why there may not

   20    be any text messages on the phone.       And in the settings -- one

   21    of the settings is the auto erase in-box, and what this is, is

   22    if this is turned on and you read a message, a text message,

   23    then it automatically deletes it as opposed to keeping it on

   24    the phone.

   25



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    1    BY MS. SWEENEY:

    2    Q.   And how do you know that that's a picture that you took

    3    from Government's Exhibit 18-A?

    4    A.   I have my initials on the back of the photo.

    5               MS. SWEENEY:    Okay.    Your Honor, at this time, the

    6    Government moves 18-C into evidence.

    7               THE COURT:    It will be received.

    8               (Thereupon, Government's Exhibit Number 18-C was

    9    received and filed in evidence.)

   10    BY MS. SWEENEY:

   11    Q.   So Agent, in looking at 18-B, starting on the first page,

   12    there's the phone contacts entry.       Does this have the same

   13    meaning as it did on Government's Exhibit 17-B?

   14    A.   Yes, it does.     A user of the phone entered in this phone

   15    number here and they also chose what they wanted to call it.

   16    In this case, it's the HAQQ.

   17    Q.   Does this phone also have additional entries in it,

   18    additional phone contact entries?

   19    A.   Yes, it does.

   20    Q.   Is that what is shown on the screen right now?

   21    A.   Yeah, the top three entries onto this page are from the

   22    contact list.

   23    Q.   Agent, I've handed you Government's Exhibit 14.          Please

   24    read the two numbers that appear on that piece of paper.

   25    A.   The first number is (727)871-5549 and the second one is



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    1    (727)768-2046.

    2    Q.     Thank you.

    3           Back on 18-B on page two, did you locate any text messages

    4    on the phone?

    5    A.     Cellebrite extracted one text message and that was this

    6    one.

    7    Q.     What's the date onto that one, Agent?

    8    A.     The date is 6/22/06.

    9    Q.     Were any text messages from a later time extracted?

   10    A.     No, there weren't.

   11    Q.     And Agent, is this a picture of the phone itself?

   12    A.     Yes, it's a picture of the screen of the phone.

   13    Q.     And when you powered up the phone, was this option, auto

   14    erase in-box, on at the time you powered up the phone and took

   15    this picture?

   16    A.     Yes.   You had to go into the settings and click onto this

   17    option and this is the way it appeared once I clicked on it.

   18    Q.     Agent, I've handed you Government's Exhibits 19-A and

   19    19-C.    In looking at Government's Exhibit 19-A, is this the

   20    phone that you examined?

   21    A.     Yes, it is.

   22    Q.     And how can you tell?

   23    A.     I have my initial and dates on a sticker on the back.

   24    Q.     I'd like to ask you now to look at Government's Exhibit

   25    19-C.



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    1    A.   All right.

    2    Q.   What is that?

    3    A.   This is the Cellebrite report for the phone in 19-A.

    4               MS. SWEENEY:    Your Honor, the Government moves 19-C

    5    into evidence.

    6               MR. GEORGE TRAGOS:     Same objections, Your Honor, as

    7    17-B.

    8               THE COURT:    Be received.

    9               (Thereupon, Government's Exhibit Number 19-C was

   10    received and filed in evidence.)

   11    BY MS. SWEENEY:

   12    Q.   So, on this phone, starting on page one, we're going to go

   13    over on to the second page.      Does the report indicate that this

   14    phone had numbers programmed into it?

   15    A.   Yes, it does.

   16    Q.   And are these on the second page is that some of the

   17    numbers that are programmed into the phone?

   18    A.   Yes, they are.

   19               MS. SWEENEY:    Your Honor, I have nothing further for

   20    this witness.

   21               THE COURT:    Counsel.

   22                              CROSS-EXAMINATION

   23    BY MR. GEORGE TRAGOS:

   24    Q.   Agent, you analyzed three phones, correct; 19-A, 17-A and

   25    18-A?



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    1    A.   That's correct.

    2    Q.   And do you know who purchased these phones?

    3    A.   No, I do not.

    4    Q.   Do you know who activated these phones?

    5    A.   No, I do not.

    6    Q.   Do you know -- you say that on one of these phones you had

    7    a setting, deleting text message setting?

    8    A.   Auto -- I can look.

    9    Q.   Auto erase in-box, right?       That's 18-C?

   10    A.   That's correct.

   11    Q.   Do you know who did that?

   12    A.   No, I do not.

   13    Q.   Do you know what the default is on that?

   14    A.   No, I do not.

   15    Q.   So this "on" could be the default setting?

   16    A.   It's possible.

   17    Q.   So actually, it's possible that nobody had to do anything

   18    and the default setting "on" would be on?

   19    A.   That's correct.

   20    Q.   And on one of these you found, I guess, a partial text

   21    message or evidence of a text message on the 22nd of June?

   22    A.   Was that the last --

   23    Q.   I think that is 18-B.

   24    A.   Yes, this was extracted from the phone.

   25    Q.   The status of unread; what does that mean?



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    1    A.   That means that as far as the phone is concerned that the

    2    message hasn't been read by a user as it was clicked on to see.

    3    This is kind of unusual in that the date is back in 2006.           It's

    4    entirely possible that if a user --

    5               THE COURT:    The question is, what did that mean?

    6               THE WITNESS:    I'm sorry.    It means it has not been

    7    read by a user.

    8    BY MR. GEORGE TRAGOS:

    9    Q.   And this is in the in-box, so that would mean this is an

   10    incoming text, correct?

   11    A.   That's correct.

   12    Q.   And in 2006, that's when this text was sent, according to

   13    the --

   14    A.   According to this, yes.

   15    Q.   Okay.    Do you know who any of these phone numbers are

   16    registered to?

   17    A.   No, I do not.

   18    Q.   You did an examination and some of these things look kind

   19    of curious about, selected manufacturer Kyocera CDMA.          What is

   20    that, K-Y-O-C-E-R-A?

   21    A.   That's the name of the manufacturer of the phone, Kyocera.

   22    Q.   Okay.    So, regardless if it was a Samsung, actually

   23    somebody else manufactured it or is this a Kyocera phone?

   24    A.   Which exhibit are you looking at?

   25    Q.   17-B.



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    1    A.   In this case, the manufacturer is Kyocera.         One of the

    2    other phones was a Samsung.

    3    Q.   So what does CDMA mean?

    4    A.   That's the type of network the phone operates on.           It

    5    stands for code division multiple access.

    6    Q.   And you have some text messages on -- let me find it --

    7    17-B?

    8    A.   17-B, yes.

    9    Q.   And these are text messages that were saved on the phone,

   10    correct?

   11    A.   Yes, they are present on the phone.

   12    Q.   They weren't deleted, I guess, you didn't retrieve --

   13    A.   Right, these weren't recovered or deleted, these were

   14    actual files.

   15    Q.   And there's four of them?

   16    A.   Correct.

   17    Q.   And all four show a sent -- three show a sent status?

   18    A.   Correct, three sent, one read.

   19    Q.   What is the difference between sent and read?

   20    A.   If you look over a couple more columns under type, the

   21    sent means they were outgoing and that phone sent them.           And

   22    then the read means it was incoming, someone sent that to this

   23    phone.

   24    Q.   Okay.    And the incoming, it says here, date and time,

   25    January 7th 2012 at 6:04; is that a.m. or p.m.?



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    1    A.   P.m.

    2    Q.   Does the phone only record the time that's there or is

    3    there an automatic setting on the phone that tells you what the

    4    date and time is?

    5    A.   For most phones, whenever the phone is turned on, it

    6    automatically corrects its date and time with the cell towers.

    7    Q.   This phone, 17-A, did it do that?

    8    A.   I wouldn't know.      You can't really tell.     The only thing I

    9    can tell is when I process it if the date and time is correct

   10    at that time.    Like a week ago, it could have been different

   11    depending on issues, but for the most part, cell phones, the

   12    date and time is correct 'cause it's constantly updating

   13    itself.

   14    Q.   So on this phone, the total number of text messages are

   15    four, three sent and one read, correct?

   16    A.   That were present on the phone, yes.

   17    Q.   Can you tell when the phone was activated?

   18    A.   No, I can't.

   19                MR. GEORGE TRAGOS:    That's all I have, Your Honor.

   20                THE COURT:    Redirect.

   21                             REDIRECT EXAMINATION

   22    BY MS. SWEENEY:

   23    Q.   I have one brief matter.

   24         Agent, do you have 17-B in front of you still?

   25    A.   Yes I do.



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    1    Q.   Mr. Tragos asked you about the text messages and the date

    2    and time settings.     What is the -- what is the identification

    3    number for that phone; the one you give it?

    4    A.   Oh, the one I give it.      That would be QTB007.

    5    Q.   Do you know if when you reviewed that phone, initially, if

    6    the date and time settings were correct?

    7    A.   Yes, they were.

    8               MS. SWEENEY:    I have nothing further, Your Honor.

    9               THE COURT:    You may step down, sir.      Thank you.

   10               (Witness excused.)

   11               How long is the inquiry for your last witness?

   12               MS. SWEENEY:    He's probably less than 10 minutes,

   13    Your Honor, but I'm not -- I don't know about cross.          He will

   14    be here tomorrow so we can certainly take him up first thing

   15    tomorrow morning.

   16               THE COURT:    Can the jury indulge me 10 or 15 minutes

   17    to get this last witness on?

   18               Please call your witness.

   19               MS. SWEENEY:    The United States calls Jeffrey Fuller.

   20    Thereupon,

   21                            JEFFREY ALLEN FULLER,

   22    after having been duly sworn to tell the truth, the whole truth

   23    and nothing but the truth, under penalty of perjury, was

   24    examined and testified as follows:

   25               THE WITNESS:    I do.



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    1               THE CLERK:    Thank you.    Please be seated.     Please

    2    state your name and spell your last for the record.

    3               THE WITNESS:    Jeffrey Allen Fuller, F-U-L-L-E-R.

    4               THE COURT:    Mr. Fuller, you're under oath.       You must

    5    give truthful answers to the questions that are asked.           If you

    6    give false answers, you face penalties of perjury, false

    7    statement and obstruction of justice.

    8               Do you understand that?

    9               THE WITNESS:    Yes, Your Honor.

   10               THE COURT:    Also, listen carefully to the question.

   11    Wait until counsel finishes the question before you start to

   12    answer so you're not talking over her.        And if you see opposing

   13    counsel stand to object, wait until I rule on the objection

   14    before you answer.

   15               Do you understand that?

   16               THE WITNESS:    Yes, Your Honor.

   17               THE COURT:    Counsel.

   18               MS. SWEENEY:    Thank you, Your Honor.

   19                                DIRECT EXAMINATION

   20    BY MS. SWEENEY:

   21    Q.   Sir, who do you work for?

   22    A.   The FBI.

   23    Q.   And how long have you worked for the FBI?

   24    A.   Nine and a half years.

   25    Q.   What is your current position?



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    1    A.   I'm a -- with a mobile surveillance team as a special

    2    agent.

    3    Q.   I'd ask you to pull just a little bit closer to the mic,

    4    just a teeny bit.     There you go.

    5    A.   I'm a special agent with the mobile surveillance team.

    6    Q.   And how long have you held that position?

    7    A.   Three years.

    8    Q.   Prior to that, what did you do?

    9    A.   Investigating counterterrorism.

   10    Q.   Were you involved in surveillance of the Defendant on

   11    January 7, 2012?

   12    A.   Yes.

   13    Q.   What was your task that day?

   14    A.   That day, we were essentially in a standby mode in the

   15    event that we were needed to help out with surveillance.

   16    Q.   Did you come to be asked to locate a car related to this

   17    investigation?

   18    A.   Yes.

   19    Q.   I'm going to ask you to take a look at Government's

   20    Exhibit 51 that's sitting in front of you.

   21    A.   Okay.

   22    Q.   Do you recognize that?

   23    A.   Yes.

   24    Q.   What is it?

   25    A.   That is the vehicle that was parked by the Defendant to be



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    1    used as a get-away vehicle.

    2    Q.   And did you --

    3                MR. GEORGE TRAGOS:    Objection to the

    4    characterization, Your Honor.

    5                THE COURT:   Sustained.

    6    BY MS. SWEENEY:

    7    Q.   Agent, did you locate this vehicle during the course of

    8    this investigation on January 7 of 2012?

    9    A.   Yes.

   10    Q.   And is this a picture of where you located it?

   11    A.   Yes, it is.

   12    Q.   And although this isn't very zoomed out, do you know the

   13    location where this was?

   14    A.   Yes.

   15    Q.   And can you briefly describe that?

   16    A.   It's a parking lot behind a small row of restaurants and

   17    shops.   There's a Starbucks there and it's near the

   18    intersection of South Howard Street and Swann.

   19    Q.   Is this picture -- does it accurately reflect what you saw

   20    that evening?

   21    A.   Yes.

   22                MS. SWEENEY:   Your Honor, the Government moves

   23    Exhibit 51 into evidence.

   24                MR. GEORGE TRAGOS:    No objection.

   25                THE COURT:   It will be received.



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    1                (Thereupon, Government's Exhibit Number 51 was

    2    received and filed in evidence.)

    3    BY MS. SWEENEY:

    4    Q.   Agent, I first want to show you an exhibit that's already

    5    been admitted, Government's Exhibit 21.        Have you seen this

    6    before?

    7    A.   It's a map of the Tampa region.

    8    Q.   And do you see the indication on there for a Starbucks?

    9    A.   Yes.

   10    Q.   Is that -- is that where -- does that accurately indicate

   11    where the van was that evening when you saw it?

   12    A.   Yes.

   13    Q.   Agent, can you -- on this picture, Government's Exhibit

   14    51, can you read the license plate on that exhibit?

   15    A.   Yes.

   16    Q.   What is it?

   17    A.   896 XSA, Florida license plate.

   18    Q.   I'd like to ask you now to look at Government's Exhibit 13

   19    which has already been admitted and is in front of you.

   20         Do you see that?

   21    A.   Is it the key?

   22    Q.   Yes, I think -- do you see it?

   23    A.   Yes.

   24    Q.   And so you said that's a key, right?

   25    A.   Yes.



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    1    Q.   I'd like you to look at the plastic tag attached to it.

    2    Do you see on that tag the notation 896 XSA?

    3    A.   Yes.

    4                MS. SWEENEY:    No further questions, Your Honor.

    5                               CROSS-EXAMINATION

    6    BY MR. GEORGE TRAGOS:

    7    Q.   When you followed the Defendant, you followed this car,

    8    this Dodge?

    9    A.   No, I did not follow it myself.

   10    Q.   Have you seen this Dodge before?

   11    A.   Not until I found it that evening.

   12    Q.   You told the prosecutor that this is what the Defendant

   13    was going to use for -- use later on, right?

   14    A.   Yes.

   15    Q.   But you, yourself, did not talk to the Defendant?

   16    A.   No.

   17    Q.   You didn't see the van -- I'm sorry?

   18    A.   I did not say that he was going to use it later on, I said

   19    that he had dropped it off there.

   20    Q.   Did you see him drop it off there?

   21    A.   No.

   22    Q.   Did you follow him there?

   23    A.   No, I did not.

   24    Q.   Did you ever see him in it?

   25    A.   I did not.



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    1    Q.   Do you know who owns it?

    2    A.   No, not off the top of my head.        I don't know who owns it.

    3                MR. GEORGE TRAGOS:    Your Honor, can we have a

    4    sidebar?

    5                THE COURT:   Yes, sir.

    6                (Thereupon, the following discussion was had at

    7    sidebar:)

    8                MR. GEORGE TRAGOS:    Your Honor, I thought he

    9    testified that he identified this car as the car the Defendant

   10    was going to use.     You know, he can't put this stuff in

   11    evidence.    He never even knew the car had anything to do with

   12    this case.

   13                THE COURT:   Counsel.

   14                MS. SWEENEY:   Your Honor, all he testified to was

   15    that he found this vehicle in this location as depicted in this

   16    picture and that vehicle has a license plate that has been

   17    reflected on the rental car key that the UC gave to the

   18    Defendant.    That's really the only -- his only testimony is he

   19    found this.

   20                THE COURT:   How is this tied into the case?       Did the

   21    UCE testify that was the rental car key?

   22                MS. SWEENEY:    Yes, Your Honor, and it was admitted in

   23    evidence through him.      He had provided it to the Defendant and

   24    then they -- nobody did see the Defendant -- he was -- had very

   25    loose surveillance that night, nobody saw him.         They found this



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    1    van parked behind the Starbucks which is this witness' only

    2    testimony.

    3                THE COURT:   Well, it's not his only testimony, but it

    4    was objected to, and the Court sustained the objection, but he

    5    said he found the car in the Starbucks and that's the key that

    6    matches the car and that's the tag that matches the car, and

    7    he -- the UCE testified that that's the key he gave the

    8    Defendant.    That's the sole content of his testimony.        He did

    9    not say he surveilled the Defendant to this location.

   10                MR. GEORGE TRAGOS:     I would ask -- I would make a

   11    motion in Court that we strike this witness' testimony as being

   12    irrelevant, and if not, then I'll strike it as his testimony is

   13    irrelevant.

   14                THE COURT:   Overruled.    You can continue to cross him

   15    if you like.

   16                (Thereupon, the sidebar discussion was concluded and

   17    the proceedings resumed as follows:)

   18    BY MR. GEORGE TRAGOS:

   19    Q.     So from your personal knowledge, you know nothing other

   20    than you went -- you went to this location and saw this van,

   21    that's it?    That's all you personally know, right?

   22    A.     Well, I certainly didn't see the Defendant in the van.

   23                THE COURT:   You can't talk about what anybody told

   24    you.    You can just talk about what you observed personally.

   25                THE WITNESS:   Okay.    Fair enough.    Yes.



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    1    BY MR. GEORGE TRAGOS:

    2    Q.   That's a yes?

    3    A.   Yes.

    4                MR. GEORGE TRAGOS:    That's all the questions I have.

    5                THE COURT:   All right.

    6                You can step down, sir.

    7                I'm sorry.   You have redirect of this witness?

    8                MS. SWEENEY:   No, Your Honor, thank you.

    9                THE COURT:   All right.

   10                You may step down.

   11                (Witness excused.)

   12                And for the record, the jury is to disregard any

   13    statement by this witness who just left that this is a car the

   14    Defendant placed there as a get-away car.        He has no personal

   15    knowledge of that fact.      It was objected to and that objection

   16    was sustained.

   17                Anything further from the Government?

   18                MS. SWEENEY:   Your Honor, I would like to have the

   19    evening -- and no further witnesses at this time.          I would like

   20    to rest in the morning, if possible.

   21                THE COURT:   That's fine.

   22                MR. GEORGE TRAGOS:    Can we have a sidebar for a

   23    moment?

   24                THE COURT:   Yes.

   25                (Thereupon, the following discussion was had at



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    1    sidebar:)

    2                MR. GEORGE TRAGOS:    I know what's going to be the

    3    answer to this.    We start at 8:30, but we have our doctors

    4    coming tomorrow morning.      I think we will be done by noon or

    5    maybe 1:00 or 2:00 o'clock.

    6                THE COURT:   Is the intent to call the Defendant or

    7    not to call the Defendant?

    8                MR. GEORGE TRAGOS:    I will tell you the intent is not

    9    to call the Defendant.

   10                THE COURT:   What's your question?

   11                MR. GEORGE TRAGOS:    What I'm suggesting to the Court,

   12    I'm sure that both -- we both want to take a look also and make

   13    sure what evidence is in evidence and make sure everything is

   14    all straight.    We have a short audio and DV argument.        We have

   15    jury instructions at some point we have to go through that we

   16    can do that tomorrow afternoon.       Again, I don't know, early

   17    afternoon is probably when we will be done.         The Government I

   18    know has two psychiatrists at great expense to them.

   19                THE COURT:   What is the question?

   20                MR. GEORGE TRAGOS:    Can we -- last thing, may we have

   21    the jury come in at 9:30 tomorrow so we can get all of these

   22    things done?

   23                THE COURT:   I'm not sure what the things are.

   24                MR. GEORGE TRAGOS:    Go through all the exhibits and

   25    do our audio and video.



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    1               THE COURT:    Is the Government intending to call

    2    rebuttal witnesses as to psychiatric issues?

    3               MS. SWEENEY:    Yes, Your Honor.

    4               THE COURT:    At what time do you think you'll be done

    5    with your direct of your witness?

    6               MR. GEORGE TRAGOS:     I don't know.     I was suggesting

    7    they put theirs on on Monday.

    8               MS. SWEENEY:    Our witnesses will be here to observe

    9    the Defendant's -- the testimony of the defense experts.

   10               THE COURT:    Why Monday?

   11               MR. GEORGE TRAGOS:     Well, I thought if they weren't

   12    here.   I'm sorry.

   13               MS. SWEENEY:    They are here, so if it does go into

   14    tomorrow afternoon, we could put on our first rebuttal witness

   15    tomorrow afternoon.

   16               THE COURT:    How many do you have?

   17               MS. SWEENEY:    Two, Your Honor, one psychologist and

   18    one psychiatrist, just like the defense has.

   19               THE COURT:    Why only one; you going to have somebody

   20    testify for four or three hours?

   21               MS. SWEENEY:    We'll have them both prepared in here

   22    and so, yes, they could potentially both go on Thursday or

   23    tomorrow afternoon.

   24               THE COURT:    So I still don't understand your --

   25               MR. GEORGE TRAGOS:     We don't have any problem



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    1    starting at 9:30 though.

    2                (Thereupon, the sidebar conference was concluded.)

    3                THE COURT:   Court will resume tomorrow morning at

    4    9:30.   Just plan to be here by tomorrow at 9:30 and we will

    5    continue the presentation of the evidence.         And so that we

    6    don't have to have a sort of truncated day, the Court will plan

    7    to order lunch tomorrow.      And so we'll probably take only about

    8    an hour for lunch tomorrow so we can sort of power through the

    9    rest of the day.    So I will order lunch tomorrow and we will

   10    start at 9:30.

   11                Again, thank you for your attention and your

   12    professionalism and your timeliness.        We will continue to keep

   13    you apprized of where we are.

   14                The Government has indicated that it thinks it's

   15    about done subject to review, so we may be done with the

   16    Government's case in chief, in which case, we are substantially

   17    ahead of schedule as we indicated and we'll just kind of keep

   18    you posted as we move through.

   19                Thank you for your attention.      We are dismissed.     We

   20    will take that break, Mr. Millian, if you still need it for

   21    tomorrow.

   22                JUROR MILLIAN:    Thank you, Your Honor.

   23                (Jury excused.)

   24                THE COURT:   Ms. Sweeney, what is it that the

   25    Government needs to evaluate before you rest, whether you put



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    1    in all the documentary evidence you intend to introduce?

    2               MS. SWEENEY:    Yes, Your Honor.     I just wanted to be

    3    sure that all the evidence that was necessary had been

    4    introduced, and just confirm that overnight, just to be sure,

    5    Your Honor.

    6               THE COURT:    But it's not anticipated there will be

    7    any testifying witnesses tomorrow from the Government in its

    8    case in chief?

    9               MS. SWEENEY:    I do not anticipate that at this time,

   10    Your Honor.

   11               THE COURT:    All right.

   12               Assuming then that the Government rests, the

   13    Defendant intends to make a DV argument; is that right?

   14               MR. GEORGE TRAGOS:     Yes, Your Honor.

   15               THE COURT:    And how long do you think that will

   16    require to argue?

   17               MR. GEORGE TRAGOS:     Ten, 15 minutes at the most.

   18               THE COURT:    All right.

   19               And then you would intend to call two witnesses?

   20               MR. GEORGE TRAGOS:     Yes, Your Honor.

   21               Your Honor, they're both experts.        I was wondering if

   22    one of the experts could sit in while my other expert

   23    testifies?

   24               THE COURT:    Any objection from the Government?

   25               MS. SWEENEY:    No objection, Your Honor.       We would ask



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    1    for the -- you know, our experts asked for the same permission

    2    to view the --

    3               THE COURT:    Well, the rule hasn't been invoked, so it

    4    doesn't matter.    They can sit in.

    5               Does the Defendant intend to testify?

    6               MR. GEORGE TRAGOS:     He does not, Your Honor.

    7               Does the Court want to do a colloquy today or

    8    tomorrow after the Government rests?

    9               THE COURT:    Let's inquire of the Defendant.

   10               Please swear Mr. Osmakac.

   11    Thereupon,

   12                                 SAMI OSMAKAC,

   13    after having been duly sworn to tell the truth, the whole truth

   14    and nothing but the truth, under penalty of perjury, was

   15    examined and testified as follows:

   16               THE DEFENDANT:     I do.

   17               THE COURT:    Mr. Osmakac, sir, you're under oath.

   18               Do you understand that?

   19               THE DEFENDANT:     Yes.

   20               THE COURT:    If you give me false answers, you face

   21    penalties of perjury, false statement and obstruction.

   22               Do you understand that?

   23               THE DEFENDANT:     Yes.

   24               THE COURT:    Mr. Tragos has advised the Court that it

   25    is your intent at this time not to testify in this case.



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    1               Did you hear that?

    2               THE DEFENDANT:     Yes.

    3               THE COURT:    Is that accurate?

    4               THE DEFENDANT:     Yes.

    5               THE COURT:    Has anyone threatened you to get you to

    6    give up the right to testify?

    7               THE DEFENDANT:     No.

    8               THE COURT:    Has anyone promised you anything to get

    9    you to give up the right to testify on your own behalf?

   10               THE DEFENDANT:     No.

   11               THE COURT:    Under our Constitution, sir, you're

   12    entitled to present a full defense.       In that regard, you're

   13    entitled to have counsel represent you in that defense and

   14    you're entitled to testify on your own behalf if you want to

   15    testify.

   16               You are also entitled, as you know, not to testify so

   17    as not to incriminate yourself.       By making this decision not to

   18    testify, you're giving up your right to defend yourself by your

   19    own testimony.

   20               Do you understand that?

   21               THE DEFENDANT:     Yes.

   22               THE COURT:    Without your testimony, the jury will be

   23    left to consider your guilt or innocence based solely upon the

   24    evidence the Government has introduced, its testimony and

   25    evidence, and any evidence your lawyer may offer on your behalf



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    1    as well as your lawyer's cross-examination of the witnesses

    2    presented by the Government.

    3               Do you understand that?

    4               THE DEFENDANT:     Yes.

    5               THE COURT:    What do you understand that you are doing

    6    in regard to what we're discussing now, in your own words, Mr.

    7    Osmakac?

    8               THE DEFENDANT:     I'm giving up my right to testify.

    9               THE COURT:    Has anyone threatened you to get you to

   10    give up your right to testify?

   11               THE DEFENDANT:     No.

   12               THE COURT:    Has anyone promised you anything to

   13    induce you to give up your right to testify?

   14               THE DEFENDANT:     No.

   15               THE COURT:    Has anyone promised you a specific

   16    outcome if you choose not to testify?

   17               THE DEFENDANT:     No.

   18               THE COURT:    Have you had a full opportunity to

   19    discuss this decision with your lawyers before you made the

   20    decision not to testify?

   21               THE DEFENDANT:     Yes.

   22               THE COURT:    Are you satisfied with the representation

   23    your lawyers have provided for you in regard to this issue?

   24               THE DEFENDANT:     Yes.

   25               THE COURT:    You have any questions about this issue



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    1    for the Court?

    2               THE DEFENDANT:      No.

    3               THE COURT:    Are there any additional questions the

    4    Government wishes for the Court to put to this Defendant on

    5    this issue?

    6               MS. SWEENEY:    No, Your Honor.

    7               THE COURT:    Anything the Defendant wishes for the

    8    Court -- the defense wishes for the Court to put to the

    9    Defendant on this issue, Mr. Tragos?

   10               MR. GEORGE TRAGOS:        No, Your Honor.

   11               THE COURT:    Mr. Tragos, have you fully disclosed the

   12    risks and benefits to your client in regard to his decision not

   13    to testify?

   14               MR. GEORGE TRAGOS:        Yes, Your Honor.

   15               THE COURT:    And are you satisfied that the Defendant

   16    fully understands the decision he's making?

   17               MR. GEORGE TRAGOS:        Yes, Your Honor.

   18               THE COURT:    All right.

   19               MS. SWEENEY:    Your Honor, I'm sorry.       Mr. McGovern

   20    just reminded me of something.

   21               May we step up to sidebar for just a moment?

   22               THE COURT:    No.   What?

   23               MS. SWEENEY:    Your Honor, I think that it may make

   24    sense to just inquire of Mr. Osmakac if he is currently under

   25    the influence of any medications that may impact his decision.



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    1               THE COURT:    Mr. Osmakac, the Court understands that

    2    you take medicine from time to time; is that correct?

    3               THE DEFENDANT:     Yes.

    4               THE COURT:    Are you taking medication currently?

    5               THE DEFENDANT:     Risperdal, Synthroid and

    6    multivitamin.

    7               THE COURT:    Are you taking those medications in the

    8    dosages prescribed?

    9               THE DEFENDANT:     Yes.

   10               THE COURT:    Have you exceeded the dosages prescribed?

   11               THE DEFENDANT:     No.

   12               THE COURT:    Have you -- do you understand time, place

   13    and orientation?

   14               THE DEFENDANT:     Where we at?

   15               THE COURT:    Yes.

   16               Where are we?

   17               THE DEFENDANT:     We're in Federal building in Tampa

   18    Bay.

   19               THE COURT:    And what is today?

   20               THE DEFENDANT:     It's Wednesday.    I don't know what

   21    date.

   22               THE COURT:    June 4th?

   23               THE DEFENDANT:     It could be.

   24               THE COURT:    And are those medications affecting in

   25    any way your ability to understand what the Court is inquiring



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    1    of you?

    2                THE DEFENDANT:    I believe no.

    3                THE COURT:   What?

    4                THE DEFENDANT:    I believe not.

    5                THE COURT:   All right.

    6                Anything further from the Government or the defense?

    7                MS. SWEENEY:   No, thank you, Your Honor.

    8                MR. GEORGE TRAGOS:     No, Your Honor.

    9                THE COURT:   All right.

   10                We stand in recess until tomorrow at 9:30.        And be

   11    prepared to go a full day tomorrow.       We'll take a break for

   12    lunch as indicated and we will potentially finish the

   13    presentation of the evidence tomorrow.        And how long will

   14    closing take?

   15                MS. SWEENEY:   I'd say -- I'd like to ask for up to

   16    three hours, Your Honor.

   17                THE COURT:   And you will lock the Court when you

   18    leave?    Half that, max, or your jury will be sideways over in

   19    their chairs.    I can't imagine anybody listening to you talk

   20    about this case for three hours.

   21                How long will the defense require?

   22                MR. GEORGE TRAGOS:     Same amount, Your Honor, that the

   23    Government gets.

   24                THE COURT:   Hour and a half.

   25                MS. SWEENEY:   Does that include rebuttal, Your Honor?



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    1               THE COURT:    Yes.

    2               Thank you.    We're in recess.

    3               (Thereupon, the proceedings concluded.)

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    1                                 CERTIFICATE

    2

    3    STATE OF FLORIDA             )

    4    COUNTY OF HILLSBOROUGH       )

    5

    6             I, CLAUDIA SPANGLER-FRY, Official Court Reporter for

    7    the United States District Court, Middle District, Tampa

    8    Division,

    9              DO HEREBY CERTIFY, that I was authorized to and

   10    did, through use of Computer Aided Transcription, report

   11    in shorthand the proceedings and evidence in the

   12    above-styled cause, as stated in the caption hereto, and

   13    that the foregoing pages numbered 1 to 234, inclusive,

   14    constitute a true and correct transcription of my

   15    shorthand report of said proceedings and evidence.

   16                IN WITNESS WHEREOF I have hereunto set my hand

   17    in the City of Tampa, County of Hillsborough, State of

   18    Florida, this 15th day of June, 2015.

   19

   20              /s/CLAUDIA SPANGLER-FRY
                   _________________________________________
   21              CLAUDIA SPANGLER-FRY, Official Court Reporter

   22

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